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                                                                                                      1




     1                                   REPORTERS          RECORD
                                          VOLUME       7    OF     55

     2                      TRIAL     COURT CAUSE           NO.        1184294D
                            COURT     OF APPEALS           NO.     AP-76596
     3



     4   STATE    OF   TEXAS                           IN        THE    432ND     JUDICIAL


     5   VS.                                           DISTRICT            COURT    OF


     6   JOHN    WILLIAM    HUMMEL                     TARRANT            COUNTY         TEXAS


     7



     8



     9



    10
                               HEARING    ON   MOTIONS           TO     SUPPRESS
    11



    12


    13


    14


    15


    16                 On   the   19th    day     of   January             2011      the


    17   following      proceedings        came    on       to    be     heard     in    the


    18   above-entitled         and   -numbered            cause        before     the    Honorable

    19   Ruben    Gonzalez        Jr.     Judge    Presiding               held     in    Fort


    20   Worth     Tarrant      County      Texas

    21                  Proceedings        reported          by    machine         shorthand.

    22


    23


    24                              ANGIE TAYLOR   CSR RPR
                                    Official Court Reporter
    25                               432nd DISTRICT COURT




                                                                                   eYJGINAL
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                                                                                                           2




x        1                        A   P   P   E       A   R       A    N    C    E   S


         2



         3   HONORABLE ROBERT    K.  GILL    SBOT NO.
                                                  -                              07961600
             HONORABLE  D.  MILES   BRISSETTE    SBOT         -                  NO. 50511628
         4   Assistant  District    Attorneys
             401 W. Belknap Street
         5   Fort Worth    Texas    76196
             Phone    817-884-1400
         6



         7                        Attorneys                       for       the      State   of   Texas.


         8



         9
             HONORABLE  LARRY M. MOORE - SBOT                          NO.       14357800
        10   HONORABLE  FRED CUMMINGS      SBOT
                                              -                       NO.       05225400
             4210 West  Vickery  Boulevard
        11   Fort Worth    Texas 76107
             Phone   $17-338-4800
        12


        13

                                  Attorneys                       for       the      Defendant.
        14


        15


        16


        17


        18


        19


        20


        21



        22


        23


        24


        25
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                                                                                               3




                                   CHRONOLOGICAL          INDEX
                                          VOLUME         7

     2                         HEARING ON MOTION          TO    SUPPRESS


     3

          JANUARY     19     2011                                           PAGE         VOL
     4


     5    STATES      WITNESSES              DIRECT          CROSS      VOIR      DIRE   VOL

     6    Jason   Charbonnet                 671             1884                         7



     7    Jorge     Bernal                   85129           124132                       7



     8    Ernesto     Enriquez               134160          145162                       7



     9



    10    Proceedings        Adjourned ................                     165           7



    11    Court     Reporters        Certificate      ..........            166           7



    12


    13                              ALPHABETICAL      WITNESS       INDEX

     14   WITNESSES                          DIRECT          CROSS      VOIR      DIRE   VOL

     15   Bernal      Jorge                  85129           124132                       7



     16   Charbonnet         Jason           671             1884                         7



     17   Enriquez         Ernesto           134160          145162                       7



     18


     19                                     EXHIBIT     INDEX

    20    STATES      PRETRIAL
          NO.           DESCRIPTION                          OFRD           ADMT         VOL
    21

          16            Video       Clip                     119            120           7

    22
          32-A          Search       Warrant-Camera            76            76           7

    23
          34            Consent       to   Search              15            15           7
    24                  Dr.    Ford


     25
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                                                                                   4




      1                               EXHIBIT   INDEX
          STATES   PRETRIAL
      2   NO.        DESCRIPTION                    OFRD       ADMT        VOL


      3   38         Order Declaring                 76         76             7

                     Incorporation
      4
          39         Printout     from               82         82             7

      5              NLETS

      6   40         Printout      from              82         82             7
                     NLETS
      7

          41         Blowup      Diagram-Photos      98         98             7

      8              of   Port


      9



     10   DEFENDANTS   PRETRIAL
          NO.        DESCRIPTION                    OFRD       ADMT        VOL
     11

          1          NCIC/NLETS                      159        159            7

     12              Record  Display

     13


     14


     15


     16


     17


     18


     19


     20


     21



     22


     23


     24


     25
                                                   5                                                                                                                                                                                                         7
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 1                               PROCEEDINGS                                                                                      1   state    of   California


2                                 January             19 2011                 906 a.m.                                           2           A.      Yes.


                                                                                                                                              Q.     Who were they
                                  Open court Defendant                              present                                       3
 3

                                                                                                                                                     An investigator                     from the Oceanside
                                             COURT             Were                                                                          A.                                                                                         Police
M1                                THE                                        on     back on the record.                          4


     This    is   in    the State              of   Texas           versus        John Hummel case.                               5   Department and from the San Diego                                              Police    Department.

                                                                                                              the                 6           Q.     Lets start with the San Diego                                     Police
 6                                Are both           sides          ready     to    proceed              in



                                                                                                                                  7   Department.                Was      there at             some                    in    time             to   your
 7   second        day                                                                                                                                                                                    point

                                                                                                                                                                                           locate        based          on           motor vehicle
                                  MR. BRISSETTE                        The States               ready Your                        8   knowledge             an     attempt           to                                        a
 8

                                                                                                                                  9   in    question
 9   Honor.


10                                MR.        MOORE             Yes were ready                         Judge.                     10           A.     Yes.

                                                                                                                                                                                                                               what vehicle
11                                THE        COURT             Mr.      Brissette          I    believe         the              11           Q.     And the attempt                      to      locate         was     for



                                                                                                                         Are     12           A.      For Mr.           Hummels                vehicle.
12   last   time        we ended was                   the video              was being              played.

                                                                                                                                              Q.             you aware                                                                        law
                                  resume the play of the video                                                                   13                  Are                             of    any        authorities              local
13   you ready              to


                                                                                                                                      enforcement                   the       State                                    that        were            able
                                  MR. BRISSETTE                                           so Your              Honor.            14                           in                          of    California
14                                                                      I   believe

                                                                                                                                 15   to    find    that   vehicle
15   That would              be    States            PT-37.


16                                THE        COURT             Thank          you.                                               16           A.      Yes.


                                             BRISSETTE                                with the recess                            17           Q.      And which               agency           was that
17                                MR.                                   Judge                                             last


                                                                                                                                                     The San Diego
18   time with the                 DVD         its    put      it     back    to    the    beginning.                            18           A.                                     Police         Department.

                                                                                                                                              Q.      And what did they do with the vehicle
     We                          move                                                                guess well                  19                                                                                                                 your
                                                                                                                                                                                                                                              to
19          need        to                   forward        in       time     for   you.        I




20          to    catch          where        we were            in    the break.              Theres no                         20   knowledge             at    that    time
     try


                                                    DVD                                               from the                   21           A.      They took               custody of                 and towed                       to    their
                                                                       us at              time                                                                                                      it                             it
21   counter           on    the       actual                  for                 this



22                     evidence.                                                                                                 22   impound yard                into    a       secure       facility.
     original


23                                THE        COURT              I    understand.                                                 23           Q.      They        have        a   homicide yard


24                                 States            Pretrial         Exhibit No.          37 published                          24           A.      They        do.


25                                THE        COURT              Lets go            ahead and take                    a           25           Q.      And the secure                     facility        could         you describe                     it




                                                                                                                           6                                                                                                                                 8


 1   15-minute break.                         Thank         you.
                                                                                                                                  1   for    me
 2                                 Recess            from 1045 a.m.                   to       1113 a.m.                          2           A.      Its    a     --   its       a very large             warehouse.

 3                                 Open         court          Defendant             present                                      3           Q.      Is   the      vehicle         locked          inside the              warehouse

 4                                 THE       COURT              Were back on                   the        record.                 4           A.      Yes.


 5                                 Both        sides    ready          to    proceed                                              5           Q.      Were there certain security measures that you

 6                                 MR.       BRISSETTE                  The States                  ready.                        6   observed            while     you were there

 7                                 MR.       MOORE               Yes        Judge.                                                7           A.      Yes.


 8                                 THE       COURT              All    right        Mr.   Brissette.                You           8           Q.      What         were they

                                                                                                                                  9           A.      You had                            through          --
                                                                                                                                                                                                                    you had
 9   may         continue.                                                                                                                                               to    get                                                  to    call



10                                              JASON          CHARBONNET                                                        10   through        a security           gate and then                        it   was opened                     by


11   having        been previously                     first        duly     sworn        testified            as                11   someone             somewhere whenever                             they allowed                    you access              into



12   follows                                                                                                                     12   it.




13                                     DIRECT          EXAMINATION                   Contd                                       13           Q.      Was         there an          alarm on the building as well

14   BY MR. BRISSETTE                                                                                                            14           A.      I    believe        so       yes.

15           Q.         Detective               we    just had an opportunity through                                            15           Q.      This other              agency           you       met with              who was that

16   the    last                  of    last    night       and       this    morning               to    watch                  16           A.      The Oceanside                      Police       Department.
                       part

17                                      the                 investigators                 from Texas                             17           Q.      Did     you       meet with one                    of      their   homicide
     your interview                            trio    of


18   interview              with       Mr.     Hummel            in    San Diego               is   that       correct           18   detectives


19           A.         Yes.                                                                                                     19           A.      I    did.



.2           Q.         At       some point            in   the early             morning            hours          of           20           Q.      Do you remember that detectives                                               name

     that                                                    the three of                                                        21           A.                                   Darrah.
                 Monday           morning             did                             you           retire     to    a                                Investigator

22   hotel        to   sleep       for       awhile                                                                              22           Q.      Does he have                   a    first    name
23           A.         Yes.                                                                                                     23           A.      George.


24           Q.         Prior to         going         to   bed         did   you     have an occasion                           24            Q.     And Investigator                      Darrah              did    you     have an

25   to    come         in   contact           with    any          local     law    enforcement                    in   the     25    occasion       to    speak         to      him     in    the      early        morning hours on
                                                                                                                                                                                                                                                                                                         11
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                                                                                   bed                                                                                       Q.     Were you the three together                                                            in   the     same room
                                              you went
                                                                                                                                                             1
 1       Monday          before                                              to


                                                                                                                                                             2                                  the       facts           and explaining                         what       took place              to
 2              A.        Yes we                       did.                                                                                                          discussing


                          And                                   him face                                                                       had           3       Investigator                    Darrah
                                                       you meet
 3              Q.                    did                                                                to   face     after        you
                                                                                                                                                                             A.     The three                            meaning
         gotten        some          sleep                  Monday                day        --    Monday                                                    4


                                                                                                                                                             5               Q.      Yourself                        Darrah
-
                                                                                                                                                                                                                                             Rizy.
                A.        Yes.

                                                                                                                          about                              6               A.      Yes.
 6              Q.        The Defendant                                     in this          case        told   you                      a


                                                                                                                                                                             Q.         Did                                                                            Darrah when
                                                                                                                                                                                                                  go with Investigator                                                              this
                                                                                                                                                             7                                        you
 7       motel       room           in     the              city       of    Oceanside

                                                                                                                                                             8       was brought                         to   a     --    a    Judge              out      there
 8              A.        Yes.

                                                                                                                                                                             A.         Yes.
 9              Q.        Is    that                   in   the county                   of    San Diego                                                     9


                                                                                                                                                            10               Q.         And did you                           get       a     chance             to    meet the Judge
10              A.        Yes            it         is.


                                                                                                                                                            11               A.                 did.
                                                                  of California
                                                                                                                                                                                        I
11              Q.        In    the                state

                                                                                                                                                            12               Q.         And was                      this      gone              over       in   the       Judges presence
12              A.        It    is.



                                                                              Darrah                      you        that he        had                     13               A.         Yes.
13              Q.        Did         Investigator                                                tell



                                                                                                                                                            14               Q.         Did              Officer          Darrah                 --   Investigator                Darrah sign
14       done       anything                  to          secure             that facility

                                                                                                                                                            15       this    in    the          Judges presence
15              A.        Yes he                       did.


                          And what                                 based on your understanding                                               what           16               A.         Yes.
16              Q.                                           --


                                                                                                                                                                                                                                                                                       warrant
                                                                                              room that Mr. Hummel                                                           Q.         And did the Judge
                                                                                                                                                            17                                                                                   issue      the search
17       efforts         were        done                   to    secure               the

                                                                                                                                                            18               A.         Yes.
18       told   you       about
                                                                                                                                                            19               Q.         And what                              the        warrant for
                                                                  they stated they did                               an                                                                                                  is
19              A.        They                did           --                                                            initial




                                                                                                                       make                                 20               A.         Its              for      the     search              of the hotel                  room at the
20                                                          the inside of the                        room        to                     sure
         cursory search
                                                  of


                                                                                                                          outside the                       21       Coast        Inn           and           for    his       vehicle.
21       nobody          was         in           it    and then                  placed           an     officer



         door and waited                                                               Mr.    Darrah            to    arrive with                           22                Q.        Were                  they both                  at       the      same        location
22                                                                     --    for
                                                        for a

                                                                                                                                                            23               A.             No.
23       any type          of       search warrants.

                                                                                         from Texas                   meet up                               24                Q.            Is            your understanding that the                                             law out there
24                         Did        the                                                                                                at                                                         it
                Q.                                      investigators

                                and                                                     homicide detective                                                  25        allows       to       have              multiple              locations               in    one warrant
         Oceanside                                visit          with        this


                                                                                                                                                    10                                                                                                                                                        12


                A.         Yes.                                                                                                                                  1            A.            Yes.
     1



                           And was                               search            warrant               produced           as      a    result                  2            Q.            Did          that catch                 you            by surprise              then
  2               Q.                                        a


                                                                                                                                                                 3            A.
  3      of the        conversations                                                                                                                                                        Very.

                                                                                                                                                                 4            Q.            Were you                     able           to    --      were the two                 scenes          able       to
  4               A.       Yes.

                                                                                         on the search                     warrant                               5    be                                  while           you           were out there
     5            Q.       Were you the                                     affiant                                                                                          processed


                  A.       No.                                                                                                                                   6            A.            Yes.
  6

                                                                                         under the laws of California                                            7            Q.            And were items collected                                             from those scenes
     7            Q.       Were you precluded

                                                                                                                                                                 8            A.            Yes.
     8   to    be    the affiant

     9            A.       Yes.                                                                                                                                  9            Q.            At       some            point           in      time you                 arrived          back       in    the


 10                 Q.     Who was                              the affiant                                                                                  10       state of       Texas

                  A.                                      Darrah.                                                                                            11               A.            Yes.
 11                        George

 12                                       MR. BRISSETTE                                       May         I   approach              Your            Honor    12               Q.            Did          you         bring Mr.                   Hummel back                     with       you

 13                                      THE                COURT                      You may.                                                              13               A.            No.


 14                 Q.     BY            MR. BRISSETTE                                        Detective               Im     going             to            14               Q.            Did          you         have an occasion                             to    prepare a search


 15       show you             whats been marked                                              for    identification                 purposes                 15       warrant at some point                                        for       a     Sony camera

 16       as    PT-30.          Take                   a    second                to    look       at     PT-30 and see                   if
                                                                                                                                                you          16               A.            I    did.



 17                            the            document.                                                                                                      17               Q.            Can you explain                                  to    the      Court the             nature           of
          recognize

 18                 A.     Yes                I        do.                                                                                                   18       preparing                 a        search           warrant                  for     the    Sony camera

 19                 Q.     And             is          PT-30            the       search            warrant           that    was                            19               A.            The camera                         was           in       the possession                   of   a     female


1-10      prepared             in     California                        with       respect               to   this    case                                   20       civilian          who               arrived             on scene                   before        --   or at the             same

                    A.     Yes.                                                                                                                              21       time or        a          little         bit       before Officer                     Worthy              did.        She

 22                 Q.     How                did           Investigator                     Darrah           come up            with the                    22       began         to          take          pictures             on her personal                          camera              and

 23       facts      that related                           to    the        Texas            side of         this     case                                  23       explained                 --       when she came                                in   to    talk      to    me         she

                                                                                                                      him by myself                          24                                           me        that       she had photos                          of the          --         the
                           They were                                                   were given                                                                                               to                                                                                           of
 24                 A.                                            --    they                                    to                                                    explained


 25       and Investigator                                  Rizy.                                                                                            25       fire    on the camera                                   so   it    was seized                   at    that time             by me.
                                                                                                                                                                                                                                                                                  15
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                                                          13
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                                                                                 warrant           SW-20317                  take                    A.         For       Dr.      Fords computer.
                 Q.        And                you execute                                                             to              1
 1                                    did                                    a

                                                                                                                                                     Q.         And what date                                  you present that                          to    Dr.       Ford
 2       the    images           off       that    camera                                                                             2                                                               did


                                                                                                                                      3              A.         On January the 5th of 2010.
 3               A.        Yes.

                                                                                                             PT-32                    4              Q.         And did              Dr.       Ford        have              a    chance          to look       at    it
                 Q.        And youve had                           a   chance       to       look       at            prior


                                                                                                                                      5       and sign it
                                up here and thats the
                                                                                    --   the       affidavit      for
         to    coming
                                                                                                                                      6              A.         Yes.
 6       that    warrant

                                                                                                                                      7              Q.         And what did you leave                                            with      him    in    addition           to
 7               A.        Yes.

                                                                                                   based on what                      8       the    consent             to     search              form
 8               Q.        Did        you have an occasion                              to    --



                                                            and some investigation                            you did on              9              A.         We         left      him with              a    --       a       copy of      --    of    this
 9       Mr.    Hummel                told    you
                                                                                                                                                                                  what we took from him.
10       your     own            to   figure        out       where          Mr.    Hummel was employed                              10       with    --   showing

                                                                                                                                     11               Q.        Did        you take                 something back                          to    Tarrant           County
11               A.        Yes.

                                                                                                                                     12       from Johnson                     County that day                           in       addition         to    this
12               Q.        And where                   was that

                                                                                                                                     13               A.        Yes.
13               A.        It    was         at    the       --    its      now    called          the       Harris

                                                                                                                                     14               Q.        And did you                         record       the             serial     number that you
14       Methodist              Hospital           in       Cleburne.


15               Q.         Was he            being           paid based                 on your understanding                       15       brought back

                                                                                                                                     16               A.             did.
                                                                  Harris                                                                                        I
16       directly          or    indirectly             by

                                                                                                                                     17               Q.        And thats on the consent                                              to    search
17               A.         Indirectly.


18               Q.         Who         did       he     work          for   then                                                    18               A.        It       is.




                                                                                                                                     19                                        MR.      BRISSETTE                            Your Honor                  at    this      time we
19               A.         A company                   called         Champion National                        Security.


                                                                                                    you come
                 Q.                                                                                                                  20       offer       PT-34          for      the         purposes           of          this      hearing           tender            to
20                          Through               your investigation                         did                        in



21       contact           with       an     individual                by the      name            of   William       Ford           21       Defense.


22       who      is   a    medical           doctor              at   that hospital                                                 22                                        MR.      CUMMINGS                                 We   have no objection                          to    the


                                                                                                                                     23       admission of                     States           Exhibit          PT-34                for   purposes            of    this
23               A.         Yes.

                                                                                                                                     24                         Your
                                                                                   equipment from                                             hearing                          Honor.
24               Q.         Did       you receive                  certain


     5   Dr.     Ford                                                                                                                25                                        THE COURT                        Its admitted.


                                                                                                                               14                                                                                                                                                     16

                                                                                                                                          1                                    States               Pretrial             Exhibit No.               34 admitted
     1           A.         I    did.


     2           Q.         What                              receive            from              Ford                                   2                                    THE COURT                        From a housekeeping                                  standpoint
                                           did     you                                       Dr.



     3           A.         I    received              his    CPU from             his       office      computer.                        3   that    --    that concludes                           all   the       evidence                in    the    evidence


                                                                                                                                                                                                                             believe
     4           Q.         Im         going        to       get techie            on    you       for a       second.                    4   list   --    well          except               for    PT-16           I




         CPU           the                                                                                                                5                                    MR. BRISSETTE                                     Yes Your Honor and                             Ill
     5            is             chip

     6           A.         The actual                  tower          is   what we received                    from him.                 6   have that              this       afternoon.


     7           Q.         So you            --    the       whole          personal              computer                               7                                    THE COURT                        All          right.         Thank        you.


     8           A.         Yes.                                                                                                          8                                    May        I    have just                 a       moment

     9            Q.        Would that be a Compaq                                      Presario                                          9                                    MR.        BRISSETTE                              Sure.


10               A.         It    was.                                                                                               10                                        THE COURT                        You may proceed.

11                Q.        And         prior to            taking          this   from        Dr.       Ford did you                11               Q.            BY         MR.        BRISSETTE                              Detective          I   want        to     direct


12        give    him       a     consent              to    search          form                                                    12       your attention                      back         to     PT-15.                 I
                                                                                                                                                                                                                                 forgot      to    ask        you

13                A.        I    did.                                                                                                13       yesterday              about           if       the    PD     in       the          Medical         Examiners

14                Q.        And         did       Dr.       Ford sign            that    in    your presence                         14       Office       were           able       to        identify         the              individuals that               were

15                A.        He        did.                                                                                           15       found        in   the three                     rooms.           In        the       AB corner              do you            know

16                                      MR.        BRISSETTE                      Approach              the    witness        Your   16       who was               found          deceased                in    that             room

17        Honor                                                                                                                      17               A.            Yes.


18                                      THE        COURT                 You may.                                                    18               Q.            And who                   was that

19                Q.            BY      MR.        BRISSETTE                     Im      going          to    show you               19               A.            Clyde Bedford.

nq        whats        been marked                          for identification                 purposes          as PT-34.           20               Q.            In    the      CD corner do you know who                                                  that


          Do you recognize                         PT-34                                                                             21        individual            was
22                A.            Yes.                                                                                                 22               A.            Yes.


23                Q.            And what               is   PT-34                                                                    23               Q.            And who                   was that

24                A.            Its    a    consent               to   search       form.                                            24               A.            Jodi       Hummel.

25                Q.            For    what                                                                                          25               Q.            And do you                      know        how Ms.                  Hummel was                  identified
                                                                                                                                                                                                                                                                                                 19
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                                                                                                      Examiners                                           A.       This                              and           have            my photos                  there.
                                                                        by the Medical                                                                                               file                      I
     1           A.        As         later       identified                                                                            1



                                                                                                                                        2                 Q.          Would                   you         look          at    page           264 and just                   tell           me
    2     Office.


                            Do you               know        what means they had to                            use                      3       what that is                             I    have a copy                         of    that       but        I   havent                   for
     3           Q.

                 A.         I    do not know.                                                                                           4       the       life   of        me                figured           out           what       it   is.        It    appears                 to


                                                                                                                                                                                                                                              from San Diego
                 Q.         And then                  the    AD corner do you know who was                                              5       be    a    fax     of three                        pages                I    believe                                                       to


                                                                                                                                                                  the D.A.s                                                 Im     not sure.
                                           room                                                                                         6       here        to                                       office.
     6    found       in    that

                                                                                                                                        7                 A.                  cant                      you exactly where                                it   came          from.
                                       Hummel.                                                                                                                        I                       tell
     7           A.         Joy

                                                  know                   was pregnant or not                          the               8                 Q.          Just           to           be sure           I       picked           the    right         page            number
     8           Q.         Do you                           if   Joy                                            at


                                                                                                                                        9       thats            some           sort of                 a   fax             cover sheet
     9    time
                                                                                                                                       10                 A.          Is this                 the         page              youre referring                       to
    10           A.         She was.

                                                                                                                                                           Q.                                Xerox
    11           Q.         Was             Joy   Hummel                to    your knowledge                   related         to      11                             Yes.

                                                                                                                                                          A.                   doesnt                   have            an exact place that                                 came
                 Hummel                          some way                                                                              12                             It                                                                                               it
    12    Mr.                           in


                 A.         Yes.                                                                                                       13       from.
    13

                                                                                                                                       14                  Q.         Okay.                       Would            you        --    further             in    your book                     page
    14           Q.         How were                   they       related

                                                                                                                                       15       519        in    your book                           theres a series of pages                                        516 to 519
    15           A.         By marriage.

                 Q.         The individual found                              in   the CD corner Jodi                                  16       1   want         to        talk          about.                Let          me know when                          youre there.
    16


    17    how was she                       related         to    Mr.    Hummel                                                        17                  A.             Okay.

                                                                                               and Mr. Hummel.                         18                  Q.             516 and on appear                                            to    be the crime scene                                 log
    18           A.         She was the daughter                                   of Joy


    19            Q.        And             in   the    AB corner              Mr.       Bedford         how     was he                19       at the           fire         at     600             Little        School               Road            is    that     correct


    20    related          to        Mr.    Hummel                                                                                     20                  A.         Yes.


                                                                                   of Mr.       Hummel.                                21                  Q.         The             pages               that are                contained                  within         the sheet
    21           A.             He     is    the father-in-law

                                Would                  be Joys father                    then                                          22                                     there               on 519                what are those
    22            Q.                             he                                                                                             protector




                                                                                                                               --18
                 A.             Yes.                                                                                                   23                  A.         That appears                                 to       be part of the crime scene                                          log
    23

    24            Q.            And Jodis grandfather                                                                                  24       also.


                                                                                                                                       25                  Q.             Okay.                   So 516
11-5              A.            Yes.

                                                                                                                                                                                                                                                                                                  20


     1                                      MR.       BRISSETTE                    Pass the       witness.                                  1                                            MR.         CUMMINGS                               May     I    approach                 the       witness

     2                                      THE COURT                   Cross-examination.                                              2       Your         Honor

     3                                                 CROSS-EXAMINATION                                                                    3                                         THE            COURT                    You may.

     4    BY MR.           CUMMINGS                                                                                                     4                  Q.             BY          MR.            CUMMINGS                           516         17        and 18 are                    --   are

                                                                                                                                                                                                               correct
                                                                                           you use anything
                  Q.            Detective              Charbonnet                  did                                     to               5   departmental                                 forms
     5

     6    prepare           for       your testimony                     here       today                                                   6              A.             Yes.

                                                                                                                                            7              Q.             These               loose                               of    paper are those
     7            A.            My      case          report.                                                                                                                                                  pieces


                                      that the white book                                                                                                                                                   crime scene
                                                                                           you have
     8            Q.            Is                                                 that                    at    your                       8   continuations                                of   the                                        log        after      yall       ran           out


     9    left   elbow                                                                                                                      9   of    their        forms or                          --     or     what are they

    10            A.            It    is.                                                                                              10                  A.             They               appear            to           be.


    11                                      MR.       CUMMINGS                     Your Honor            may     I    approach         11                   Q.            Okay.                   Are they numbered                                 --       excuse         me.             Are the

    12    and take              a     brief                       of   time        to   look    through the                            12       times consistent                                   with following                           the    last       where          it       shows
                                                  period

    13    white        notebook                  there                                                                                 13       that        you           entered                    the       crime              scene       at        1440 and                  left      at


    14                                      THE COURT                   That        will   be    fine.    Well        be               14       1440             --        56
    15    off    the       record.                                                                                                     15                   A.            You said                    1456
    16                                      Recess from 1126 a.m.                                to   1146 a.m.                        16                   Q.            Thats                   the     last      entry              on the printed form here

    17                                      Open        court Defendant present                                                        17       on page                   518.


    18                                      THE       COURT             All    right.          Back    on the record.                  18                   A.            And then reentered                                       it       yeah.


    19    You may proceed.                                                                                                             19                   Q.            So        it       --    okay.            Thank               you.

                                            MR.       CUMMINGS                     Thank        you Your Honor.                        20                                                Youve              given             each of those loose-leaf pages

.    ..
                  Q.            BY          MR.       CUMMINGS                     Detective          Charbonnet               thank   21       to    the        D.A.s                   office           in   addition                 to   everything                 else


    22     you    for      letting               me    look       at   your notebook                  there.     And       I           22       within           that white                          notebook                      have you                  not

    23     believe         you         told       me     thats          the entirety            of the                                 23                   A.            I    have.


    24     documentation                         that    you used             in    preparation          for    your                   24                   Q.            Okay.                   Ive been                   provided              pretty          much               all   of


    25     testimony was that correct                                                                                                  25           your work                   I        suspect.                  There           is       something              that           I
                                                                                                                                                                                                                                                                                       got
                                                                                                                                                                                                                                                      23
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                                                  21
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                                                                            Its     a    DVD            that   contains                     this   case.          How many other                       detectives          or investigators
              on called                                               1.                                                               1
 1   early                               Discovery

                                                                                                               notebook               2     are there           with     the Kennedale                  Police      Department
2    what appears to be                             all   the          pages within                     that

                                                                                                                                       3           A.      Detective                              is   the       only    other one that
             you just shared with me.
 3   that                                                                         Did     you prepare that or                                                                     Dagnell

                                                                                                                                                                  believe         one thing             into     evidence for us and
            you provide that to someone                                                                  prepare that            --   4
     did                                                                                else to                                             entered         I




     that    DVD                                                                                                                       5    that   was      it.




            A.              didnt                                                                                                      6           Q.      Im      just trying              to get a         feel       for   how   big     the
 6                 I                      provide               it.




             Q.                          You are a detective                              with           the   Kennedale               7    investigative           section            is   of that         agency.
 7                 Okay.

                                                                                                                                       8           A.    Three.
                  Department and
 8   Police                                                 I         believe           you    testified            that    you

     had                                                  Mansfield                                                                    9           Q.      Three              Okay.          And       --    and Carlson and yourself
 9           prior service with

                                                                                                                                      10    and    Dagnell
10          A.     Yes.


11           Q.     Where                did        you go to the police                                academy                       11           A.      Yes.

                                                                                                                                      12.          Q.      Thank you.
12          A.     Tarrant                County College.

13           Q.     And          Im        sorry Ive                        forgotten.              When        did        you        13                            You are also                 certified         as    an arson

                                                                                                                                      14    investigator            correct
14   graduate
                                                                                                                                      15           A.      Yes.
15           A.     2001.

16           Q.     When                 you went to the course there                                          at    Tarrant          16           Q.      Have          you ever worked                     as    a firefighter


                                                                                              at        Mansfield          or did     17           A.      No.
17   County were you                            already                employed

                                                                                                                                                   Q.      When          did                --   or strike         that.
                                                                                   you graduated
18                                                                     after                                                          18                                          you
     you get your                first         position

19           A.     After            I   graduated.                                                                                   19                            How         did     you attain that                  certification


                    When                                                                                                              20
                                                 you go to work
20           Q.                          did                                             for   Mansfield                                    arson investigator

21           A.        I    believe            it   was maybe May                             in    their      --    their            21           A.      Through             the      Kennedale                Fire    Department.

22   marshals               office.                                                                                                   22           Q.      What          is    involved          in    order to get that

23           Q.        May       of       2001                                                                                        23    certification


24           A.     Yes.                                                                                                              24           A.      A 128-hour                  course.


5            Q.        Did       you       remain within the marshals                                           office                25           Q.      Where            did    you take that course

                                                                                                                                22                                                                                                                    24

                                                                                                                                                            Kennedale
                 you were there at Mansfield
 1   while                                                                                                                             1           A.                              Fire      Department.

 2           A.        No.                                                                                                             2           Q.      Who         taught          it

 3           Q.        What              were your assignments                                     there       at    Mansfield         3           A.       It    was       put    on       by several different instructors

 4           A.        In    what part                                                                                                 4    but    Kennedale              Fire     Department                  was      involved      in    it    also.


 5           Q.        You worked at Mansfield                                           from 2001             until       when        5           Q.      Are there              --   are       you the only arson

 6           A.        April         of   2002.                                                                                        6    investigator            in   the      city      of   Kennedale

 7           Q.        Okay.              And then                    is    that        when you moved                     to          7           A.       No.


 8   Kennedale                                                                                                                         8           Q.       Who else

 9           A.        Yes.                                                                                                            9           A.       Detective             Dagnell              and     theres others           in       the


10           Q.        Did       you work for the                                fire    department                 there       at    10    fire   department now.

11   Mansfield              at all                                                                                                    11           Q.       Okay.             Some agencies                  like       Fort   Worth        I




12           A.        No.                                                                                                            12    believe use             cross-trained                 firefighters                send them back

13           Q.         Had you                had        fire         --   experience                  as a firefighter              13    to the      police         academy.              Apparently                 Kennedale          goes to

14   prior to going to                     work at Mansfield                                                                          14    the    police         department                finds       somebody               interested        and

15           A.         No.                                                                                                           15    trains      them.          Is     that     accurate             or   fair    to   say
16           Q.        When              you        went to work for Kennedale                                        what was        16           A.       Yes.


17                                                                                                                                    17           Q.                                                            how many                       have
     your assignment                           initially                                                                                                    Okay.             Prior    to this fire                                 fires


18           A.         Patrol.                                                                                                       18    you investigated                   as far as          arsons concerned

19           Q.         When             did        you move                 to the        C       --    the   criminal               19           A.       Two.

-1   investigations                      unit                                                                                         20           Q.       When         did      you attain            the       certification       of    arson

             A.        Almost             five       years ago.                                                                       21    investigator

22           Q.         2005 or                2006                                                                                   22           A.       2006.

23           A.         I   --   I   cant           be exact on the exact date.                                        I              23           Q.       Had        you received               any supplemental                   training          in



24   believe       it       was around                    five         years ago so 2005.                                             24    the    area of arson investigation

25           Q.         Sergeant                 Carlson                   and    yourself are involved                          in   25           A.       No.
 --3
 1




 2




 6


 7


 8

 9


10
            Q.

     sorts of sources


     police

     yesterday.
                 Unit




     just straightaway.




     difference

     that     comes

     coordination

     that     there
                        There




                                51
                                 Is




                                between

                                 from the



                                is
                                     that


                                     a
                                            are




                                            the

                                           it
                                               25
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                                                      some times

                                                 involved


                                                      recording

                                                 possible that the




                                     Appears to be two to three




                                            variance
                                                          the dispatch




                                                     goes on as
                                                                   police




                                                                      of a
                                                                          in    this




                                                                               unit.
                                                                                    that




                                                                                    far


                                                                                   --
                                                                                          available




                                                                                         of a
                                                                                              case

                                                                                                     we




                                                                                                  logs




                                                                                                  --
                                                                                                      --




                                                                                                     Is
                                                                                                            let




                                                                                                            there


                                                                                                           is




                                                                                                            few
                                                                                                                    that
                                                                                                                        to


                                                                                                                     such

                                                                                                                    partially


                                                                                                                      me
                                                                                                                              us


                                                                                                                              as the




                                                                                                                              ask




                                                                                                                        minutes

                                                                                                                    and the video

                                                                                                                            any

                                                                                                                             possible

                                                                                                                       minutes from
                                                                                                                                      from




                                                                                                                                      observed

                                                                                                                                       it
                                                                                                                                                 all




                                                                                                                                                 on      --
                                                                                                                                                              2

                                                                                                                                                              3

                                                                                                                                                              4
                                                                                                                                                               1




                                                                                                                                                               5


                                                                                                                                                               6


                                                                                                                                                               7


                                                                                                                                                               8

                                                                                                                                                               9

                                                                                                                                                              10
                                                                                                                                                                   memory by



                                                                                                                                                                   a   Samurai

                                                                                                                                                                   something

                                                                                                                                                                   firefighter

                                                                                                                                                                   of the firefighters




                                                                                                                                                                   about
                                                                                                                                                                          A.


                                                                                                                                                                           Q.

                                                                                                                                                                          A.

                                                                                                                                                                                   it.
                                                                                                                                                                                         May



                                                                                                                                                                                         Mr.
                                                                                                                                                                                               Page 10 of 64 PageID 2993
                                                                                                                                                                                               looking


                                                                                                                                                                                                  Did

                                                                                                                                                                                             sword and

                                                                                                                                                                                              located
                                                                                                                                                                                                         you
                                                                                                                                                                                                                at    your report please

                                                                                                                                                                                                                      in


                                                                                                                                                                                                                      some
                                                                                                                                                                                                               under one
                                                                                                                                                                                                                            fact

                                                                                                                                                                                                                                     sort




                                                                                                                                                                                             and given to investigators according to one




                                                                                                                                                                                         Sure.
                                                                                                                                                                                                   I   look




                                                                                                                                                                                                  Cummings
                                                                                                                                                                                                                at    my


                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                 report
                                                                                                                                                                                                                                          learn that

                                                                                                                                                                                                                                                of knife

                                                                                                                                                                                                                                          of the bodies




                                                                                                                                                                                                                                 dont see anything
                                                                                                                                                                                                                                                  real   quick
                                                                                                                                                                                                                                                                     do

                                                                                                                                                                                                                                                                   there
                                                                                                                                                                                                                                                                            so.




                                                                                                                                                                                                                                                                    dagger or

                                                                                                                                                                                                                                                                         by a
                                                                                                                                                                                                                                                                             was




                                                                                                                                                                                                                                                                            in    my
                                                                                                                                                                                                                                                                                     a
                                                                                                                                                                                                                                                                                          27




                                                                                                                                                                                                                                                                                         report




                                     sources                                                                                                                  11           Q.            Thank you for looking.
11   the    different


12          A.          To be                   honest with you                                  I     --       I   dont         know.                        12                                   Were        the     --       were there times that you                                were


13          Q.          Okay.                    You never have sat down                                                    and       --    and made          13   conducting                  your investigation                         in    one location and

                                                                            see         --           for        instance                                      14   Sergeant                  Carlson       was on               a different          tact           at a different
14   the    comparison or look                                        to

                                                                                    from your agency                                                          15   location
15   theres           --       theres indications                                                                                      dispatch


                                                                   so-and-so arrived                                   on the scene.                          16           A.            Yes.
16   from the dispatcher                                                                                                                                I




                                                                                                                           unit was                           17              Q.         Okay.          Did      you request that Chief McMurry
17   believe          its        Worthy that was driving that                                                                                 it



                                                                                                                                                                                    statements                                            from each of the
18   not                                                                                                                                                      18   obtain                                      or reports


19          A.          Yes.                                                                                                                                  19   firefighters                who worked                   that          scene

20          Q.          And           if        there              are    records that                               indicate         he                      20           A.            Yes.


21   arrived          on the scene                                 at a period                       --     particular             time but                   21              Q.         Okay.          Do you             recall         --    and receiving                    a report


22   the                        unit varies                         from that time which                                              going        to         22   from Jacob                  Foresman that was written                                       --    looks        like   an
            police                                                                                                               is




23   be more accurate                                     in        your opinion or do you                                            know                    23   interoffice                correspondence                         kind       of thing            written to


24          A.             Say        this           again                                                                                                    24   Chief           McMurry on                  the    22nd of December                               2009

-5            Q.           If   theres a variance between the police                                                                        video             25              A.         Yes.


                                                                                                                                                        26                                                                                                                                 28

 1   time indicated                             on the screen                        that              we watched                     yesterday                1              Q.         Is    that     contained                within           your        --    in   your

 2   and the one that the dispatcher                                                              enters               in    the report                        2   notebook

 3   indicating                 when so-and-so                                 got           on the scene                        --    in this                 3              A.         I   believe       so.



 4   case Worthy                         --      which               --    which             would you                       rely      on     or               4              Q.         Okay.          Would          you refer to that please

 5   which         is      --    I   mean                     I     dont       --                                                                              5              A.         Okay.

                           Are you                                        me my                  --                                   which        one do      6              Q.               that      a report               that      was written                for    you or




--18
 6            A.                                     asking                                               personally                                                                     Is


 7   I   use                                                                                                                                                   7   for   your benefit                     or     is   that           something            that           Sergeant

 8            Q.           Yes.                                                                                                                                8   Carlson               was working

 9            A.           Dispatch.                                                                                                                           9              A.         We       just    requested a statement                                     from each            of the


10            Q.           Okay.                 So           if    there      is       some                sort of variance                       --         10   firefighters that                     was out there.

11   there       --     they             try         to        keep theirs accurate.                                                                          11              Q.         Okay.           So     if
                                                                                                                                                                                                                      my        recollection             is    that       one      of


12                                    THE REPORTER                                           Im            sorry                                              12   you-all stumbled                        across           this          information               and followed               up

13            Q.           BY         MR.            CUMMINGS                                If       theres some sort of                                     13   on    it    trying             to   determine                the source               of    this      information


14   variance                   they            --   dispatch                  tries         to           keep         theirs                                 14   and        --     and the accuracy                           of   it    it   wouldnt have                     been

15   accurate                                                                                                                                                 15   you
16            A.           As        far        as    I        --   as     far      as       I       know.                                                    16              A.         No.


17            Q.           Okay.                 Was               there       a     sword                      a    Samurai sword                            17              Q.         Okay.           All    right.           Lets           move      to a different


     recovered                  from             the           crime scene                           from the                fire      scene                  18   you        were on the scene                            at the          fire    pretty early.                  Pretty

19            A.           Not when                       I        was inside the scene.                                                                      19   early.


                                                                                                                      up on some
              Q.           Were you                       --        or did                        follow                                                      20              A.         Yes.
                                                                                   you

     information                     in         your investigation                                    that           there       was        in                21              Q.         Officer         Worthy                 however             was the              first    present

22   fact      a    sword and a knife that were located                                                                          under one of                 22   from the Kennedale Police                                         Department correct
23   the    bodies                                                                                                                                            23              A.         Yes.


24            A.           I    believe               so.                                                                                                     24              Q.         Were you on                  the        scene          when John Hummel                          first


25            Q.           Okay.                 Would               you        --      if    you               need        to    refresh          your       25   appeared                  at    600     Little      School              Road
                                                                                                                                                                                                                                                                                                              31
                                                                                                                                                       29
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                                                                                                                                                             1               Q.          Okay.               Were you               present                     --     strike          that.
      1              A.         Yes.

                                                                                                                                                             2                                     Obviously                      when               --     when            that tape            first
      2              Q.         Do you                  recall             who    it    was that             --        strike      that.



      3       Let    me        ask       it    differently.
                                                                                                                                                             3        starts       youre not                      in    the       room youre                            not       there


                                               Do you know                        who John Hummel                               first       contacted        4        correct

._.           there       at    the           --   at        the      fire       scene                                                                        5              A.          Correct.


                                                                                                                                                             6               Q.          Its       just Captain                    Hull
      6              A.         I       was        told          it   was Captain                   Hull.



                                              you interview John Hummel                                                      the   crime                     7               A.          Correct.
      7              Q.         Did                                                                                    at


                                                                                                                                                              8               Q.         And       it
                                                                                                                                                                                                             appears              that Mr.                  Hummel                is    in   the
      8       scene
                                                                                                                                                              9       process           of     filling           out    what has been                                 now        introduced              for
      9              A.         No.

                                                                                                                                                                                                                 hearing as              PT-18 when                             we               see     an
                                                                                                                        scene and went                       10                                   this                                                                                  first
  10                  Q.        John               Hummel                  then        left      the crime                                                            purposes            of



                                                                                                                                                                      image on the screen                                    correct
  11          to    the    Kennedale                         Police         Department                      correct                                          11


                                                                                                                                                             12               A.         Yes.
  12                  A.        Yes.

                                                                                                       and go               there at                         13               Q.         Okay.                   And         appears obvious                                     but    Im       going         to
                                                                                  he leave                                                       your                                                                   it
  13                  Q.        Did            he       go         or      did


                                                                                                                                                             14       ask    you             Were you                   present           and did you                            observe             Captain
  14          direction

                                                                                                                                                             15       Hull    read           Mr.     Hummel                  his       Miranda                   warning               or anything
  15                  A.        No.

                                                                                                                                                                                                                                  him                                 what             now
                                Were you present when                                             he was instructed or                                       16       like   that prior to having                                             fill        out                     is             in
  16                  Q.

              asked                                              Kennedale                                  Department                                       17       evidence            as       PT-18
  17                       to       go        to    the                                     Police


                                                                                                                                                             18               A.         No.
  18                  A.            No.


                      Q.            Did                                                  same           time           John Hummel did                       19               Q.         Let       me            direct       your attention                               to    PT-20          which         is
  19                                           you leave                   at    the

              and go                                                                                                                                         20       the    consent               to       search           form witnessed by Sergeant Carlson
  20                           to       the        Kennedale                     Police          Department

                                                                                                                                                             21       later       on     that morning.                        And         I      dont recall but were you
  21                  A.            No.

                      Q.            Do you               know approximately                                  how                        was                  22       present           when Sergeant                             Carlson obtained                                this       consent          to
  22                                                                                                                     long      it



                                                                                                                                                             23       search           from Mr.                  Hummel
  23          before           you did
                                                                                                                                                             24               A.               believe             I    was       in   the                room.
  24                  A.            20        minutes approximately.
                                                                                                                                                                                         I




  15                  Q.            So        is   it    fair         to    say that
                                                                                     Mr.                Hummel was                          there            25               Q.         Okay.                   There        were times during that video                                               that


                                                                                                                                                       30                                                                                                                                                      32


                    the                                                                about 15 20 minutes before                                                     you-all            for      various              reasons                 either the                       bathroom or
                                               department                                                                                                         1
          1   at                                                                 for
                           police

                                                                                                                         room                                    2    smoking                had                  remove Mr. Hummel from the room
              you joined him                                               room                                                                                                                             to
       2                                                in    the                      the       interview




      --12
       3              A.            Yes.                                                                                                                          3   correct

       4              Q.                                 Do you know                        who went               with         him         --    strike         4            A.          Remove                   him
                                    Okay.

                                                                                                                                                                  5           Q.         There               were times                  --          if    --    if   that       term bothers
       5      that.


       6                                           You        sponsored                 a     tape      or    observed                  a    --    a   VHS       6    you     --    there          were times that he exited the room and                                                                   left



       7      tape        that          was played                     yesterday correct                                                                          7   to     go    to    the       bathroom or                      to        smoke                    correct

       8              A.            Yes.                                                                                                                          8           A.         Yes.


                      Q.            There                                                         that       we                 saw                               9           Q.          And                believe          you        testified                    that you-all               used
                                                        was an              individual                                  first                                                                           I
          9                                                                                                                                  spell


                                                                      Hummel                            room                                                 10       the                                          him             be able                            smoke            in --          some
      10      some words                       for       Mr.                            in       the                    stuff      like           that.                       sally       port              for              to                             to                                  in



      11      Who was that                                                                                                                                   11       comfort            because                   of the cold


                      A.                                                                                                                                     12               A.          Yes.
                                    Captain                  Hull.


      13              Q.            Okay.                When you                  arrived             at    the police             station                  13               Q.          --      right

                                                                                                              room                                           14                                         Was            he accompanied                                 wherever he was
                     you remain outside that interview                                                                              any
                                                                                                                             for
      14      did


      15                       of       time before                     you       entered              it                                                    15       within        --       since           he     was back              in              the     secure           area         of    the
               length

      16              A.            I    dont            recall.                                                                                             16       police       agency                    was he always accompanied                                                  while         he was


                                                                   way that you can observe
      17              Q.            Is     there             a                                                                  an                           17       outside that                 room and                   off      that               video

      18       interview                that        is       taking          place          in   that room from the                                          18               A.          Yes.


      19       outside                                                                                                                                       19               Q.          Who accompanied                                 him

      1               A.            Yes.                                                                                                                     20               A.          It      would            either          be myself Agent Steele

                      Q.            How            do        you do that                                                                                     21       Sergeant Carlson Captain                                           Hull.



      22              A.            Its        --       theres              a    closed-circuit                   --    or                                   22               Q.             So    it       could        have been                         any or           --    any of you-all

      23       television               on         the other side                      of     the      wall.                                                 23               A.          Yes.


      24                  Q.        Do you                   recall         whether you                     did    that or         not                       24                                         THE            COURT              I      need              to      ask     a    quick         question.


      25              A.            I    dont            recall.                                                                                             25        Now         is    Chief              Hull       Police      Chief                  Hull        or   Fire        Department
                                                                                                                                    33                                                                                                                                                        35
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 --10
                                                                                                                                                             A.                    did.
                         Hull                                                                                                               1                              I
  1       Chief

                                                                                                                                                                                                                                                                              whatever
                                                    CUMMINGS                                                                                                    Q.                                 dog Rio                                             dog       --     or
                                                                                                                  Judge              the   2                               Rio            the                            the        arson
  2                                    MR.                                        Captain Hull                                 is



                                                                                                                                            3       he           --    did           that        canine           accompany Agent Steele                                               or    was
                    department correct
                                                                                                                                                           is
  3       fire


                                       THE WITNESS                             No.                                                          4       it     some        other                individual             who         assisted                 you

 .                                                                                                                                                                         Some                                                         who




 --12
                                                                                                                                                             A.                              other         individual                              assisted                 me.
                                       MR.          BRISSETTE                     Police      chief.                                        5


                                       MR.          CUMMINGS                      Im                             said         wrong.        6                   Q.         Okay.                 Did       someone                 there           at the          fire      scene            ask
  6                                                                                     sorry.              I            it




  7       I   should        have said                 police.
                                                                                                                                            7       Mr.      Hummel                    to     accompany them                                  to the          police         station

                                                                                                                                                                                      somebody                                                                                           --    he
                                       THE COURT                                                                                                                A.         Did                                    at     --         believe                                   Hull
                                                                          Thank                    All                                      8                                                                                  I                         Captain
   8                                                                                  you.                      right.


                                                                                                                                                    went with Captain                                             down             to
   9                Q.      BY         MR.          CUMMINGS                      Kennedale                 is    a    small- to            9                                                         Hull


                                                                                                                                                                Q.                  he wasnt                       your presence                                            but
                                                                                     county                                                10                              If                                in                                            fine                    I
                                                                --         the
          mid-size           agency              in      the          in



 11                 A.      Yes.                                                                                                           11       mean

                                                                                                                                           12                   A.             He was            --    he was not                       in    my        presence.
                    Q.      Relative                to    the other              agencies

                                                                                                                                           13                    Q.            Okay.             So you are not                         --
                                                                                                                                                                                                                                                  you    are not             aware of
 13                 A.      Yes.

                                                                                                                                           14       the      language that he used                                                 order                           him                 the
 14                  Q.     How many                     captains              are    there                                                                                                                               in                       to    get                  to


                                                                                                                                           15                         station
 15                 A.      One.                                                                                                                    police

                                                                                                                                           16                    A.            No.
 16                  Q.     And does he oversee                                  your unit             in   addition           to



 17       other
                                                                                                                                           17                    Q.            Okay.             Whenever you                           --
                                                                                                                                                                                                                                              you        first        entered               that
                         responsibilities

                    A.      As a whole                                                                                                     18        room with Agent Steele                                         had you already                                made your mind
 18

                                                                                                                                           19       up      at    that point                     that        this       individual                 was a suspect
 19                  Q.     Yes.

                                                                                                                                           20                    A.            No.
 20                  A.     Yes.


 21                  Q.                                         the times             that     he was out smoking                          21                    Q.            Okay.             At    what         --    at       some            point         in     the        process
                            Okay.               During


 22       in       the    sally       port          were you-all                 continuing             your                               22       though you                            did    make             that        decision                  did   you not

 23       discussion with                    him                                                                                           23                    A.            No.


 24                  A.      No.
                                                                                                                                           24                    Q.            The        interview               of Mr.           Hummel                 that          we observed on

                     Q.      Did       you-all            also       accompany him to the restroom                                         25        tape        became                     accusatory                  pretty quickly                        in        my    opinion.


                                                                                                                                     34                                                                                                                                                        36

                     A.     Yes.                                                                                                                1    Is    that        an unfair                   characterization                               in    your opinion
      1



                     Q.                                                    him at             at                  other                         2                A.            If    thats your opinion thats okay.
   2                         Did       you interview                                   all         any

   3          location outside                  of       that    videotaped              interview                    room                      3                Q.            You were pressing him                                         --    as a       matter of fact

   4                 A.      No.                                                                                                            4        early        on or throughout                                 that       tape there were several

   5                 Q.      When you                    --    so    if
                                                                          you     gave       him any instructions                               5     places           where either you or Agent Steele                                                          pretty            much made

   6                                  consent             to    search            those instructions                          would             6     it   clear that                 you didnt                   believe               him and that he needed
              regarding           a


   7          have       taken        place         in    that       room and            in   that              room only                       7    to     --    to       --
                                                                                                                                                                                    you didnt                use the word fess                                up        but


      8       correct                                                                                                                           8     essentially                    tell    you the truth because                                       you       didnt

      9              A.      Yes.                                                                                                               9     believe              hed been                   telling           you        the        truth

  10                 Q.      Tell      me about Agent Steele.                                  Hes an ATF agent                            10                    A.            Yes.


  11                 A.      Yes.                                                                                                          11                    Q.            That         --     that      occurred                   fairly         early       on        did       it




  12                 Q.      How           did      he come               to     be involved                in this       case             12         not

  13                 A.      He       is   on a multi-jurisdictional task                                        force.                    13                    A.            Early         on       how           I    --    I    dont know                      if   I




  14                 Q.      Have you worked                               for   --   with    him before                                   14         understand                      your question.

  15                 A.      No.                                                                                                           15                    Q.            Okay.             Do you            recall           telling             him that he could

  16                 Q.      Do you              know           who        called      him        to    be        at    that   fire        16         leave           at       any time

  17          scene                                                                                                                        17                    A.            I    dont         recall.



  18                 A.      No.                                                                                                           18                    Q.            Do you know                        whether                or not           he was             told        he could

  19                 Q.      Was           there a decision                       prior      to    entering              that              19            leave        by Captain                      Hull    prior to              your entry                   into        that           room

                                                                                                                                           20        and                                            the      --    the        Defendant
 -ý.q         room        that he          was going                  to    participate            in       the        interview                                 interviewing

jw.ý          of   John     Hummel                                                                                                         21                    A.            I    cant         answer for Captain                                 Hull.


  22                 A.      Say again                    please                                                                           22                    Q.            Is    it     fair      to   say that he became                                    a suspect


  23                 Q.      It       was       a    bad question.                                                                         23         during           that           interview

  24                                    Who              decided           that      he would participate                           in     24                    A.            He was becoming questionable.

  25          the interview                of    John          Hummel                                                                      25                    Q.            One          of the         tactics            or    one           of    the      questions                  that
                                                                                                                                                                                                                                                                                   39
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                                                                                                                                                                           --   as the interview
                 asked him indicated                                       to       him    --    or indicated                  to                  1
                                                                                                                                                       quickly as                                                      did.
      1   you

          Mr.    Hummel                  that                that                    had a        --         witness that                          2          Q.      Okay.           And        let    me        --   let      me         eliminate              a time
      2                                            --                      you                         a


                                                                                                                                                   3   factor      involved.
      3   there      was an altercation either between                                                        Clyde Bedford                  or

                                                                                                                                                              A.
          Joy    Hummel and                        John.                  Who was               that    witness                                    4                  Okay.

                                                                                                                                                   5          Q.      But            did       evolve       to     an       effort             to    getting           an
                           There              was not one.                                                                                                                      it
                 A.

                                                                                                                                                   6   admission           of              from the individual John                                        Hummel
      6          Q.        So that was                               a   fabrication                                                                                            guilt


                                                                                                                                                   7          A.      It    evolved             into    possibly trying                          to   --    there           was
      7          A.        Yeah.

                                                                                                                                                   8   more     to    the       story      than        what he was saying.
      8          Q.            Have you attended any                                        other            police    training           in



                                                                           TCC        whatever                                                     9          Q.      Okay.            Was       there        any discussion with John
                                        your TCJC or                                                          its     called
      9   addition         to


                                                                                                                                                  10   Hummel         off       camera regarding                        his         --    obtaining               his       clothes
     10   training

     11          A.            Uh-huh               I       have.                                                                                 11   from     him

                               Have                                             result of         becoming                                        12          A.      Not that                  was ever privy                      to.
                 Q.                                         --       as                                                    a                                                               I
     12                                    you                             a


     13                                    they             send you                 to    some        in-service                   training      13          Q.      During the                interview              that         we observed
          detective                 did


                                                                                                                                                  14   initially     involved          you        and Agent Steele                                  and then
     14   or additional                   training

                                                                                                                                                       Sergeant Carlson by himself entered the room and




     --22
     15          A.                                                                                                                               15
                               They        did.


                                                                                                                                                  16   appeared            to   be    in       there    for       several                minutes talking with
     16          Q.            What         type
                 A.                 attended                 a interview                   interrogation               school           in        17   John Hummel.                   During           the time that                       Carlson              was     in    the
     17                        I




     18   Meridian                 Mississippi                       and a statement                         analysis school                      18   room were you                   participating                   in    the interview                        in    other


     19   in   San Angelo Texas.                                                                                                                  19   words watching                   the interview                       still        active

                 Q.            How                          was the interview                                                                     20          A.           dont        recall        exactly           where                     was       standing
     20                                                                                                interrogation                                                  I                                                                    I
                                           long

                                                                                                                                                  21   or
     21   school

                 A.            40 hours.                                                                                                          22          Q.      There           were knocks                  on the door and such                                     as   that.



     23           Q.           Was any one                                                  technique                taught           there       23   This   investigation                at the           scene was                    still      going         on was
                                                                         particular

     24          A.            Dr.        Steve             Rhodes.                                                                               24   it   not

                  Q.           Im         sorry                                                                                                   25          A.      It    was.


                                                                                                                                             38                                                                                                                                    40

      1           A.           Dr.        Steve             Rhodes.                                                                                1          Q.      You-all          were getting                    information                        from people

      2           Q.           Could          you            spell         the       last       name                                               2   who    are     actually          still     actively             involved                  at the         fire



      3           A.           R-h-o-d-e-s.                                                                                                        3   scene correct

      4           Q.           Was        the       --           did      he teach              the Reid            Technique                      4          A.       Not that            I    knew        of.



                                                                                                                                                   5          Q.      Okay.            There were knocks                                 on the door and that




     --17
      5           A.           No.


      6           Q.           Have you                     ever           been       trained          in     that                                 6   sort of thing            and pieces              of       paper that came                            in.        Do    you

      7           A.           No.                                                                                                                 7   have any idea what those were                                                Primarily              to     Agent

                  Q.           And what was the other school                                                                                                                    you were
                                                                                                               --    interview                     8   Steele        while
      8                                                                                                                                                                                                talking.



      9                                    what was the other                                    --                                                9          A.      I    dont know.
          interrogation

     10           A.           Statement analysis.                                                                                                10          Q.      Okay.

     11           Q.           What           is   --        what              is   that    about                                                 11          A.      Youd have                  to    ask Agent Steele                               that.


     12           A.               Review and analyze statements                                                to    verify                      12          Q.       We       have           not     been        provided                    or    seen on camera any

     13   inconsistencies                          things of that nature.                                                                         13   consent        to    search             form     for       the       clothing                that    John Hummel

     14           Q.           When           did           you attend the interview                                  interrogation               14   had taken            from him there on the                                   18th.            Is   there        one
     15   school          approximately                                                                                                           15          A.       No.


     16           A.           Approximately                               2007.                                                                  16          Q.      About an hour and a                               half         into           the    tape        you

                  Q.           And the statement                                     analysis                                                     17   and that may not be                        --    its       based             upon            the counter               on

     18           A.               Same year                         I   believe                                                                  18   the    software.              But approximately                              an hour and a half                           into



     19           Q.           The interview that we observed                                                   of    --       from     12/18     19   the    tape you               administered                  Miranda                warnings                to


     r1   of    09        John Hummel                                    that interview                pretty         quickly          moved      20   Mr.    Hummel                 correct

ý.        to    an     effort           get    an admission of                              guilt      from John                    Hummel        21          A.       Yes.


     22   is    that      --       is   that fair                                                                                                 22          Q.       Why
     23           A.               Just    like         I    answered                 before just               a    few minutes                  23          A.       I    wanted             him     to    make            sure that                he knew               that    he

     24   ago        if   thats           what              you           believed              that    it    moved             real              24   was not under arrest and that he was free                                                           to     leave       at

     25   quickly          thats              fine.              I       thought          that    it   moved           as                         25   any time.
     --6
     1




     2

     3
         that
                Q.
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         particular day.


         particularly


                A.
                            The

                 you indicated




                            Yes.
                                       --




                                     cold
                                                I
                                                      41




                                                Excuse me.
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                                                     believe


                                                         the
                                                                      it




                                                                temperature
                                                                            was during your testimony



                                                                                Do you
                                                                                                at    --




                                                                                                 recall
                                                                                                            on that

                                                                                                                 that     it    was
                                                                                                                                                         2




                                                                                                                                                         4
                                                                                                                                                          1




                                                                                                                                                          3




                                                                                                                                                          5
                                                                                                                                                              investigation

                                                                                                                                                              occasions

                                                                                                                                                                      A.


                                                                                                                                                                      Q.

                                                                                                                                                                      A.
                                                                                                                                                                              At


                                                                                                                                                                                  Okay.

                                                                                                                                                                                  Can
                                                                                                                                                                                       is
                                                                                                                                                                                             Page 14 of 64 PageID 2997
                                                                                                                                                                                              you

                                                                                                                                                                                             that


                                                                                                                                                                                        times yes.



                                                                                                                                                                                             I
                                                                                                                                                                                                        went back

                                                                                                                                                                                                        correct



                                                                                                                                                                                                    When was

                                                                                                                                                                                                  refer        to    my
                                                                                                                                                                                                                               the
                                                                                                                                                                                                                                     and




                                                                                                                                                                                                                                       crime
                                                                                                                                                                                                                                             forth




                                                                                                                                                                                                                                                    scene
                                                                                                                                                                                                                                                         on some




                                                                                                                                                                                                                                                                    log     started
                                                                                                                                                                                                                                                                                            43




    --14
                Q.          Excuse                  me.         When John Hummel                                 left     you had                         6           Q.          Sure.


                                                          shoes had you not                                  He                                           7           A.          Okay.
     7   taken      from him                    his                                                                left        in



     8   stocking           feet          did        he        not                                                                                        8                                  THE COURT                         Mr.     Cummings why dont we                                      find



     9          A.          Yes.                                                                                                                          9   a spot        where            we can             take       a break            for       lunch


    10           Q.          He was                 --    we     --    we observed                     him shivering on                                  10                                   MR.       CUMMINGS                        Anytime Judge.

    11   the recording.                       He walked                    out    of    that building pretty                                             11                                  THE COURT                         Okay.          Well        then lets take

         much                                                                                                     room                                   12   one now while hes reviewing                                                    notes.        Lets go ahead
                                    way we saw him walk out
    12              the                                                                          of    that                         is   that                                                                                         his


                                                                                                                                                         13   and take            a    recess           for
    13   right

                A.          Yes.                                                                                                                         14                                  THE        WITNESS                       Dont answer the question

    15           Q.          Short-sleeve                       shirt       and stock                 --    or sock            --                        15   right    now

    16   shoeless            feet                                                                                                                        16                                   THE COURT                        Detective             Charbonnet                   you       may

    17           A.          Yes.                                                                                                                        17   answer the question.

    18           Q.          Do you know                         how the VIN was obtained                                           from the             18                                   THE WITNESS                             Im     sorry.            It    appears           that


                                                         van                                                                                             19        was started on                      235           a.m.
    19   van     the Windstar                                                                                                                                 it




    20           A.          No.                                                                                                                         20           Q.          BY         MR.        CUMMINGS                       Thank            you.


    21           Q.          It      was on               the consent                 to   search             form so               I                    21                                   THE COURT                         Im      sorry.           You said            530 a.m.

    22   assume            it       was obtained                      prior      to    having              Mr.    Hummel                  sign       a   22                                   THE WITNESS                             235      a.m.


    23   consent           to        search              form         is    that       fair     to    say                                                23                                   THE COURT                         235         a.m.         Thank         you.


    24           A.          Sure.                                                                                                                       24                                   1
                                                                                                                                                                                                  only         have one more question                                  if   --   if   I




                 Q.          Okay.                  Did    you-all              search the vehicle                                                       25   may
                                                                                                                                                    42                                                                                                                                      44

     1           A.             No.                                                                                                                       1                                      MR.    CUMMINGS                            Sure Judge.

     2           Q.          You          went            to    the     trouble            to    get       his    consent.                                2                                   THE COURT                         If    you would            ask        him

     3   How come                    yall       didnt           follow          up                                                                        3   Detective                when            did     he receive               authorization                 from the

     4           A.                 dont know.                                                                                                            4   fire    chief       --        chief      to    enter         the        scene




    --16
                                I



     5           Q.             Okay.               Were you               allowed            into         the    fire    scene                           5           Q.          BY          MR.       CUMMINGS                        235         a.m.        is   when the crime

     6   prior    to       the discovery                        of    the       deceased                                                                  6   scene         log       started.               When          did       you obtain permission                             to



     7           A.             No.                                                                                                                       7   enter

     8           Q.             What triggered your admission                                               to    the      crime                          8           A.          I    dont have the exact                                  time    for    that.



         scene                                             scene crime scene whichever                                                                    9           Q.          As              as            do you
                                                                                                                                                                                                          --                                                    not
     9                --     to      the        fire                                                                                                                                        far                                  recall       in    --    in


    10           A.             I   got     a       call       from dispatch                    stating that the                                         10   necessarily exact                         time             but    in    sequence            of        events            how

    11   fire   chief           wanted               me        to     come        to    600          Little      School             Road.                11   soon     it    was that you                       --    strike          that.


    12           Q.             That        was the              call       you received                    initially          to   go                   12                                      Who         decided           that a crime               scene            log   was

    13   to   the     location                  correct                                                                                                  13   necessary

    14           A.             Yes.                                                                                                                     14           A.          It    might have been                              me.

    15           Q.             Im     asking              about           when         you actually went                               into             15           Q.          Okay.             Some agency                        --    different          agencies

         the house.                   What            --   what            --   who gave you approval                                     its            16   agencies            differ          as    far         as   whos          in    crime        --    charge           at


    17   okay       for      you       to           go    in    the     house                                                                            17   one     of    these            things.            Who was                in    charge

    18           A.             The       fire       chief.                                                                                              18           A.          At the time                   I    was.


    19           Q.             Okay.               And you were                                on    scene         at    that           --              19           Q.          So once                    became              --    at    what point                      you
                                                                                   still                                                                                                                it                                                            did



    cý   when that took place                                                                                                                            20   become          in       charge
a

                 A.             Yeah.                                                                                                                    21           A.          The commander                            of    the        whole        entire        scene was the

    22           Q.             Okay.               How         far   away         from the police                       station               is        22   fire    chief.           Okay              And as            far       as the crime scene                      log


    23   600     Little             School                                                                                                               23   part of        it       that        was me.

    24           A.             Half      a     mile maybe three quarters.                                                                               24           Q.          So were you                        the   one who ultimately said

    25           Q.             Okay.               So there was                  --    during             your                                          25   officer       so-and-so                    would            you please               --    or    do     --    do    the
 --11
                                                                                                                                                                                                                                                                                                                        47
                                                           45
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                                                                                                                                                             1
                                                                                                                                                                     your understanding                                   is    concerned                       entered                    into           the
   1       crime       scene          log
                                                                                                                                                             2       structure                  itself
  2               A.        I       believe        the           fire      chief          was standing there

                                                                                                                                                             3                A.            As far as firemen
  3        with    me           and we said yeah we need                                                    crime               scene       I




                                                                                                                                                             4                Q.            Yes.
           believe        was what                 it       was.

                                                                                                                                                             5                A.            Just regular                      fire    suppression
 _..              Q.        Thank             you.

                                                                                                                                                                              Q.            Yes
  6                                     MR.       CUMMINGS                                Is      that          all
                                                                                                                          you need Judge                     6                                             sir.




                                                                                We                                                                                                                          dont know                       anybody                        was                  there
                                                   COURT                                           dont have                      an                         7                A.                 --                                                                                       in
                                       THE                                                                                                                                                  I          I                               if
  7                                                                                       still



                                                                                                                                                             8       before                 was called                   or not         as       far       as putting                          water on
   8                                    time                 relation                to    his     answer.                                                                             I
           approximate                              in


                                        MR.       CUMMINGS                                Well          I       --    I    thought          wed              9       the      --   on the                  fire.
   9

                                                                                                                                                            10                Q.            When                you got there                      the          fire        was               still       going
 10        start    back up                 right       there.

                                        THE COURT                               Okay.             Sounds                  good.                             11                A.            Yes.

                                                                                                    --                     1230.                            12                Q.            --    correct                    Okay.          And had                    to    be fought for
 12                                     Well            be       in    recess             until                  its


                                                                                                                                                                                                                                                  was extinguished correct
 13        How about                 145             Well              resume at that point.                                       Thank             you.   13       quite         a       few        minutes                before         it




  14                                     Recess from                            1232              p.m.           to       154 p.m.                          14                A.            Yes.


                                                                                                                                                            15                Q.            When                                            entered you                               did           so for the
 15                                      Open               court Defendant                                 present                                                                                             you      initially


                                                                                                                                                                                                                                                            correct
  16                                    THE         COURT                       All       right.        Are both sides                                      16       purposes of taking                                  photographs

                                                                                                                                                            17                A.            And            preserving                 any possible evidence                                               or
  17       ready       to       proceed
                                                                                                                                                                                                                                                            what happened                                           the
  18                                     MR.       BRISSETTE                              The States ready.                                                 18       anything                   that        could          help identify                                                                       in



  19                                     MR.       CUMMINGS                                Yes Your                       Honor.                            19       fire.



                                                    COURT                                                                                                   20                 Q.               And what do you mean by that
 20                                     THE                                     All       right.            I   believe            that     you

                                                                                                                                                            21                A.                Just to            preserve any                       --
                                                                                                                                                                                                                                                           any way to                            find         out       how
 21        are    still     on cross.

  22                                        MR.    CUMMINGS                                Thank                you Your                Honor.              22       the      fire         got         started.


 23                Q.           BY      MR.       CUMMINGS                                 Detective                      Charbonnet                 we     23                 Q.               Okay.             So on your                initial             entry you                             were doing

                                                                                                                           log and                          24       more than just capturing                                          the         images or the scene                                           as
  24       were talking about the                                     --    the       crime         scene                                   I                                                                                                                                                                            it




           think       over lunch weve                                determined                    that              those handwritten                     25       existed               when you                     first    walked in you                              were also looking
ýA-c
                                                                                                                                                     46                                                                                                                                                                  48

                                              519                                                                                                                          collect               evidence
                          on page                                    your notebook are                                    actually                               1   to
                                                            in
       1
           pages

   2       contained                 within       the discovery                            material                   thats        been                          2             A.               We     were looking for anything                                             that               could


                                      Defense.                                                                                                                   3   possibly                   lead        us     to    a      conclusion                 or lead                us           in     any
       3   provided             to


                                                                                               where                                  the                    4       direction                  to help                         out    why            the       fire        took place.
   4                                     This       was a process                                                    initially              fire                                                                   find



       5   department                  responded                      to     a structure                        fire        and at some                          5             Q.               Okay.             Would          you        tell       --       there            are            some

   6                   in   time            the chief out there                                   decided                 that     this     was                  6   terminology here                               Im          not familiar with.                                    I    dont            know           if
           point

   7       more than just a structure                                           fire        correct                                                              7   the      Judge               is       or     not        but     assuming                    hes not whats                                      a


       8           A.           Can you             rephrase                    that                                                                             8   quint

       9           Q.           The chief decided                               to    call        you           out.                                             9             A.               A quint            is    --     and     Im            not       in     the         fire



  10               A.           Yes.                                                                                                                        10       suppression.


  11               Q.           Why                                                                                                                         11                                             THE REPORTER                                Im         sorry sir

  12               A.           At    first       he        --    I   got        a    call        that          --    that        the                       12                                             THE WITNESS                                Im        not         in     the           fire



  13       chief       wanted               me     out           for       a fire.          That was                      it.                               13       suppression                           line    of this but                   a quint               is   a         --       is     a   fire



                   Q.           Do they                          you when                                                                                                                                                                                                   can               do various
                                                                                                            --
  14                                               call                                     its     a                 just a                                14       truck         that           holds various                       positions.                      It



  15       structure                fire                                                                                                                    15       things.                Its        also a ladder                    truck               a    water truck                              a


  16               A.           We      have            a    new           --    we had             a       new            fire   chief         at   the    16       tanker                --    not a            water         truck        --       a    tanker                  has a ladder on

  17       time and that was                                his       thing.                                                                                17       it      its       capable                  of doing multiple things                                     that other


  18               Q.           So     it   wasnt                a    decision               based               upon           the                         18       vehicles                   would be able to do.

  19       discovery                 of a     body           --                                                                                             19                 Q.               BY         MR.      CUMMINGS                               In looking                         through               the


                   A.           No.                                                                                                                         20       dispatch                   logs            there         appear             to    be         I    think                  three


                    Q.          --    or anything                      like      that                                                                       21        designations                         for     fire        units        Q-59 M-59                            if       I    remember

  22               A.           No.                                                                                                                         22        correctly                   and C-59.                     Do you know what                                          those stand                    for

  23                Q.          I    see.      And thats why you were                                                     called        before              23                 A.               The Q-59                 is     Quint       59.


  24        any     --    strike            that.                                                                                                           24                 Q.               Right.


  25                                        Were you                   called             before            anybody                   as   far       as     25                 A.               The         M-59         is     Medic         59.           The C-59                           Im         not sure
                                                                                                                                                     49                                                                                                                                                              51
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                                                                                                                                                                     the     clothing.
                               Ive never heard                        that one.                                                                              1
     1       exactly.

                                                                               how                  Chief           McMurry                                 2                Q.      And essentially your statement                                                           is    that           you        told
    2                Q.     What         is       the        chief    --                   is



                                                                                                                                                            3        him that              was part of the investigative                                                                              for
     3       referred       to                                                                                                                                                       it                                                                                       process

                                                                                                                                                            4        them      to   take               his        clothes              and you were going                                     to      take         his
                     A.     It
                                      may     be         Chief       59         also.


                                                                                                                         and your                            5       clothes        correct
                     Q.     Okay              In     addition              to    your agency

                                         there           were Mansfield                             and other                 city                           6               A.      Yes.
     6       citys    agency

                                                                                there           as well                  arent           --                  7               Q.      Did           you-all                  admonish him that he didnt have                                                          to
     7       agencies          there          fire       agencies

                                                                                                                                                             8       give     you    his           clothes
     8       werent        there
                                                                                                                                                             9               A.      No.
     9               A.        Yes.

                                                                                                                                                            10               Q.      Did           you ever give                                him any sort of information
    10               Q.        Forest         Hill

                                                                                                                                                            11       consistent            or similar to                           what you                     do whenever you                               get a
    11               A.        Yes.

                                                                                                                                                            12       consent               search                      from somebody                              where you                   let       them know
                                                  Lets go back                                                      the       interview                                             to
    12               Q.        Okay.                                             to    the          --    to


                                                                                                                                                                                                                                                                         that                Did
    13       process.            You     --       Im         going        to    ask you                  to       refer       to    your                    13       that     they can                  decline                  or anything                    like                                  you

                                                                                                                                                            14       ever           him know                            he could                 decline
                                                                                           dont see any                             page                                      let
    14       supplement that you                              prepared.                I




    15       number that you have                               but        I    think           I   --    Ive been                                          15                A.     No.


                                                                                                                   think                                    16                Q.     Okay.                       Throughout                       that interview                        it
                                                                                                                                                                                                                                                                                              appears
    16       provided          a      17- or        18-page               supplement                          I                you

                                       offense                            0900017546.                                Do you              have               17       from watching                          it        that       initially            Agent Steele                      was
    17       prepared            to                       report

                                                                                                                                                            18       handling the                      questioning                         but at            some            point           you        decided
    18       that
                                                                                                                                                            19       to     take    over the lead as                                  far        as        any    questioning                         was
    19               A.        Uh-huh.

    20               Q.        Okay.              And the offense                       report                number                                        20       concerned                 and from that point                                          on     it    was primarily you

                                                     number                                                       throughout                         of     21       directing         the             questioning                                that          correct
             0900017546                                                         consistent                                                                                                                                                  is
    21                                   that                              is                                                                  all




    22       the     agencys            reports pertaining                            to    this          incident                  is    it                22                A.      I    believe                     that        we       both           went         --
                                                                                                                                                                                                                                                                              questioned                      back

                                                                                                                                                            23       and
    23       not                                                                                                                                                              forth.


                                                                                                                                                            24                Q.      And                              --       once you               recognized                  --
                                                                                                                                                                                                                                                                                              believe
    24                                                                                                                                                                                                 is        it                                                                      I
                     A.        Yes.

                                                                                                                                                            25              your words or maybe Agent Steeles words                                                                                      once you
                                                                                                                                                                                                                                                                                                   --
    zs               Q.        And the             --    I    noticed            that the                --       there        is    a                               in



                                                                                                                                                     50                                                                                                                                                              52

                                              of     some            sort or          an incident report as                                                      1   decided         that              his         story just                   didnt make                   sense you-all
         1   dispatch          report

                                                                                                                                         that                2                                                        of    time trying                    to    persuade                this           man        to
     2       well    as    a     missing persons report.                                    They                  all    reflect                                     spent quite                   a    bit



     3       same         offense        report              number correct                                                                                      3   tell
                                                                                                                                                                             you     the           truth                   is   that       right

     4               A.        Yes.                                                                                                                          4                A.      Yes.


         5           Q.        All                       You give              quite        a       few details about                                            5            Q.      And were those persuasive                                                         efforts          that           you        were
                                       right.


     6       the interview               that took              place            on the 18th                            of   December                        6       exerting              I
                                                                                                                                                                                                   mean                     were you                  --
                                                                                                                                                                                                                                                            you were doing                            everything


     7       within your supplement.                                  On        the        fifth         page of the                                             7   you      could            everything                         you           had been                trained              to       do      to     try



         8   document that                    I   have          is    there           is   a        paragraph                  that                              8   to     get the        information                             you needed                     to     gather right

         9                                               interview                                                                                               9            A.       Yes.
             begins         during the

    10                                   THE        COURT                  Im         sorry.              What document                               are   10                Q.      The              arson arrest                         warrant               is    what Id               like         to



    11       you     referring           to                                                                                                                 11       talk     to    you            about               now          the          --    the       affidavit          that              you

    12                                   MR.        CUMMINGS                          The supplement that                                                   12        prepared.                I       believe                  you    testified                on direct examination

    13        Detective              Charbonnet prepared                               to       the       original              offense                     13        that there           were                   five          of you-all                 who     gathered.                      I
                                                                                                                                                                                                                                                                                                        may

    14        report.                                                                                                                                       14        have misunderstood                                         but       it    seemed there were                                    five      of


    15                                   THE         COURT                 All    right.              Thank                  you.                           15        you-all       that discussed                                areas of incendiary                               --       did


    16                Q.         BY     MR.         CUMMINGS                          In    there                 you        talk    about                  16        five    --    did you and four others get together                                                                     and        try     to


    17        identifying             physical            evidence               on Mr. Hummels                                    clothing                 17        decide        how you needed                                     to       proceed            as        far    as       this        fire



    18        and you          indicate            in    your report that you took that                                                                     18        investigation                    was concerned

    19        clothing         --                                                                                                                           19                A.       Yes.

    n                 A.         Yes.                                                                                                                       20                Q.       Okay.                      Who were                      those four               others
r
                      Q.         --    from        him because                    of       the       --       because               of the                  21                A.       Agent Steele                                 Investigator                       Ingram                Rehfeld               and
     .




    22        fact    that       you     recognized                  that there                     was             in       fact                           22        Sergeant            Carlson.


    23        possibly         some           biological             or     something of an evidentiary                                                     23                Q.          Rehfeld.                         How        is    --    is       that    a firefighter


    24        nature that              you        wanted             to    collect              correct                                                     24                A.          Hes           with the Tarrant                                   County            Fire       Marshals

    25                A.         I    could       tell       that there            was something on                                      --    on           25        office.
 --9
                                                                                                                                                                                                                                                                                                  55
                                                          53
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 1                   Q.     Okay.              How does                     that         relationship                 work                Your          1              A.           As far as             I    know                yes.


                                                              and                             they decide we need                               our    2               Q.           Have           you worked                       with         him on any other fires
 2           fire    department                    gets there

                                                                                                                                and youre               3              A.           No.
 3           arson investigator                             for       one reason or another
                                                                                                                                                                                                    The                                                                  When          was that
called                                                                                                                                                                 Q.
                                                                                                                                                       4                            Okay.                          five       of    you confer.
                          and       youre               in       charge          at that           point.             Ultimately
                                                                                                                                                                                                                                                                           the end of
                                                                                               Marshal that shows                                up     5              A.           At the          --    to        my        recollection                      its
             you have           the      Tarrant                      County           Fire


                                                                                                                                                                                and
                                                                        whp show up Tarrant                                         County              6       Friday                       into    Saturday.
 6           you have            ATF personnel
                                                                                                                                                                          Q.        The           18th was Thursday                                         that          accurate               or
                                                                                                       Why was
                                                                                                                                                                                                                                                      is
                                                                                                                                         strike         7
 7           Sheriffs       Department                               was out           there.                                       --


                                                                                                                                                        8       am    I
 8           that.

                                                                                                                      how does                 the      9                 A.                believe                was        --    the         18th was a Friday.
                                         What                    the relationship                      --    or                                                                     I                     it
                                                            is



                                                                                                                                                                          Q.        So on the                        on                     you worked                         through           the
                                                                                                                                                                                                               --                    --
                                                                marshal                       involved                                                 10                                                                     in
10           Tarrant       County              fire                               get

                                                                                                                 marshals                                                           --      on the            18th and                 you-all                  met        later       in   the
                                                            by the                                  fire                                               11       night          in
11                   A.     Its called                                      fire       chief

                                                                                                                                                       12       p.m.           hours of the 18th on                                 into        the         19th               is   that
12           office.

                                                                                                                                                                accurate
13                   Q.     And          is    --       what           is   their        purpose                                                       13

                                                                                                                                                       14                 A.        Yes.
14                   A.     To come out and assist                                            in   investigating                         the

                                                                                                                                                       15                 Q.        Okay.            Im            just trying                  to     --       Im        thinking          of
15           fire.


                                                             marshal                                         a                 that                    16       everything                   with        dates           is   not          --    so       at    some                point   after
                     Q.              the                                         involved            in           fire                    is
16                          Is                fire



17           accidental             or   --        I    mean            what triggers a                          fire          chief                   17       that       meeting you go home get some rest

18                                   need              to       involve      a         fire    marshal                                                 18                 A.        Yes.
             decision           I




                     A.                                          dont       --          dont        know the answer                              to    19                 Q.        And then youre                             called            back               to    do an arrest
19                          Honestly                        I                      I




20           that question.
                                                                                                                                                       20       warrant for John                          Hummel who                              is      now            in    custody           in


                                                                                                                                                       21       California                   correct
21                   Q.     Okay.

                                     would be better                                      for the                                                      22                 A.            Yes.
22                   A.     It                                                   left                       fire      chief.



23                    Q.    Are they always                                 on the scene                    whenever                     youve         23                 Q.            Did       you have               any assistance                              in    preparing             that


                                      on a suspicious                                         suspected               of being                         24       arrest          warrant affidavit from any of those other four
24            been     called                                                     fire


                                                                                                                                                       25       arson investigators
              arson
                                                                                                                                               54                                                                                                                                                     56


     1                A.    Well since                           Ive only worked                       two            I    dont           think             1             A.            Yes.


                                                                                                                                                                           Q.                                                 they come down and join you to
                                                                                                                                                                                                              --    did
 2                          been           on either one of those.                                                                                          2                           Did       they
              theyve

     3                Q.    But they were on this                                        one        fire         --                                         3   prepare that

                                                                                                                                                        4                 A.            They were                   --   we         talked           to     them on                  the
 4                    A.    Yes            yes.

     5                Q.    ATF.              You had two ATF agents                                         out          there                             5   telephone.


              correct                                                                                                                                       6              Q.           I   see.
     6

     7                A.    Yes.                                                                                                                            7                                     Whenever                    you         --
                                                                                                                                                                                                                                                you wrote that arrest

     8                Q.    Are you familiar with them enough                                                                  to talk         about        8   warrant affidavit                             you        talked                about            Rio the              dog     and

     9        them                                                                                                                                          9   his       --    the         evidence                that      he provided                           you-all correct

10                    A.    Not                                                                                                                        10                  A.           Yes.
                                         really.


11                    Q.    Your report indicates                                        --    identifies             Agent                            11                  Q.           And you               actually              put.in           the affidavit that the

12            Steele       as       an ATF agent.                           Is    he an ATF agent to your                                              12       dog        is   trained             to alert             on         fire        accelerants                         correct

13            knowledge                  or    is       he a deputized                         local        officer             who worked             13                  A.           Yes.


14            with     ATF                                                                                                                             14                  Q.           Had you worked                              with        that        canine                  before

15                    A.    He        is      --        he       is   an ATF agent.                     The other one                           is     15                  A.           No.


16            a     deputized            task-force                    agent.                                                                          16                  Q.           Had you ever worked                                      with           a    canine that alerts

17                    Q.    There was                            a    Bedford           firefighter                                                    17       on     accelerants                   before

                      A.    Yes.                                                                                                                       18                  A.           No.
18

19                    Q.        Langford                                                                                                               19                  Q.           Were you present when                                          Officer                 Langford

                      A.    Yes.                                                                                                                       20       processed                    --    processed the                          scene             with          Rio

.        r            Q.        Who was                     actually             the      affiant           in    one of our                           21                                         Let    me          ask       it    different.                     Did        you accompany

22            exhibits              the search warrant of the firearm                                                                                  22       Mr.        Langford                when he went through                                             the        house with             Rio

23                    A.        Yes.                                                                                                                   23                  A.           No.


24                    Q.        Okay.                  Langfords                 day-to-day job                           is    a   Bedford            24                  Q.           However                    you included                      in     your affidavit                   that


25            fireman                                                                                                                                  25       Rio       had           alerted          to accelerants                          on        --       in    --    at    six   or
 --8
                                                                                                                                                                                                                                                                                                           59
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                                                                                                                                                                             accompanying                   you while you were doing that                                                    but     he was
 1     seven different                               points              in    the     house                correct                                                  1




                                                                                                                                                                     2       present as           well               is   that       accurate
 2              A.          Yes.

                                                                                                                                                                                    A.           believe
                                                                                                              warrant thats                                          3                      I                             so.
 3              Q.          And                 at        the time             you         did    this


                                                                                                                                                                                    Q.      Do                                                                  Hummels                     purse with
       all   you        knew                                                                                                                                         4                                you            recall         locating Joy


                                                                                                                                                                     5       Lieutenant           Cleveland                        and Sergeant Carlson                                  Were you
                            Yes.

                                                                                                                                                                                      when            they did                  that           the laundry                   room
                                                                           samples from those                                                                        6       there                                                        in
 6              Q.          Who                 collected                                                                    --       just          for


                                                                                                                                                                     7              A.           dont remember                                 being                       there       with        them
 7     clarification                        is       it       six   points or              seven             points               I       --   I                                            I                                                           right



                                                                                                            where there was                                          8       whenever they
       remember two                                  in       each bedroom                           or

                                                                                                                                          house                      9              Q.      Okay.                And            Im     just trying              to      establish                 whether
 9     sleeping              area and one centrally                                               located           in   the


                                                          And that would                         make seven                                                         10       or not they              gathered                     or collected          some                items out of her
10     is    that       correct
                                                                                                                                                                                                                                                                    whether                  was
                                                                                                                                                                    11       purse on that                 initial             passthrough               or                             it
11              A.           I        believe                  that       is    correct.


                                                          Who                                   those        seven           samples                                12       later.       Do you know
12                Q.         Okay.                                      collected

                                                                                                                                                                    13              A.           --         --            dont        recall.
13                A.        They                 were collected                            by the Tarrant                     County                        Fire                            I          I             I




                                                          and ATF.                                                                                                  14              Q.      When               you          prepared your arrest warrant                                           affidavit
14     Marshals                   Office


15                Q.                                      So was              this     done           with        your involvement                                  15       for   the     offense of                     arson you described the crime scene
                             Okay.




  --or
                                                                                                                                                                    16       for   the     Judge           and the evidence                            that you-all                    gathered
16                A.         Yes.                I        photographed.

17                Q.         So you were                                 present as they                          were doing                       it        you    17       together           that       you            believed             indicated             that        it    was         in


                                                                                                                                                                                                                                                        about the reasons that
                                                                                                                                                                                      arson and then you
                                                                                                                                                                    18                                                                     talked
       were part of the team your function                                                                    was             record                                         fact




  --2
                                                                                                                        to                              it    by
18

                                                                                                                                                                    19       you believe              implicated                     or   --    that    you           should            have         a
19     photography
                                                                                                                                                                    20       warrant        for       John Hummel.                             Is    that       a    fair     assessment of
20                A.         Yes.


21                Q.         You subsequently have                                                learned there                           were no                   21       an    affidavit          that           you           prepared


22     accelerants                              correct                                                                                                             22              A.          Yes        sir.




                                                                                                                                                                    23               Q.         Okay.
23                A.         Yes.

24                Q.         Were you                              able        just out of curiosity                                  to       know                 24                                     THE COURT                           Let     me

             --    strike               that.                                                                                                                       25               Q.         BY         MR.            CUMMINGS                     When            you described John

                                                                                                                                                               58                                                                                                                                          60

  1                                             You were                   there           when             they collected                         the                   1   Hummel

                                                                                                                                                                                                           THE COURT                                   me
                                  you werent there necessarily when
                     but                                                                                                                  Rio      went                  2                                                                     Let              interject              real       quick.
       stuff

  3    through                   correct                                                                                                                                 3   Let    me     take        a look               at the         affidavit            so     I     can       read        that


  4               A.         Yes.                                                                                                                                        4   right    now         and            I    can follow along                      a       little    bit      better.


  5               Q.         Okay.                        Forget the                  next question.                                                                     5                                 MR.            CUMMINGS                     Sure.


  6                                             Do you                   recall       --    I   think         its   in       your                                        6                                 This           is       PT-24        Your Honor.

  7                                             maybe.                    Correct           me              Im wrong                       but                           7                                 THE COURT                           Thank        you.             Let       me         review    this.
        supplement                                                                                    if                                                I




        believe                                                                       indicated               that      you               took          your             8                                 All                       You may proceed.
  8                         in        your report                          you                                                                                                                                       right.



  9                                                                       document                   the     --    to   document                             the         9                                 MR.            CUMMINGS                     Thank               you Your                Honor.
        initial        photographs                                  to


10      scene as soon as possible                                                     in    other           words when you                                          10                                     And            for      the benefit           of the              Court           Im

 11     first     went                in.        Is           that       accurate               or    --                                                            11       asking        about           a     paragraph on page                              2 of         his      affidavit.


                                                                                                                                                                    12       The      husband              of Joy               Hummel               arrived          back at their
 12               A.             If    I
                                                may            refer       to     the       report

 13               Q.             Please.                                                                                                                            13       residence            on the second                           page        of the          affidavit.



 14               A.             Okay.                    I    dont see where                           I    said that                I    put                      14                Q.        BY         MR.            CUMMINGS                     Detective                      you    prepared           this



 15     there          --    whenever                              --    documenting                        anything.                                               15       warrant            to present                     a   Judge        --    excuse               me    --
                                                                                                                                                                                                                                                                                        prepared           this



 16               Q.             Okay.                    And we have                       --    Ive located                     where we                          16       affidavit          to present                     a    Judge       in    the       effort        to       get a


 17     came           across                   that.                                                                                                               17       warrant            for    Mr.           Hummels                   arrest correct

                                                                                                                                                                                      A.
 18                                             Sergeant Carlson                                 is   your supervisor                                               18                          Yes.


 19               A.             Yes.                                                                                                                               19                Q.        And        in        that          affidavit          you indicated that John

                  Q.             He was                       in    doing         a   photo            log     as   you           were taking                       20        Hummel had displayed no emotion whatsoever during the

                                                          that          correct                                                                                     21        time that you-all                           interviewed                him at the police                            station
__-i
        your photos                              is



 22               A.             Yes.                                                                                                                               22        is   that    fair       to    say                Is   that       accurate

 23               Q.             There was a Lieutenant Cleveland                                                             who was                               23                A.        Yes         sir.




 24     also       --       Fire            Lieutenant                     Cleveland                    who was              also              in   the             24                Q.        You sat here with us the                                    last           two        days        watching

 25     fire      scene.                    I   dont                know        if    he was necessarily                                                            25        videos        in    particular                       yesterdays video                          and       is    it    still
                                                                                                                                                                                                                                                                                                    63
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                                                           Hummel                         did       not display             any        emotion                           A.         For       what
                                          that Mr.
                                                                                                                                                          1
 1       your opinion
                                                                                                                                                         2               Q.         Police       agencies                   --    many             police        agencies           you
2        at    all

                                                                                                               me by Sergeant                            3        cant go       to        work without                      a     rule telling               you when               to   show
3                A.        Based on the information                                                 told


                                                                                                                                                         4        up and how youre dressed and where you can go and when
         Carlson yes.
                                                                                                                                                                         can take a break and                                                                         Do you         have a
                                                                                                                room when                                                                                                        stuff          like     that.
                 Q.        You were                   not necessarily                               in   the                                              5       you

                                                                                                                                       us that           6        procedures manual or a general orders handbook                                                                         or    some
 6       Sergeant Carlson                         was present however                                            you        told


                                                                                                                                        that              7       document               like    that         that dictates                       how you conduct
                                                                                   on           video          monitor
         you were observing
 7                                                      outside                            a                                      is



                                                                                                                                                          8       yourself          as a       Kennedale                    police              officer
 8       correct
                                                                                                                                                          9              A.         Yes.
 9               A.         No            thats not               what               I    said.


                                                                                                                                       of                10              Q.         Is    there     a chapter or                                book or section               of    it

10               Q.         Okay.               Were you                     observing just portions

                                                                                                                                                                         governs your conduct                                               an investigator                   or as          an
         Sergeant Carlsons interview of Mr. Hummel
                                                   from the                                                                                              11       that                                                            as
11

                                                                                                                                                         12       investigating                 officer        even              in    uniform
12       outside

                                                                            walked                 by or what exactly                                    13              A.         At the        time
                                    dont                                                                                                      I
13               A.         I                   recall       if         I



                                                                                                                                                         14              Q.         Yes.
14       was doing                   at   that time.

                                                                                                                                 him                     15              A.         Not that                  recall
                                                  werent                                            tag-teaming                                                                                       I
15               Q.         But           you                               actively


                           with                                                                     an                                 more              16              Q.         Was         there         a       procedure                   in     place        at that time as
16       working                           Sergeant               Carlson                     in          effort      to    get

                                                                                                                                                         17       to    what you              do when                 someone                    files      a missing person
17       information                      out   of    this        gentleman

                                                                                                                                                         18       report       to    Kennedale
18               A.         No.

                                                                                                                    down on                              19              A.         Not that Ive ever seen                                         in    our policy           and
19               Q.         There               were times that he broke                                                                the       tape

                                                                                                                                  You                    20                                   manual.                     dont know                     what goes on                in       the
                  we watched                                                       and actually                                             left                  procedures                                          I
20       that                                     yesterday                                                     cried.



                                    Did               not     know about it                                                                              21       other       divisions.
21       that     out.                      you
                                                                                                                                                         22               Q.        Okay.          You worked                              for    awhile         in    uniform           before
22               A.         I        knew        about            it.



                                                                                                                                                         23       you were promoted                                        detective
                            Thats not emotion                                                                                                                                                                  to
23               Q.

                                                based on                    the information                         that       Sergeant                  24               A.        Yes.
24               A.             I    said


1        Carlson           gave            to    me        there                   was not any                 emotion.                                  25               Q.        Okay.          And            I       would            assume that the person who

                                                                                                                                                   62                                                                                                                                               64


     1            Q.        You knew                   about                 it.         Youre           --    youre drawing a                                1   is    charged           with taking                      missing               person reports                is




 2       distinction                     here so explain                           it    to    me.                                                            2   probably one of those uniformed officers correct


 3               A.                                   Carlson explained                                   that       whenever he                              3           A.        Yes.
                                Sergeant

                          bend over                  and make                       the loud                                noises that                       4           Q.         Uniformed                 officers                are        usually        governed                a    lot
 4       would                                                                                            whining

                                                                                                                                                              5   more stringently                    or                              than
     5   when he                looked           up        there               was no tears                     in    his      eyes there                                                                      tightly                             investigative


 6       was no running                          of   the         nose                   quivering             of the       speech                            6   personnel               correct

 7       nothing           to            that nature.                       The Kleenexes                      were not wet                                   7           A.         I    believe         we              follow the              same        general orders.


     8   according                   to    what he           told             me.             He believed                 they were                not        8           Q.         Generally                 yes but                      I    mean         arent there

     9   wet.         So the emotion appeared                                                  to    him to          --   to     possibly                     9   specific          guidelines                on how              --        how        they take          a    report

10        be not          real.                                                                                                                          10               A.         At the        time there                         --    there        was      --
                                                                                                                                                                                                                                                                       no      to    answer

11                   Q.         So even though what we saw                                                     in    the       video                     11       your question.

12        appeared                   to   be emotion                         its         your       information                  that    it              12               Q.         Okay.          Was               --    is   there            --    strike        that.



13        was        artificial            or    contrived                                                                                               13                                     Was           there          on        the        20th      of   December                    2009        a


14                A.                                                                                                                                     14       standard               policy at the                     Kennedale                   Police     Department                      on
                                Rephrase               that.


15                   Q.         Well            youre describing the same thing we                                                                       15       when you                take     a missing                     persons report

16                                   and youre indicating that Sergeant Carlson                                                                          16               A.         Not that                 was aware                          of.
          observed                                                                                                                                                                                        I




17        didnt           believe           that      it   was real and therefore                                           --    or    you              17               Q.         Okay.          Is        there          any sort                  of   waiting          period that


18        put    in       your            affidavit        there                   was none               --                                             18        you want the                  citizen              to    have expire before you                              take           such

19                   A.         Yes.                                                                                                                     19        a report              generally

ý1                   Q.             --    because          you didnt believe                                   the    emotion that                       20               A.         No.


                                         on the video                                                                                                    21               Q.         Whenever                  Chris Paris                       showed          up     at    the        Kennedale
          it   appears

22                   A.         Yes.                                                                                                                     22        Police      Department                     to report                    John Hummel missing Brian

23                   Q.             Okay.        Lets        talk              about missing persons report.                                             23        Goode took the report did he not

24        Do you           have an operations manual there                                                           at    the     Kennedale             24               A.         Yes.


25        Police          Department                                                                                                                     25               Q.             Is   Brian       Goode a uniformed sergeant
      --9
                                                                                                                                                                                                                                                                                              67
                                                                                                                                     65
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                                                                                                                                                1                 Q.     Lets go                  to    California.
     1             A.          He       is.



                                                                                                              gentleman were                    2                                   You had the assistance                                       of       Detective          George
     2               Q.        And whenever he met with                                              this


                                                                                                                                                3        Darrah D-a-r-r-a-h                               is    that              correct
     3       you present
                                                                                                                                                4                 A.     Yes.
                   A.          No.

t
                                                                                            --                                                   5                Q.     And he was an Oceanside                                                detective
                     Q.        Before              he        took a         report               strike       that.
    ._.

                                                                                                                                                6                 A.     Yes.
     6                                    At       some             point       this       sergeant           --   this       patrol

                                                                                                                                                 7                Q.     And Detective                          Darrah                    the        affiant     on the
                                                                          you and Sergeant Carlson
                                                                                                                                                                                                                                     is

      7      sergeant           came            to      talk        to

                                                                                                                                                 8       search         warrant that authorized                                       you-all             to search
      8      correct
                                                                                                                                                 9       ultimately authorized                             you-all to search                              the    motel         room
                     A.        Yes.

                                                                                                                                                                                    Coast Inn as well as a                                      --   the    Windstar                    van
                                                                                                            report correct                      10       there     at the
    10               Q.        He        did       that before he                      took the

                                                                                                                                                11       correct
    11               A.        Yes

                               And you-all conferred with Mr. Brissette before                                                                  12                A.     Yes            sir.
    12               Q.

                                                              correct                                                                           13                Q.     The van                   was         actually              located             as a result           of            you
    13       he took           the       report

                                                                                                                                                14       gentlemen interviewing                                     Mr.           Hummel             at    the   San Diego
    14               A.        Yes.

                     Q.        And after you-all                               met     --       or   excuse        me.         Strike           15       County Jail correct
    15

                                                                                                                                                16                A.     Yes.
    16       that.

                                                                                                                                                                  Q.      He gave                              --                         drew a map as                      to         where
                                                                                                 Sergeant Brian Goode
                                                                          Goode                                                                 17                                                 you               actually
    17                                     After Brian                                     --



    18       met with you-all                           it    was only then he                         felt    he had the                       18       the      Windstar              van        was
                                                                               and do a missing persons                                         19                A.     Yes.
    19       authorization                    to   go ahead
                                                                                                                                                20                Q.     And                     was legally                  parked            in   a    pay    lot    just
                           correct                                                                                                                                                      it
    20       report

                                                                                                                                                21       north         of the       border
    21               A.        The authorization

                                                   Bad word.                                whatever                     want.         He       22                A.      Yes
    22               Q.                                                          Pick                          you                                                                      sir.
                                Okay.

                                                                           he met with you-all and got                                          23                Q.      The           --
                                                                                                                                                                                                  somebody                    enlisted          the       help    of the
    23       didnt do the report                                  until


                                                                                                                                                24       California               authorities              to       go            get that       van       and     pull        it       to
    24       it   approved
                     A.         Yes.                                                                                                            25       a   secure          location.                  Was         it       --    do you        know whether                           it    was

                                                                                                                                           66                                                                                                                                                  68


         1           Q.         Somebody suggested                                     that          when he do               that   report          1
                                                                                                                                                         you      or    Sergeant Carlson and the agent present

         2   that he           make           sure that the                         NCIC printout               or      broadcast                    2            A.         It    was            not    me              I   dont         know           exactly       the          person

                  whatever word                                    used        indicated              that     Mr.      Hummel was                   3   that      made            the        phone            call.
         3   or                                              is



                                                                                                                                                     4             Q.     The           van        was actually                      seized           from that parking
         4   armed and dangerous                                      correct




     --12
     --13
                                                                                                                                                                  and taken                       believe           you                              on direct                      a
         5           A.         Somebody                           did.                                                                              5   lot                                 I                                     testified                              to



                                                                                                       were present                                  6   secure         warehouse                                            prior to Detective                   Darrahs
         6           Q.         Did        --      did        it    occur        while          you                                    I                                                                facility


                                                                                                                                                     7                            the    search            --       a        search warrant                     correct
         7   mean         --                                                                                                                             obtaining


         8           A.         I       was not               there       whenever that was being                                done.               8             A.        Yes.


         9           Q.         Okay.              You know                    it   was done                but    it   wasnt        --              9             Q.        Were you aware                                  --    strike       that.



     10      you     dont know                     who                                                                                          10                                      Did        you         help           in   the     preparation                 of that

                                                                                                                                                11       affidavit
     11              A.         Exactly.

                      Q.        The arrest warrant                                  affidavit          identifies         that                  12                 A.        Can you


              missing           persons              reportee                  or reporter             as     whom                              13                 Q.        --    of the search                             warrant

     14               A.        Christopher                         Harris.                                                                     14                 A.        Can you rephrase it

     15               Q.        Okay.                Now             this      mans             actual        name       is                     15                 Q.        Sure.                Did    you assist Detective                               Darrah prepare




    --ý_....
                                                                    that       correct                                                          16        the     search           warrant               affidavit
     16       Christopher                 Paris               is




     17               A.        Yes.                                                                                                            17                 A.        Yes.


                      Q.        P-a-r-i-s                                                                                                       18                 Q.        Did        you         have the benefit of the videotape taken
     18

     19               A.        It      is.
                                                                                                                                                19        by one         of       the        --    Im     trying to think                        of       the   term or the

                      Q.            Had                                                                                                         20                 that they                 use out there                                      cant
                                                                   youre aware of a criminal                                                                                                                                        but
                                                             --                                                                                                                                                                                             recall
                                              you                                                                             history.                    title                                                                             I                           it




              You know                  quite a              bit    about           this    guy dont you                                        21        but     one of the crime                            scene               people        out       there

     22                                                                                                                                         22                                      There                  a     video           --   or are           you    aware
                                                             Sergeant Carlson looked                               at    that.
                      A.            I   believe                                                                                                                                                          is




                      Q.                             So that                         mistake                the    --          the              23        theres              video of the                      motel room where two uniformed
     23                             Okay.                                 is   a                       in                in                                              a



     24        affidavit                                                                                                                        24        officers           one a sergeant one                                      not        go    in   for   --     go      into



     25               A.            Yes.                                                                                                        25        that motel               room            for    exigent                  reasons               security check                       or
                                                             69                                                                                                                                                                                                                                                                           71
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                                                       that                                                             getting that
                                                                                                                                                                             1                                         MR.               CUMMINGS                           Your               Honor            I       pass       the
       1        something                like                              prior       to     you guys
                                                                                                                                                                             2       witness.
       2        warrant

                                                  Ive                --    Ive never seen that particular                                                                    3                                         THE COURT                                    Redirect
       3               A.      I        --


                                                                                                                                                                             4                                                           REDIRECT                      EXAMINATION
                video        no.


                                                            And were you aware                                                that      --                                   5       BY MR.            BRISSETTE
                       Q.          Okay.                                                                                of


                                                                                                                                                                             6              Q.          Detective                                  do you           have Lieutenant Langfords
       6               A.          No.


                       Q.                    conduct                                                                                                                         7       canine        report                  in    front of                     you
       7                           --



                                                                                                                                                                             8              A.               believe                               do.        Can          have            a       moment                to     look
                                                  The Sony camera                                                              Lee      --            that                                                                                I                            I
        8                                                                                                 that Ms.                           is                                                         I




        9       right        Ms.             Lee                     Is    that her               name                                                                       9              Q.          Please.


    10                 A.          Whitney                            Lee yeah.                                                                                             10              A.          No             sir           I    dont believe                          I    have           Mr.   Langfords


    11                 Q.          Whitney                            Lee.        The Sony camera                                 that       Whitney                  Lee   11       report.


                                                                                                                                  scene you                                 12              Q.          When Defense                                          counsel               asked you              if       there          were
    12          used    to    take                four photographs                                       of    the      fire



                                                            her that                 camera                was now evidence                             and                 13       seven samples taken                                                 if   Lieutenant Langford                                   processed
    13          essentially                  told


                                                                                                                                                                            14                samples                       do you have                                a definitive                  source               in
                                                                                                                                                                                                                                                                                                                                your
    14          took    it   from her correct                                                                                                                                        eight


    15                 A.          Yes.                                                                                                                                     15       book that you can                                        swear            to   today

    16                 Q.          She             --           it    wasnt             --    I   mean              once you make                           them            16              A.          No             sir.



                                                                                                                                                                                             Q.         So when you answered                                                        seven           because                   the      Defense
    17          aware        that she                       had done that you                                      decided             that       was            --         17


                                                                                             correct                                                                        18       threw        it   out        there                        is   it        seven         or       do you           know
    18          you were going                              to            seize        it


                                                                                                                                                                            19              A.          I    --        I    dont have a                             definitive                     answer.
    19                 A.          Yes.

                                                                                                                              You went                 down                 20               Q.         Do you                       know                 what the Tarrant County Arson                                                  Task
    20                 Q.          Finally                        the       Compaq                   Presario.                                                        to



                                                                                       and spoke                            Dr.   Ford                 that                 21       Force       is
    21          the    hospital                   in    Cleburne                                                   to                         is



                                                                                                                                                                            22               A.         Yes
    22          correct                                                                                                                                                                                                    sir.




                                                                                                                                                                            23               Q.         What                             it
    23                 A.          Yes                                                                                                                                                                                          is
                                                       sir.




    24                 Q.          Where did you                                       meet up with                         Dr.   Ford                                      24               A.             Its        a    --           its        a      task     force            comprised                      of



    s                  A.          In         his           office.                                                                                                         25       several           firefighters                                that are            cross-trained                      in        arson

t
                                                                                                                                                                      70                                                                                                                                                                      72

                                                                                And that was                                                                                                                and they participate                                                    --         theres               a    fire
                       Q.                                            me.                                                     Harris Hospital                                         training
                                                                                                                                                                                 1                                                                                         in            if
            1                      Excuse                                                                           at


                                                                                              that                                                                               2   that                    need                their               assistance                      then          they        --        they
            2   Cleburne               or         something                          like                                                                                                    cities



                       A.                               believe                        used                   be    called         Walls              but                        3   respond            to       it.
            3                      I         --    I                            it                    to


                        said                  was                                                                                                                                4           Q.             Several.                           Is    it       multiple              agencies           like             the     43
            4   they                    it                       called           --




            5          Q.          Okay.
                                                                                                                                                                                 5   here     in       Fort        --       in           Tarrant                County

            6          A.          --         Harris                      Methodist.                                                                                             6           A.             Yes            sir.




                       Q.          And                                was                                                                             office                     7           Q.             Does                     include                   other        counties                 as   well
            7                                          this                     a      desktop                computer                 in his                                                                               it




            8          A.          Yes                 sir.
                                                                                                                                                                                 8           A.             Yes            sir.




            9          Q.          Was                                                                                                                                           9           Q.             Does                     include                                                          that              may        not   be
                                                       it       his        personal               computer or                     his    staff         or                                                                   it                                 representatives


     10         something                    like           that                                                                                                            10       from the               fire           service                   like       video           forensic folks


     11                A.           I        believe                      his   personal                  computer.
                                                                                                                                                                            11               A.             Yes            sir.




     12                 Q.                                        Did                                                                        crime                          12               Q.             Did        you               receive                resources                     from our                  office      as
                                    Okay.                                   you process                        his office          for



     13         scene or            DNA                or anything                           like        that      to       try   to    determine                           13       part of that task                                   force            that      day
     14         who perhaps                            had been using that computer                                                                                         14               A.             Yes            sir.




      15               A.           No.                                                                                                                                     15               Q.             And who was that

      16                Q.          Okay.                         Did       you         --    and when you collected                                        it              16               A.             We         received                           resources                 from Mr.              Porter.



      17                                                              box and                                                      and the                                  17               Q.                   your 128-hour arson class did you go over
                you collected                          the                                               the       monitor
                                                                                             left                                                                                                           In



      18        keyboard                and            stuff               like      that correct                                                                           18        evidence              collection


      19                A.          Yes                sir                                                                                                                  19               A.             Yes.


                        Q.             What                 I        would           have         called           a    CPU        what           I    think                20               Q.             In     your classes                                to   become                     a   detective                  or   a



    .....        everybody                    else              understands                         it   as CPU.               Anyway...                                    21        peace officer                         did           you go                over evidence                         collection


      22                                               MR.                CUMMINGS                            May       I    have just one moment                           22               A.             Yes.


      23         please Judge                                                                                                                                               23               Q.             With            respect                       to    fire       debris              what       happens                   to   it




      24                                               THE                COURT                   You         may.                                                          24        once       it    leaves               the               scene                 What can                   happen               to     it


      25                Q.             BY              MR.            CUMMINGS                             Thank you Detective.                                             25               A.             It    can            --           it    can        degrade               very           quickly.
                                                                                                                                                                                                                                                                                    75
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                                                                      what                                                                                          A.        Yes.
                     Q.                                                          you observed                      at     the                        1
     1                            With        respect           to


                                                                                                                                                     2              Q.        What                it
                                                         Department with Mr. Hummel                                                you
                                                                                                                             did                                                          is
     2       Kennedale                Police


                                                                                                                                                                                                               warrant                   the    camera.
                                                                                                                       day                                          A.        Its      the     search                          for
                                                                                       clothes            that                                       3
     3       have any observations about                                        his


                                                                                                                                                     4              Q.        PT-32          is   the affidavit               is   that    correct
                     A.           Yes.
r




                     Q.           And what                were        those      observations                       for    the                       5              A.        Yes       sir.




                                                                                                                                                     6              Q.        Does the                 District    Clerks          Office       here               in
     6       Court please
                                                                                                                                                     7       Tarrant      County assign                                            numbers               to    documents
     7               A.           That        I    saw some sort of reddish-brownish                                                                                                                        particular


             material on                          on     his   pants.
                                                                                                                                                     8       when you           file    them with the clerks office
     8                                  --



                                                                                                                                             know    9              A.        Yes.
     9               Q.           You answered                       Mr.       Cummings                  that     you      did     not

                                                                                                                                                    10              Q.        Do you              recognize the           search           warrant number on
    10       if    there       was any conversation                              about whether                         or not      a


                                                                                                            As youve                                11       PT-32       to    be the same as PT-32A
    11       consent              was obtained                  in
                                                                      your presence.

                                                                                                     aware. that others                             12              A.        Yes.
    12       developed                this         investigation                are    you

                                                                                                                              clothes               13              Q.         32A           the actual            warrant
                                                                                            him about
             may have had                                                        with                                  his                                                              is
    13                                            a    conversation


    14               A.           Yes.
                                                                                                                                                    14              A.        Yes       sir.




    15               Q.           And who would                       that other person                           be                                15              Q.         Is   the      City of        Kennedale               an    incorporated                       city



                                                      Steele.                                                                                       16       under the Texas                      charters
    16               A.           Agent

    17                Q.          The clothes                  that    we       see    him reenter the video                                        17              A.        Yes.


    18                    Kennedale                      PD    whose clothes                    are       those                                     18              Q.         Im      showing you                 what has been                         marked             for
             on     at


    19               A.           They            belong        to    Sergeant             Carlson.                                                 19       identification             purposes as PT-38.                          Will       you take                 a


                                                                                                                                                    20       second             look               that sir
                                                       were the clothes                                                                                                   to                 at
    20                Q.          Where

                      A.          He had them                          his office.                                                                  21                                  What            does PT-38 appear                      to        be
    21                                                           in


                                                                                                                                                    22                                                                                                             that
                                                                                       you about how one attains
                                  Defense                                  asked                                                                                    A.         Its     the order                                   --   declaring
    22                Q.                                 counsel                                                                                                                                            certifying



    23       a     VIN number.                        You      are familiar with the                         computer                               23       were        an    incorporated                 city that          Kennedale                      is   an

    24                                   law           enforcement                    the         state       of   Texas           are              24       incorporated               city.
             systems              for                                            in


                      not                                                                                                                           25                                  MR.         BRISSETTE                  Your Honor                      the      State       will
             you
                                                                                                                                             74                                                                                                                                      76


                      A.                                                                                                                                     tender       to    Defense                counsel      PT-32A               which                 the face
                                      am.                                                                                                                1                                                                                               is
         1                        I



                         Q.       Can you look up                              license          plate       from anything                                2   sheet       to    PT-32              and then         PT-38           Articles          of
     2                                                                     a


                                                                               more advanced                       TLETS           that                  3                                for      the City        of   Kennedale.                       Offer          them      for
         3    from publicdata.com                               to   the                                                                     you             Incorporation


     4        have        to      get    a    VIN number                                                                                                 4   the    purpose            of    this       hearing.


         5               A.       Yes.                                                                                                                   5                              MR.            CUMMINGS                Can we look                         at   32
     6                   Q.       You dont need                        to      search        ones vehicle                    to                          6                              MR.            BRISSETTE               Yeah.


     7        obtain          a   VIN number                     do    you                                                                               7                              MR.            CUMMINGS                Your        Honor               we have no

                                                                                                                                                                                       PT-32A                                                                               and
         8               A.        No        sir.
                                                                                                                                                         8   objection          to                       for   purposes             of    this      hearing

         9               Q.        Lets           talk      about      this      vehicle             a   little     bit                                  9   nor    do we have an objection                              to    PT-38A               for       purposes of

    10         more.           Defense                 counsel        asked          you        if   the vehicle             had been               10       this    hearing.


    11        towed           from the parking                        spot      that       it     was parked                 in                     11                                  MR.            BRISSETTE               Judge           if    I   may
    12         legally         prior         to       Detective        Darrahs search                          warrant             is               12                                  THE            COURT        You            may
    13        that       correct                                                                                                                    13                                  MR.            BRISSETTE               Its       38     not 38A.


    14                   A.       Yes             sir.
                                                                                                                                                    14                                  MR.            CUMMINGS                Im        sorry.


    15                   Q.        Was            that vehicle              towed      after the                  Defendant              had        15                                    MR. BRISSETTE                        Okay.

    16         signed          two separate                    consent           to   searches                for      that                         16                                  THE COURT                       PT-32A            as    in       Alpha              and PT-38

    17         vehicle                                                                                                                              17       are admitted.


    18                   A.        Yes.                                                                                                              18                                   States            Pretrial      Exhibit Nos.                    PT-32A

    19                                        MR.         BRISSETTE                   Judge              may       I    have just            a       19                                   PT-38 admitted

         q     second                                                                                                                               20               Q.        BY       MR.         BRISSETTE                  Detective                 in        your white

                                              THE         COURT                You may.                                                             21       binder       up there                 do you         have some printouts                               from NLETS

    22                   Q.        BY         MR          BRISSETTE                   Detective                   Im      going         to          22       Incorporated                 in      your binder

    23            show you whats                         been marked                  for identification                     purposes               23               A.        Yes.


    24            as States           Exhibit             PT-32A as              in    apple.             Do       you                              24               Q.        You know                 what NLETS                 is    yes

    25            recognize           what             this    appears          to    be                                                            25               A.        Yes.
                                                                                                                                                                                                                                                                   79
                                                                                                                            77
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                 Q.     Do                have        --    theres two transmittals                                               1             A.      Law        enforcement                    sensitive.                  Subject                  possibly
                               you                                                                                I
    1


                                                                                                                                                                                  Person          of interest                              homicide.
                                                                                                      agrees on                   2                      unstable.                                                           in
    2    think        that are       in     question here.                     Everybody                                                  mentally

                                                                                                           motor                          Considered armed and                              dangerous.                  Approach with caution.
    3    both sides.           One        is    an attempt                   to locate         for    a                           3


ý                                                                                                                                 4                    has military background.                                     Do       not arrest or
         vehicle        and one           is    a     missing            persons transmission                          to                 Subject


                                                                          two items sir                                           5       detain      based       on        this    record.         If    located                      contact
         NLETS.         Can you             locate          those

                                                                                                                                          Kennedale           PD 817-478-5416                            advise location                              and direction
    6            A.     Sorry.            Im        trying        to     get to the missing                                       6


                                                                                                                                  7       of travel.
    7    persons report.
                                                                                                                                                Q.       Do you include as part of that missing person
                                                                              persons one here from                               8                                                                                                                                     a
    8                           1    have the               missing

                                                                                                                                  9       vehicle      license         plate        number
    9    NLETS.

                                                                                                          Prior                  10             A.       Yes.
10               Q.     All    right.          Lets start with that one.

11       to    this             entered               into       NLETS            was there           a     report               11             Q.       Do      you include the make and model of the
                       being

                                                                                                                                          vehicle           well
12       taken        by the    Kennedale                   Police           Department                                          12                    as

                                                                                                                                 13             A.       Yes.
13               A.     Yes.

                                                                                                                                                Q.                                      here does                      say arrest the
14               Q.     And by that                    I   mean          a    report      for       missing                      14                      Anywhere                 in                          it




                                                                                                                                 15       individual
15       persons
                                                                                                                                 16             A.       No.
16               A.     Yes.

                 Q.      Who         took       the                                                                              17              Q.      Prior      to       the missing            persons report                                   being
17                                                         report
                                                                                                                                 18       taken theres a                                     set of investigations                                    going       on
                         Sergeant Goode.                                                                                                                                     parallel
18               A.

                 Q.      And          believe              on cross the Defense                           asked            you   19       at the      PD that afternoon                        are there                not
19                              I



                        have                                            with       Sergeant Goode                     on that    20             A.       Yes.
20       did    you              a    conversation

                                                                                                                                 21              Q.      Had      you learned any information                                                 from
21       Saturday
                                                                                                                                 22       Dr.   Peerwanis              office           yet as to the                  victims
22               A.      Yes.

                                                                                         into the                                23              A.      Yes.
23               Q.      Theres language that goes

24       miscellaneous               fields           on    a    missing           persons report                     is         24              Q.      What          had you gathered                            at that                 point       from


         there        not                                                                                                        25       preliminary            reports

                                                                                                                            78                                                                                                                                         80

                 A.      There        is.
                                                                                                                                      1          A.      That one of them had been                                           stabbed to death and
    1



                 Q.      And                               on                                                                         2   one    of   them was considered                           a    --        a    homicide.
    2                            I    believe                     this       one     there          are    five   lines



    3    entered        into    the         NCIC            is    that       correct                                                  3          Q.      Would           somebody                 suffering              stab injuries                       be

                 A.      Yes.                                                                                                         4   inconsistent           with         a    --   a    fatality         in    a    fire
    4


    5            Q.      On    the        miscellaneous                       or the       M-I-S field                                5          A.      Yes.


    6            A.      Yes.                                                                                                         6          Q.      So you had a homicide at one point

    7            Q.      The     language                  that         was placed             in   here     by                       7          A.      Yes.




 --17
    8    Kennedale            PD      how did               it    come about                                                          8          Q.      Did      you know                  the   cause            of    death yet                     for   the


    9            A.      Im     --    Im         not       real         sure      sir.                                                9   male or the            child        yet

 10              Q.      Well         lets       go through                  this.       What        did    you        know      10              A.      No       sir.




 11      at that       point          Did       you        know          whether          or not Mr.              Hummel         11              Q.      Can you              find       the      attempt               to   locate                  please

 12      had served            in    the       military prior                 to    the    NCIC                                  12                                Detective                 would       it     help          if       I   told       you

 13      transmission               on Saturday afternoon                                                                        13       originally        when         I
                                                                                                                                                                              imaged your notebook                                          it   was behind

 14              A.      Yes.        The information                         we     got    came from                  the        14       some consent                 to     search forms                      Because                     thats what


 15      interviews           that     we had               with        him before and the                                       15       sequence          it   is.     Its       146 pages             in.




 16      information           that         we had               learned        throughout                the                    16              A.      Probably                 not    because

         investigation               up     to that          point.                                                              17                                MR.        BRISSETTE                    Judge                   may           I    approach

    18           Q.      Did    you         incorporate                  your observations                       on how          18                               THE         COURT                You may.

    19   the individual              was acting                  when         you entered                 this                   19                                MR.        CUMMINGS                        Actually                     what Id           like      to



40information                   in    as well                                                                                    20       do can we              project           so the         Judge         can          benefit                 from    this


                 A.      Yes.                                                                                                    21       too         Do you have any problem                                 with           that

 22              Q.      Can you               tell    us        what the          --    the    miscellaneous                    22                                MR.        BRISSETTE                    Do you have any problem

    23   field    states                                                                                                         23       with      me   printing             them          out    and mark                  them

    24           A.      Want         me        to    read         it   directly         from       here                         24                                MR.        CUMMINGS                        Okay.

 25              Q.      Please.                                                                                                 25                                MR.        BRISSETTE                    Judge                   I       think       we have an
 --7
                                                  81                                                                                                                                                                                                                         83
                 Case 4:16-cv-00133-O Document 22-7  Filed 07/06/17                                                                                                                     Page 24 of 64 PageID 3007
                                                                                            we                                                                      Q.                              The MIS areas                    can                 show us that
     agreement between                        the parties that                                                               out                                                                                                            you
                                                                                                       will                                              1                 All          right.
 1                                                                                                               print


 2   what     we       just      talked       about           which               is    an         NLETS               printout                          2   on   PT-39 what                    you were reading                    for    the Court before               we

 3   from    a    terminal that                   Kennedale                  PD         that            shows the                                        3   admitted         this

     missing persons                   report.           Theres some language                                              on     either                 4          A.     This             area these              five      lines right         here.


     side    of   it   as    a   header            on    the        documents                          that the State                                    5          Q.      All         right.       Where          it   starts      with M.K.E. or Mike


 6   and Defense have                       as part       of        discovery.                                                                           6   just   above

                                 THE        COURT              Does               the        NLETS                report contain                         7          A.      Right            here

 8   confidential            information                or you know personal                                               data                          8          Q.      Yes             sir.




 9                               MR.        BRISSETTE                        The personal                             data      would           be       9          A.      Yes             sir.




10   the    same data that would                          be           on     the top                  of     an       Indictment                       10          Q.      From that down                              are   you the best person                  in   the


11   for a    defendant                at   this point.                                                                                                 11   police      department                 to    explain          how these             individual       fields



12                               THE COURT                     Well               does            it    contain            like        a                12   work     and how the data                         is   filled     in to      the    right     side   of



13   Social       Security         number or               --                                                                                           13   that   --   the       hash mark or the slash                            mark

14                               MR.        BRISSETTE                        No         sir.                                                            14          A.        No         sir.




15                               THE COURT                                                                            Thats       fine.                 15          Q.      And would                    that be         best      left   for    one of the
                                                               Okay.                   All        right.


16                               MR. BRISSETTE                               And then                       the attempt                    --   the     16   dispatchers


.1   attempt.to             locate          his   vehicle              information                      in       it    VIN                              17          A.      Yes             sir.




18   numbers            stuff     that       we        talked          about            in        court          today.                                 18          Q.        Do you know                     the date          and time that              this   was

                       we               make that                                                                                                            entered
                                                                         guess two separate
19   Those        --          can                                  I                                                                                    19


20   exhibits          called     the        attempt           to        locate             States               40 and                                 20          A.      The date                is    right         here       12/19/2009             at    1822

21   States        PT-39 would                    be    the    NCIC missing persons.                                                                    21   Eastern       Standard                 Time.


22                               THE        COURT                  All    right.              Why dont you go                                           22          Q.        PT-40 do you understand                                     what     this    is sir

23   ahead and              print      that       out         If
                                                                       you want                    to       take       a   quick                        23          A.      Yes             sir.




24   break        so you can                accomplish                 all    that            thats              fine.                                  24          Q.        What            is   this

                                 MR.        BRISSETTE                        Okay.                                                                      25          A.        Its        attempt          to       locate      broadcast.


                                                                                                                                                82                                                                                                                            84

 1                               THE        COURT                  Well be                  in     recess.                                               1          Q.        And what               date          and time was             this       entered     into


 2                               Recess             from       256                p.m.            to     327 p.m.                                        2   NLETS       or     NCIC

 3                               Open             court        Defendant                          present                                                3          A.        It    was entered                    on    12/20       at    1540          hours    Central

 4                               THE        COURT                  You may proceed.                                                                      4   Standard          Time.


 5                               MR.        BRISSETTE                        Your Honor before                                    we        took         5          Q.        So        a   day after roughly                       that PT-39            was

 6   the    break           the State             was going                  to    print               two documents                                     6   entered

 7   from the discovery                      that the              Defense                   has.             Weve           now done                    7          A.        Yes           sir.



 8   that    and       labeled          one PT-39                   which              is    the printout                    from                        8                                  MR.     BRISSETTE                   Pass      the     witness.

 9   NLETS        with       the missing persons                              report attached                              to     it   for               9                                  THE     COURT                Recross

10   purposes           of    NCIC and PT-40                             which               is    a     printout            of     the                 10                                           RECROSS-EXAMINATION

11   NLETS        for    attempt             to    locate          vehicle              that actually                        was                        11   BY MR. CUMMINGS

12   printed by the Oceanside                             Police             Department through                                        a                12          Q.        Detective              Charbonnet                    can    you     tell    the Court

13   rebroadcast              from the             California                Department                           of    Justice.                        13   when the missing person                                report         was    filed     or    taken    by

14   Ive shown Defense                        Counsel                  both       of        these and we                        offer                   14   Sergeant          Goode

15   these        at this        time PT-39 and PT-40.                                                                                                  15          A.        Can you give me just                             a   moment
16                               MR. CUMMINGS                                These are by agreement                                              Your   16          Q.        Please.

17   Honor.            We    have       no        objection.                                                                                            17          A.        It    was taken                 on    12/19/2009              at    1518 hours

18                               THE        COURT                  All
                                                                          right.              PT-39               and 40 are                            18   according             to    the       report.


19   admitted.                                                                                                                                          19          Q.        And without putting PT-39 back                                              on the board
                                                                                                                                                                                                                                                   up

                                 States                Exhibit Nos.                    PT-39                                                            20   it   was    just      a     couple          of   hours        later     he would            have put       it




                                 PT-40            admitted                                                                                              21   into   the    system
22           Q.        BY        MR. BRISSETTE                               Detective                      if
                                                                                                                 you could                              22          A.        Yes.

23   could       you     take us through PT-39                                    thats                on     the      screen                           23          Q.      Thank               you.

24   right    now            What are we looking                                  at    here                                                            24                                  MR.     CUMMINGS                    Thats       all    I     have    for


25           A.        This       is   an     NCIC printout                       of a            missing person.                                       25   Detective             Charbonnet Your                        Honor.
                                               85                                                                                                                                                                                               87
              Case 4:16-cv-00133-O Document 22-7  Filed 07/06/17                                                                                 Page 25 of 64 PageID 3008
 1                            THE COURT                       All    right Detective.                     You may       1   commitment              to the          Marines            did    you join the reserves

 2   step    down.                                                                                                      2          A.      Yes        sir.



                              THE WITNESS                           Thank                                               3          Q.      And how              long       did    you serve                in    the       Marine
 3                                                                             you.

                                 MR.         MOORE            We      would ask that he remain                          4   Reserves

                   to      recall.                                                                                      5          A.      Four years as                   well.
     subject

                              THE COURT                       Youre subject to                     recall.              6          Q.      And what rank did you reach
 6


 7                            THE            WITNESS                Yes     sir.                                        7          A.      Sergeant.


 8                               Witness               retires
                                                                                                                        8          Q.      Now           is   United States                 Custom and Border

 9                            THE            COURT            State         call   your next witness.                   9   Protection          under the umbrella                          of the         Department                  of


10                               MR.         GILL        We     call   Jorge Bernal.                                   10   Homeland            Security

11                               Witness               enters       courtroom                                          11          A.      Yes        sir.



12                            THE            COURT            Jorge        Bernal                                      12          Q.      And do you have                        to    undergo a period of training

13                            THE            WITNESS                Yes     sir.                                       13   before       you can          become an                   officer        with the          Customs and


14                            THE            COURT            Please        raise your right hand.                     14   Border Protection                    Service

15                               Witness               sworn                                                           15          A.      Yes.        We        go to the federal                        law    enforcement

16                            THE            COURT            Please        be seated              sir.                16   training       in   Glynco            Georgia for 16 weeks                             is      when        I




17                               You may proceed                      when youre               ready.                  17   went.


18                                                JORGE BERNAL                                                         18          Q.      Approximately when did                                    you do that             16 weeks

19   having       been        first          duly      sworn         testified     as        follows                   19   training

20                                             DIRECT EXAMINATION                                                      20          A.      It    was September                        of   2007.

21   BY MR.        GILL                                                                                                21          Q.      And when               you       --    I   take      it
                                                                                                                                                                                                      you graduated

22          Q.         Please           tell    the     Judge        your name.                                        22          A.      Yes        sir.




23          A.         Jorge         Bernal.                                                                           23          Q.      And upon               graduation                what rank did you achieve

                                                thank you                                                              24                  Of U.S. Custom and Border Protection
                                                                     very much.
24          Q.         Pull      the      --                                                                                       A.                                                                                            officer.


            A.         Jorge         Bernal.                                                                           25          Q.      As a Customs and                           Border Protection                      officer            do

                                                                                                                  86                                                                                                                            88

 1          Q.         And how                 are     you employed or occupied                                         1
                                                                                                                            you    undergo            periodic            retraining

 2          A.             am employed by                       U.S.    Customs and                  Border             2          A.      Yes        sir.




--14
                       I



 3   Protection.                                                                                                        3          Q.      And        approximately how                          often          do you do that

 4          Q.         Youre            in     uniform        today.        Are    those your dress                     4          A.      It    ranges.             It   was some              erratic          training

 5   blues       youre wearing today                                                                                    5   training       whether             its      continuous            training            on defensive




--18
 6          A.         Yes       sir.                                                                                   6   tactics      or firearm or                  any changes                  in    the    law anything

 7          Q.         All    right.           How       long       have    you    been        employed by              7   like   that.        Its      very       often         actually.

 8   Customs and Border Protection                                                                                      8          Q.         Are those           some           of the      same           subjects          that          youre

 9          A.         Three          years            four   months.                                                   9   taught       in     your      initial         academy
10          Q.         What          did       you     do before you went                     to    work for           10          A.      Yes        sir.


11   Customs and                  Border Protection                                                                    11          Q.         What       are      some       of the other                  things          that    you

12          A.         I   was with TSA for two years.                                                                 12   learned        in   your          initial     academy your                      initial        training

13          Q.         And for those of us that dont                                know            is    that         13          A.         Customs law immigration law                                         anything

     Traffic      --       Transportation                 Safety       Administration                                  14   anything          involving           state          law       where were going                       to       be


15          A.         Transportation                    Security          Administration.                             15   working        at and as well as defensive tactics                                             and

16          Q.         And how about before that                                                                       16   anything          involving           arresting             or seizures               or you know
17          A.         I   was working construction.                                                                   17   the training            with       our sidearm that we are required                                            to


            Q.         Did    you          do anything               else   before           you were        in        18   to   carry.

19   construction                                                                                                      19          Q.         So youre commissioned                                  to carry          a   sidearm

            A.         I   did       four years of active                   duty        in   the United                20   also    is    that      correct

     States Marine                   Corp.                                                                             21          A.         Yes     sir.


22           Q.        And did you                   receive        an honorable discharge from                        22          Q.         Did   you        receive           any of the same training                                  in


23   the    Marines                                                                                                    23   your    --    in --     in    the       Marines

24          A.         Yes       I    did       sir.                                                                   24          A.         Yes     sir.


25          Q.         After         your       release         from your          --
                                                                                         your       first              25          Q.         What       type of training did                        you receive              in   the
                                                                                                                            89                                                                                                                                        91
              Case 4:16-cv-00133-O Document 22-7 Filed 07/06/17                                                                                                  Page 26 of 64 PageID 3009
     Marines thats                                                                   --    your duties today                                       A.     It    varies             throughout                   the       week        and throughout
                                                                         your                                                           1
 1                                   applicable                    to


 2         A.    Defensive                          tactics         and weapons training.                                               2   the    time of year                   but        its     in    the       thousands                  many

 3         Q.    I       take            it
                                               you          received           --    the part            of the                         3   thousands.               I    dont have an                         exact       number            for      you.


     defensive tactics and weapons                                             training          you       received         in          4          Q.     If    we were                 told         by Border Protection                            Officer


     the   Marines             is
                                     part of                their       basic       training          program                           5   Herb    Day that you average                                       10000         pedestrians                   a    day       is



                                                                                                                                                                                                                                       number




--18
                                                                                                                                        6   that   --    does        that         sound             like       an accurate
 6         A.    That               is        correct.


 7         Q.    That               all       Marines have to go through                                    in    order to              7          A.     Yes             sir.




 8   become      a       Marine                                                                                                         8          Q.     How about number                                     of vehicles            per        day

 9         A.    Yes            sir.
                                                                                                                                        9          A.     A     lot       more.

10         Q.        So what are your job duties today                                                     with      Customs           10          Q.     A     lot       more

11   and   Border Protection                                                                                                           11          A.     Yes             sir.



                                                                                                                                       12          Q.           take              the        San Ysidro Port of Entry                                      an
12         A.        I   am         assigned                  back        to    the        --   as   a    primary                                          I                 it                                                                       is




13   officer.    I       was         --        before this                I    was with              the   team that                   13   inter   --    port of international                                entry

14   dealt with          anybody leaving                                 the    country              and we would                      14          A.      Yes            sir.




15   inspect    them as we would                                        people           entering         the    country          so   15          Q.      Its           an international                       port

16   now Im          assigned                      to   inspecting              people           before         they enter             16          A.      Yes            sir.




17   the country.                                                                                                                      17          Q.      Between the country                                   of the United                   States             and

           Q.        And how long                             have you been                      assigned            to   inspect      18          A.      And Mexico.

19   people     before they enter                                  the        country                                                  19          Q.      --    Mexico

20         A.        Since            --       Im           back        again       assigned to that since                             20          A.      Yes            sir.



21   October of           this            year          --    of   last       year         Im     sorry.                               21          Q.      And Mexico                     is    a    foreign           country

22         Q.        So were you                             assigned to that                    same job back               on        22          A.      Thats correct.

23   December 20th                            of   2009                                                                                23          Q.      So when you talk about                                         people       coming to you as

24         A.        Yes            sir.                                                                                               24   a   primary         officer            and applying                      for   admission theyre

-5         Q.        On December                              20th of           2009 were you                     assigned as          25   applying           for       admission              to the United                    States

                                                                                                                             90                                                                                                                                        92

 1   a   primary         officer               inspecting                people            as    they entered              and          1          A.      Yes            sir.




 2              for       admission                                                                                                     2          Q.      And they are applying                                     for    admission                 and theyre
     applied

 3         A.        Yes            sir.                                                                                                3   coming from the country                                   of       Mexico

 4         Q.        And where are you                                    assigned                Where          within     the         4          A.      Yes            sir.




     United     States are                                                                                                              5          Q.      Could you
 5                                                 you assigned                                                                                                                         briefly           describe to the                   Judge              the


 6         A.        Im        assigned at the                            San Ysidro Port of Entry                           in         6   port    area that               you work                 in

 7   San Ysidro California.                                                                                                             7          A.      Yes            sir.         Its     --    we neighbor Tijuana

 8         Q.        What             part of California                            is    that   in                                     8   Tijuana        Mexico                 north             northwest               part of         Mexico               and

 9         A.        Southern                      California borders                           Mexico.                                 9   its    the port          that         we have                --    the     major international

10         Q.        Is   it    near               a    major U.S. city                                                                10   airport       which             is    on the U.S. side                         is   San Diego




--23
11         A.        Yes            sir.                                                                                               11   Lindbergh            and on the Mexican                                   side      is   Tijuana

12         Q.        Which                one                                                                                          12   International                 Airport.

13         A.        San Diego.                                                                                                        13                                And we have                       people          flying      to       Tijuana              from

14         Q.        Is   it        near a major                        city    in       the    country         of                     14   anywhere            in       the      world             and then they apply                              for   entry          in


15   Mexico                                                                                                                            15   San Ysidro from                       --    from Tijuana                       Mexico.           Its      --       were

16         A.        Yes            sir.                                                                                               16   located       in    the        southwest                  area       of the United States.


17         Q.        Which                 one                                                                                         17          Q.      Now we                      think        of    --    of   you being              a    port          of


18         A.        Tijuana                    Mexico.                                                                                18   entry       from the country                            of Mexico.              Is   your           --   is    --    are

19         Q.        So        is    there              a    lot   of    traffic          between the United                           19   the    people        applying                to     admission                  to the United                   States


     States     and        Mexico                   at that             port of          entry                                         20   from that port                  strictly           Mexicans

           A.        Yes            sir.           Its the biggest and busiest                                  in   the               21          A.      No            sir.



22   world.                                                                                                                            22          Q.      Do they                 --    where else do you receive                                        people

           Q.        Do you                   have           an estimate                  as to the        number          of     --   23          A.      Anyone and                        everyone                in    the       world that                they can

24   of pedestrians                      on average                     pass through                 your port of                      24   get    to    Tijuana            from          theyll              be applying              for      entry           at

25   entry every               day                                                                                                     25   San Ysidro Port of Entry.
                                                      93                                                                                                                                                                                                                                           95
                     Case 4:16-cv-00133-O Document 22-7  Filed 07/06/17                                                                                                                      Page 27 of 64 PageID 3010
 1              Q.         What           are       some                 of      the other           major ethnic groups                              1   kind         of    like          obtain           knowledge as to how we operate

 2   that       come            through                 that port                  from the country                       of   Mexico                 2   and         --    and            try    to     find           weaknesses                          in   any of our

 3              A.         We                  a                  of people                 from Somalia we get                            a          3   different               areas of the                          port of entry                       as to       who might             be
                                    get             lot


     lot    of people                from the                      --    Iraq from everywhere                               and                       4   the         officer           that          inspects                 you       the           more           the    most who

                                                                                               Arabia from                          over                                                      the                              And they might be                             --   want to
     anywhere                   Asia           you            know               Saudi                                     all                        5   inspects               you                    least.



 6   the        world.                                                                                                                                6   find        that        out         and        find           out     where you                        might be assigned

 7              Q.         Do     you see a                        lot      of     Russians           come through                                    7   so     if    they are trying to bring                                          something                     into the


 8              A.         Not        a   lot           but        we do have                      quite      a    few that come                      8   country                 theres a better chance                                               of       them being

 9                                                                                                                                                    9   successful.
     through.

10              Q.         How about Iranians                                                                                                        10                                          Now          by them alternating                                      where we are


11              A.         Yes.                                                                                                                      11   assigned                    and assigning                            us   in       different                areas       its


                                                                                                                                                                                        them to                                                                  knowledge from us
                           Now                                                                                                                       12   harder                                              --        to obtain that
12              Q.                        what               --    where              specifically              within      the port                                        for



13   of entry are                 you          assigned                                                                                              13   as to            how we                operate.


14              A.         I    could          be assigned                            anywhere as a primary                                          14               Q.           Is      security               a     serious               concern                 at the      port

15   officer.             It    could be the primary lanes                                                vehicle         lanes                      15               A.          Yes            sir.



16   or the          primary pedestrian                                       lanes           which        is      where       I    was              16               Q.          When                you        --     when             you go                 to    work on a given day




 --6
17   assigned                  when        the           gentleman applied                                for      entry       into      the         17   how          are        you         dressed

18   United           States.                                                                                                                        18               A.          We          have          different                uniforms                    that       we can      wear.


19                                    I   could               be assigned                     to    clear          any    vehicle          or        19   Since            mostly a primary officer                                                I    wear          BDUs        which       are


20                                                                                                                                                   20   the         most comfortable most                                                       we do get involved
     person that was assigned                                                 to    vehicle         secondary or                                                                                                                         --                                                  in



21   pedestrian                 secondary                           as well as                we have              officers         --   we          21   chases             or taking                   people                down               aggressive                 people       so


22   have people                     that travel                        into       the United              States and they                           22   thats the one                           I
                                                                                                                                                                                                        personally                  wear.                And theres                BDUs
23   have visitors visa and                                             that allows                them to enter the                                 23   tactical               boots           and you know                                 my         duty belt my weapon

24   United               States                             25 miles.                      And within the 25                                        24   and my bulletproof                                     vest
                                          up       to                                                                                                                                                                           everything.


5    miles           --    miles they can stay up to 30 days.                                                            Anything                    25                Q.          Do you wear                          a      uniform

                                                                                                                                              94                                                                                                                                                   96

 1   beyond               that distance                           or that             time frame                   they    have          to           1               A.          Yes            sir.




 2              --   obtain           a    1-94 which                                   a    permit       for      them        to   go a              2                Q.          Does           your uniform                           --       do you wear a badge
     get                                                                         is




 3   further distance                          or        a    longer               --       stay    for   a     longer period                         3               A.           Yes           sir.       If     it      happens                 to       be the          BDUs        they

 4   of time.                  And    I    could              also           be assigned to that which                                    is          4   will        not        have            this    badge                 showing                      the       actual      badge

 5   called          the        old       port          --        old       port        offices       and theres                                      5   showing.                      It    will      be       a patch.                    It    is    the         exact     same

     where            I   would            issue              them            their          permits.                                                 6   resembles our exact                                         --    our actual                      badge.

 7              Q.         So would                     it    be        a    fair       statement             that       when you                     7                Q.          And your                  --       your patches                          contain          language that

 8   report           for       work on any given                                     day you             could          be assigned                  8   identify               you as a                --      as        a   border                  protection            agent

                 number of different                                             any one of a number of                                                                            Yes
                                                                         --                                                                           9                A.
 9   to     a                                                                                                                                                                                    sir.



10   different                 duty       stations                                                                                                   10                Q.          Is        that       correct

11              A.         Thats           correct.                      Theres many more                                but        yes.             11               A.           Yes           sir.




12              Q.         Okay.            And               is    there a security                       reason          for      that             12                Q.          You carry a sidearm

                A.         Yes we have                                                                                                               13                A.          Yes




                --Q.
13                                                                  to      --                                                                                                                   sir.




14              Q.         Is    there             --                                                                                                14                                          THE COURT                           I    have              a    question.          I



15                                    THE REPORTER                                          Im     sorry.          Could       you wait              15   understand you                                using           acronym                    BDU.               What does          that stand

16   till   he       finishes the                   question before                                asking          the    next                       16   for.


17   question                                                                                                                                        17                                          THE WITNESS                                  Well              different         agencies

18                                    MR.          GILL                  Im         sorry.          Im        --   Im     trying         to          18   refer to               it   different                   even          throughout                           the military but

19   ask two questions at once.                                                                                                                      19   it   is     --    it     is




                               BY     MR.          GILL                  Is      there        a security             reason          for             20                                          THE COURT                           Is       that          battle dress            uniform

     you        being           assigned                     to    different                 locations within                  the                   21                                          THE WITNESS                                  In       the       military         yes     but

22   port                                                                                                                                            22   were             not        technically                     in       battle             but that             is   correct.

23              A.         Yes            They               have to rotate us around everywhere                                                     23                                       THE COURT                              All                             Thank
                                                                                                                                                                                                                                                  right.                       you.

24   and anywhere.                          It      doesnt                    --      it    doesnt        repeat          itself                     24                Q.          BY         MR.        GILL                  Its       a        battle-type               article     of

25   from week                   to       week               because                we       deal    with people                   trying       to   25   clothing                    is     that       correct
                                                                                                                                                                                                                                                                                                                     99
                                                          97
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                                                                                                                                                                1               A.          Mexico              would be here.                                  Anything                   beyond            this
 1              A.         Yes        sir.


                                                                                                                                                                                                                                         of shows




--10
                                                                                                                                                                                                          which                                                              here.              Its a
                                                                                                 around in                                                                                                                    kind
                                                                     can move                                                                                   2                       a       line                                                                   it
                                                                                                                                                                         point    is
 2              Q.         Something you
                                                                                                                                                                3        white        line      with yellow                       stripes             going and                       it    tells       you
 3              A.         Yes            sir.


                                                                                                                                                                                             beyond                                               which                would be facing
                                  me show you what has been marked                                                                              States
                                                                                                                                          as                    4        anything                                    this         point
                Q.         Let

                                                                                                                                                                                                                          down                        way               the United                     States.
                                                                                                        youve seen                                               5               --   facing              going                              this
                                                                                      have                                                                               this
                                 41 which                           can      --                   --                                      this
         Exhibit No.                                           I


                                                                                                                                                                                                                  that point                          Mexico                    which                  would be
                                                                                                                                                                         Anything               behind                                                                                           it
                                                                                                                                                                6                                                                                is

 6       before           havent                    you
                                                                                                                                                                 7       up here.               So as           --     as      youre walking youre walking
 7              A.         Yes            sir.


                                                                                                                                                                 8       from the south to north.                                            South being                          here north being
                                                                                     41 contains                           diagram of
 8              Q.         Now                 States          Exhibit                                                a


                                                                   where you were                                      that          correct                     9       down         here.           And
 9       the    --    of   the        port area
                                                                                                                 is



                                                                                                                                                                10               Q.         So south                   is      at the            top       of the               diagram and north
                A.         Yes            sir.



                                                                                        number of different                                                     11       is   at the        bottom                of      the        diagram
11              Q.         And            it     also     contains                a


                                                                                                                                                                12               A.         Thats               correct.
                                                                                                                  areas of the
12       photographs that correspond to different
                                                                                                                                                                13               Q.         And when you                               were           --     you            were           --
                                                                                                                                                                                                                                                                                                 you        were
13       port    --

                                                                                                                                                                14       referring              to the          signage                 for       the        international                            border
14               A.        That                     correct.




     --4
                                                                                                                                                                                                                                                                                                            B
                                               is


                                                                                                                                                                                                                                  number




     --3
                                                                                                                                                                15       you were referring                               to                           --         Photograph No.
15               Q.        --    is       that also                 correct

                                                                                                                                          over                  16               A.          Photograph No.                                  B        correct.
16                                        Have you                  had a chance                       to        --       to   look                                                                                                              is




                                                                                                                                                                17               Q.         And that                           signage                that             warns someone that
                                                               which                         the middle of the                                                                                                         is

                diagram which
                                                        --                             in
17       the                                                                     is




     --7
                                                                                                                                                                18       they     are           in    fact crossing the international                                                           border          at
18       exhibit




     --8
                                                                                                                                                                19       that     point              is   that            correct
19               A.        Yes             sir.


                                                                                                                                                                20               A.          Yes
                            And without                                                                               that                                                                                 sir.
20               Q.                                            it    being            to    scale            is                 a    fairly


                                                                       of the                         area                                                      21                Q.         Okay.                And what happens                                          next
21       accurate           representation                                              port

                                                                                                                                                                22                A.         Well           depending on the                                      traffic          of the              amount         of
22               A.         Yes                sir.



                                                                                       chance                     exam              the                         23       traffic       of pedestrians                             coming across                              the      border as you
23               Q.         Have you                    also         had         a                      to


24                                                                                               --
                                                                                                       theyre sub-marked                               A        24       can see            in       picture No
                                                                                                                                                                                                                                  --    picture                 letter            A    theres
         photographs which                                are contained


         through           K                                                                                                                                    25        always           --    for      the         most part always a                                        line --          a     huge         line



                                                                                                                                                  98                                                                                                                                                                  100

                                                                                                                                                                          of people              trying              to       enter          the country.
                            Yes
                                                                                                                                                                     1
     1              A.                         sir.



                                                                                                      scene depicted                             each                2            Q.                  that        looking               back           into            Mexico
     2              Q.      And do you                         recognize the
                                                                                                                                           in                                                   Is


                                                                                                                                                                     3            A.            Thats             looking south                        back                 into      Mexico             from
         of the           photographs
                                                                                                                                                                     4    from our gate                         which             would be                   this           gate        here.            And we
                    A.      Yes                sir.



                    Q.      And                     each of those photographs an accurate                                                                            5    either       allow           them to go through                                         the turnstile                        door
     5                                         is




     6                                                                      appeared                  back            in       December of                           6    which                 on the            left        side       on picture                         F     or the              actual
          depiction of the                            port as          it                                                                                                              is




          2009                                                                                                                                                       7    theres an actual                            door there with a key                                           pad         that      we

                                                                                                                                                                          numbered                   key pad and we have the numbers to                                                                        --    or the
                                                                                                                                                                     8
                    A.      Yes                sir.




     9                                         MR.     GILL              Your Honor                         at    this         time       wed                        9    code        to    open           it
                                                                                                                                                                                                                  up.          And only those                                --   only the               officers



 10       offer       States              41.                                                                                                                    10       have        the       code            to     that.



 11                                            MR.     CUMMINGS                             We        have            no objections                to            11                                        So as they are traveling                                               north               these are


 12       States           41.        I        guess         its       PT-41               for    purposes                     --                                12       pictures              facing          north.                 They           would have                       to       come through

 13                                            MR.     GILL              Thats              correct.                                                             13       this    gate           either           through                    the turnstile or the                                  actual


 14                                            MR.     CUMMINGS                             --   of    this           hearing.                                   14       door        itself.          Once they have                                 gone              past that                 point

 15                                            THE COURT                         All    right.              41        is   admitted.                             15       theres no going back                                       because                 we          will      not allow                them

 16                                            States               Pretrial           Exhibit No.                     41 admitted                               16       unless as              you         walk             a     little       further                north              theres a

                                                                                                                                                                                                                                                                                                         which
 17                  Q.        BY              MR. GILL                  Okay.              Officer               what Id              like                      17       building              to    the       right             as    youre traveling                               north

 18       you        to   do     is       lets just                walk the Judge                           through what we                                      18       is    the    --       its       called              the      old       port             Picture             C         and

 19                 on the diagram                             first        of              and then                   we can             talk                   19       thats where we issue                                       the         I-94s the permits to
          see                                                                     all


          about whats                          contained               in    the        photographs                            all    right                      20       travelers              with visitors visas.


                     A.        Yes              sir.
                                                                                                                                                                 21                                        So those people                                   if
                                                                                                                                                                                                                                                                       they wish                to     go back         to



 22                  Q.        Lets just                  --       lets just            walk           --    walk through                                        22       Mexico             we would                     allow          them              if     it    shows              they         were issued

 23       as    a                         would           enter             from the country                               of Mexico.             And            23       an 1-94 because                                 a    lot     of people                       tend to park                    in   Mexico
                     person

 24       can you           show the Judge                                  what        a    person               would              go through            to    24       cross-walk                  to    obtain their I-94s and they go back                                                                     and

 25       enter from the                            country          of      Mexico                                                                              25       get     their car                and then enter the United States through
                                                      101                                                                                                                                                                                                                                                                 103
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                   vehicle                                                             So that                     --    once youve                                    secondary                      which         would be past that
                                          primarily lanes.
                                                                                                                                                                   1                                                                                                        point.
    1   the                                                                                                  is




    2   entered                                                            you dont                   --
                                                                                                                  you do not                                       2                                   So           --            when we have anybody                                                trying to
                                      you are
                                if                          --       if                                      if                                                                                                if




    3   need         an 1-94 you                           will           continue           to         walk            north              go just                 3   make        entry              into     the United                              States         if    theres any kind

        past        the         old        port on              the        right-hand                      side which                      will       be           4   of issue whether they dont have                                                               enough                 documentation

ý       looking             something                       like          this     here          on Picture                        G.      Theyre                  5   and we do not have                                     enough                    documentation                            in    front us to


    6                            Thats                --    its        called          the       tunnel                 area.                                      6   be sure that they are who they say they are as                                                                                      far       as
        walking.

    7   Theyre              about               to        enter the               tunnel              --     the indoor part of                                    7   being       a    Q.S.           citizen                or a resident                      or visitor                  if




    8   the        tunnel             there and as you can see                                                    we          --   from the                        8   theres any                     kind     of checking                              that     we need                    to        be   --    to


    9   beginning                    when theyre about                                      to    enter the                        country                         9   have     done we                      refer            them                to     south secondary.


10      theres signage                               everywhere.                        We          have            signs             everywhere.                 10                                    Now              if       --    if   theres something                                    more


11                                             Theyre walking                           here which                            at    this         point            11   serious that                    might come                            up when                 we         run their information

                                                                                                                                                                  12   on the          --    on our computers then we refer them                                                                                     the
        theyre traveling around                                                                       here                                       north                                                                                                                                                      to
12                                                                             this    area                         traveling

13      and they are about                                      to     approach                  the doors                     where             you              13   port    enforcement                          team whether                                 its        --    if    they           have any

14                           make                                 the          indoor part of the                                  tunnel.                        14   warrants              --
                                                                                                                                                                                                      any warrants                                if    they     happen                 to       be
        actually                                it    into


15                                             And theres the doors on Picture                                                             D     so    once       15   missing              --    because                 we do                   get a        lot    of        minors as well

                                                                                                                                                                                            come up
        you make
16                                   it    past that point                             theres even more signs.                                              I     16   that    will                                 as missing.


17      dont see any                            more pictures on                             that.                                                                17                                    So anything                               --    anything                more than either

18                                             So once                --       once you                 make             it    past that                          18   lacking          documents or having                                                  priors with us as                         far      as


19      its     --        its        quite           --    quite           a     long       hallway                 quite a long                                  19   trying      to        smuggle people                                   or narcotics                       they        will          go    to



20      tunnel.              And then                      eventually                   the traveler                          will       make          it         20   south       secondary.                        If           its     something                    more serious then

21      to    where              the           primary               officer           would               be      in this              area of                   21   they    go       to a port                   enforcement                               team which would                                   be       --   as

22      the        exhibit                here which                       shows            the         booths where                            the               22   youre making entry                                         into       the United                    States                it    would be

23      officer            would               be     on        Picture            J   as well as                   K.                                            23   to the right to the east part                                                     of the        port.


24                                             And as you                        can see              --     I    dont know                      if
                                                                                                                                                      you         24                                   THE          COURT                              All    right.        Thank                you.


        can        tell     --       theres even more signs there explaining                                                                           to         25                                   THE          WITNESS                                  Yes     sir.




                                                                                                                                                            102                                                                                                                                                           104

    1   them what                         is   required                   from them                   to         enter the                 country                 1          Q.             BY        MR.          GILL                  The            blue        rectangles                   on the

    2   that they are                          actually               about to make entry                                          into      the                   2   diagram do those represent                                                        --
                                                                                                                                                                                                                                                               represent                    the        booths

    3   United             States                different                 sides        for       whether they have                                                3   where the primary                                 officers                   are       stationed

    4   passports or                           not         because                some           travelers                    still        if    they              4          A.            That         is    correct.


    5   happen              to        use        them some do                               still       travel with                      only         an ID        5           Q.            And        if    --    if        an individual wants                                 to        make            entry

    6   card         because                   they         dont have                       anything                    else or            birth                   6   into    the          United            States                    they            would         have             to    present

    7   certificate                  and no ID or you know                                                 or actual                    passport                   7   themselves to an                             officer                  at        one of the primary booths

    8   or    if    they             happen                to    be        a resident of the                             United                 States             8   is   that       correct

    9   they have resident cards.                                                 And also theres signage                                                          9          A.            Thats             correct.


        everywhere.                                                                                                                                               10           Q.            On December
10                                                                                                                                                                                                                                      the 20th of                   2009 were you                                  assigned

11                                             As they are about                                 to     approach                    our          booths           11   to    work one of those primary booths

12      which              as        you can               see            on Picture                J      and K              --   this         would             12          A.            Yes         I    was              sir.



13      be    a      picture               from the traveling                                public as they are                                   about           13           Q.            And as an                    officer                 assigned              to       work one of the

14      to    approach                     our booths.                           We     tend            to        have         booths              that     --    14   primary              booths             what are your duties

15      there         will           be a booth                      --    Ill    be assigned                       to         a    booth                         15          A.            To number one                                         inspect the traveling                                    public

16      which             Im         facing               another officer so hes taking                                                         care   of         16   make        sure that they                                 do have the proper documents                                                        to


17      one person                         Im         taking               care        of   another person.                                     And they          17   enter       into           the United States                                     and also make sure that

18      go    in      between                    both           of        us.     And then there                               will        be     an              18   theyre not bringing any                                               --                            that
                                                                                                                                                                                                                                                       anything                         is   illegal             in


19      officer            behind               me and an                        officer         in        front         of        me        which                19   the    sense               of narcotics                          for       instance                 or    weapons.                       If


        is    next         to        that officer                      face        away           from me because                                     hes         20   you suspect                     anything                        then             we might check them                                     further

        next         to     the           officer          that           is
                                                                                 directly             to     the        side          of    me                    21   at that         point.                So     first              and foremost                        is    to     make               sure

22      at    an angle.                                                                                                                                           22   that they                 --   they are                    legally               able     to     enter the                     United

23                                             So when were                            in    the           primarily pedestrian                                   23   States.


24      lanes             we         can        see a            portion of the                         public            whos              waiting               24           Q.           And         --    and             I    take            it    its    --    its        necessary                   for


25      to    make              entry           into        the           United            States                as     well           as                        25   you    to       wear your sidearm when                                                   youre conducting                                 that
                                                  105                                                                                                                                                                                                                                                                     107
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 1   duty
                                                                                                                                              1                     A                 We         use            --        its    called          --        well the actual

 2          A.         Yes         sir.
                                                                                                                                              2       program used                                    is        Pedestrian                       but        it    uses           different


 3          Q.         What are some of the security concerns                                                            that                 3       systems.

     arise    when youre working                                     that        booth as a primary                                           4                         Q.            Okay.

     officer                                                                                                                                  5                         A.            And they have                                   made            so     many changes                                     lately           that


 6          A.         Security                  concerns             is    we have               travelers         that are                  6       I       --    Im            not       even                sure             exactly.

                                                                                                                                                                        Q.                       your understanding
 7   either       wanted               in    any         way         shape            or     form     by local            state               7                                       Its                                                                   that           your querying

 8   or federal authorities                                 and especially now                         that        we     are                 8       major law enforcement                                                           databases at that point

                                                                     and anybody that crosses                                   the           9                         A.            Yes.
 9   required           to   run        everybody
                                                                                                                                                                        Q.            As well as                                                      watch
                             wants and warrants they might be wanted                                                             and         10                                                                           a   terrorist                                list
10   border       for



11   they     might          try       to        flee       from us or they might                             try    to                      11                         A.            Yes            sir.




                                                                            And thats one of the                                             12                         Q.            Just           one other question about the                                                              --    about the
12   attack       us    to    try           to    get       away.

13   major security concerns                                    there            as well as after                   911                      13       entry tunnel                                   here.                By the time an individual                                                 gets to


14   trying       to    bring          any          --
                                                            anything             that        could     cause harm to                         14       your position up                                          here at the                      --     at       --    at       a    primary


15   others you               know                that       --      whether             its      explosives or
                                                                                                                            --               15       booth have they gone                                                           through               any type of metal detector

16   or anything.                  Everything                       and anything                   that      could       cause               16       or           --    or other security                                       screening

17   harm        to                                                                                                                          17                         A.            No     metal detectors                                      no          nothing                 like           that.
                       people.

             Q.         So         take                                          --           a   major concern                              18                         Q.                 take                  you            have         a    computer                      monitor with you
18                            I                   it     security           is          is                                                                                            I                    it




19   at   this    port        of       entry                                                                                                 19       there                  in    the           booth

20           A.         Yes because you                               are        entering           the country.                             20                         A.            That            is        correct.


                                                                                             your own
21           Q.         And are you concerned                                         for                      security                      21                         Q.            So you can                              tell    whats                going               on.


22                                                                                                                                           22                                                      So take                           through                the          procedure as                              --
             A.        Yes         sir.                                                                                                                                                                                         us                                                                                        if    a


23           Q.         Are                      concerned                 for   the security                of the other                    23           person walks                               up         to        you and youre                               in       the        primary booth
                                  you

24                       the       --       waiting             in   line        to                   enter        and                       24       they apply                            for        admission                        into          the United                     --        United
     people        in                                                                   legally


     conduct           their       legal            business                                                                                 25           States take                                us     through                   the        procedure that you                                           go

                                                                                                                                 106                                                                                                                                                                                      108

 1           A.         Yes        sir.                                                                                                           1       through to check                                       that            individuals                     documentation                                   and

 2           Q.         As well as other officers                                                                                             2           determine whether                                               or not         they should be allowed to

 3           A.         Yes        sir.                                                                                                       3           enter.


 4           Q.         Okay.               At     any given                time         in    this    --    in this                          4                         A.            Okay.                  As the person approaches the primary

                  area                                                           the     country             there are           a            5                                             booth as soon as they present themselves                                                                                            to
 5   queue                    waiting                  to   get      into                                                                                 pedestrian

 6   number of people.                                                                                                                        6           myself                  I       will       first           obtain             from that person whatever

 7           A.         A great number of people                                             yes      sir.                                    7           they           have               whether its                               the    --       if
                                                                                                                                                                                                                                                           they            happen                   to        be a

 8           Q.         Is this --               is      this       port area            busy 24             hours a                          8       U.S.               citizen                     the        passport lack thereof.                                               If    they have

 9   day                                                                                                                                      9           any form of ID government                                                              ID to be accompanied                                                 by the

10           A.         24 hours                  a    day yes               sir.                                                            10           birth          certificate                            or unless                they happen                                to be            a


11           Q.         Now            a     minute ago you                           were talking about                    --               11           resident of the United                                                 States a resident card                                              or

12   about running someone                                      to    see        if   they were wanted                                       12           visitor             visas                  stuff             like          that.       If     they have what

13   anywhere.                How do you accomplish                                           that    at     the    --    at the             13           theyre required                                       to        have         by law then                             after           that            Ill


14   primary booth                                                                                                                           14           go ahead                        and ask them                                 you know                       what                is    the       --         the

15           A.         We        --    through               our      computer we have                             different                15           purpose                     of    your                visit          to     Mexico                as well                 ask them                     if



16   programs            that          we use                as     far    as      to    run the           person.         We                16           theyre bringing anything                                                       back              from Mexico                          with           them.

17   submit           their       information                        you     know             first    name          last                    17                                                      And             if   they         are not               and           I    feel       comfortable

18   name         date        of       birth.                                                                                                18           with           --       with their                     story then                       Ill       admit them into the

19                                 And then                  itll     run        through            different                                19           United States.                                   If        theyre             lack          --     lacking                 documents

     databases                and           if   anything             comes              back then             --   you     know             20           trying              to          enter           the             United         States then                            I    will           --    after

     then we go from there depending on what comes                                                                         up    as    far   21           I   run         them                   I   will        still          refer        them to south secondary

22   as   whether theyre wanted                                            whether they have                        priors with              22           so they                 can            further                  check              whether                  its        by

23   us     anything.                  Everything and anything.                                                                              23           fingerprinting                              them or running any                                             of       the other                      systems

24           Q.         What           system                are     you         --    are        you querying             at    that        24           we might have                                    as         far       as     immigration systems                                               to    double

25   point                                                                                                                                   25           check               their          status.
                                                  109                                                                                                                                                                                                                                  111
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             Q.         So               an individual                           does                not satisfy                                                   themselves            for entry into                        the       United        States
                                                                                                                                you that                       1
 1                                 if




 2   they have                the            proper documentation                                                or   if
                                                                                                                            you       feel                     2          A.      U.S.         passport                  if
                                                                                                                                                                                                                              they        happen to be U.S.

                                                        amiss with that person you can refer                                                                   3                  also        an enhanced                          drivers           license         which some
 3   theres something                                                                                                                                              citizens

                                                                                                                                                              4    states      do offer that for their citizens of the
     them         to    an additional                                 inspection

                                                                                                                                                               5   residence           and so we accept                                  that as a           valid       travel
             A.         Yes             sir.




 6           Q.         And that                       is        known            as soft                 secondary                                            6   document            to enter                   the     United          States           as far as U.S.


             A.                                                                                                                                                7   citizens            concerned.
 7                      Soft            secondary                          yes.
                                                                                                                                                                                  is



                                                                                                                                                               8          Q.      Does             Texas feature                     an enhanced                    drivers
 8           Q.         And             if   they                present
                                                                                       --       if
                                                                                                     you         feel      like       they

 9                      a greater                      threat              or        if
                                                                                            they meet certain                                                  9   license         Do we                offer        an       enhanced               drivers         license
     present

                                                   send them to the port enforcement                                                                          10          A.      Texas does                        not.
10   criteria           you can

11   team                                                                                                                                                     11          Q.      So     if    an individual                        shows up at your primary

                                                                                                                                                              12   booth       and presents                        themselves                  for    admission               into   the
12           A.          Yes             sir.




13           Q.          And thats                          also           known                as     secondary                      is    that              13   United       States             claiming               to    be a United States citizen                                 and

14   correct                                                                                                                                                  14   only    presents                a Texas drivers                         license           have        they

15           A.          Yes             sir.
                                                                                                                                                              15   presented           to     you proper documentation                                             for   entry

16           Q.          And thats a different                                                 area from soft                                                 16          A.       No         sir.


                                                                                                                                                              17          Q.       Okay.                So what do you do at that                                    point
17   secondary

18           A.          Yes.                Its       a         secure           location.                      You have              to    have             18          A.      Then             I    --    I    am         required         to run             them

19   a code to go                       in     there.                 Once                you go            in    there              you                      19   automatically.


20   will    --    well give                     you             a    full      pat-down                     to       check           for                     20          Q.       Let      me          direct           your attention                    to     January            back

21   weapons or anything                                              and we                   will    hold           you       there        until       we   21   to   January          20th of 2009 and                                 ask you            if
                                                                                                                                                                                                                                                                   you were at work

22   can     find        out the information that                                                     were            lacking.              Or     if         22   approximately                       548          that       morning

23                                            be transporting a car with narcotics                                                                 then       23          A.       Yes
     you happen                     to                                                                                                                                                         sir.



24   we can go                --         as      far          as      if   its         hidden within                        the        person                 24          Q.       And did               an individual                    present            himself to           you

     then we can request anything                                                              else       that        we might need                           25   for    admission                at    approximately                         548         a.m. on            December

                                                                                                                                                   110                                                                                                                                     112

 1   after that               to        go to the hospital you                                              know                for    them         to         1   20th of        2009

 2   pass         drugs        or anything                                 like      that.                                                                     2          A.       Yes         sir.


 3                                      So thats                      why they would go                                     to that          area              3          Q.       Do you see                       that individual                   in    the     courtroom

 4   because             theyre                  not             --    because                       we need               to    make        sure              4   today

 5   theyre             not going                      to        go anywhere                           at    that          point.                              5          A.       Yes         I
                                                                                                                                                                                                       do         sir.


 6           Q.          If    an            individual                    --    well                do you ask everybody                                      6          Q.       Could you please point him out and describe

 7   that     presents themselves                                               to        you the same series of                                               7   what hes wearing                               today

 8   questions                                                                                                                                                 8          A.       Hes         to       my         front right             side and                hes wearing                  a

 9           A.          Not            the        same               series of questions.                                       I   can ask                   9   green outfit               green jumpsuit seems                                         like.


10   them         different                   types               of questions                        to obtain                  the       same               10                              MR.            GILL             Your Honor                   will    the    --    may            the

11   information                    that           I    want.                One               is    to   make             sure that             they         11   record       reflect            hes            identified             the    Defendant

12   are     admissible                       to the                  United              States and                        two        that                   12                              THE            COURT                  The     record           will    so       reflect.




--25
13   theyre             not bringing                             anything                      into       the     United              States                  13           Q.      BY         MR.            GILL             Did    you       notice this individual

14   that     is       illegal            or     is     going to                     cause            harm            to        anybody.                      14   the    Defendant                    over here to                  my        left    when          he was          in        line


15           Q.          Do                                      they                          they                                                                               ready                  approach                          primary booths
                                                 --                             --                         are        --    are trying                        15                                   to                              the
                                    you                     if                            if                                                                       getting

16   to     portray           themselves                              as United                       States          citizens              do you            16          A.       I   noticed                him shortly before                           he was about                to

17   inquire           of     them what their business was                                                                 in   Mexico                        17   approach            me          yes because                       from the view                   we have               before

18           A.          Yes              sir.                                                                                                                18   they approach                       us.


19           Q.          And you                       have            broad authority to do that                                                             19           Q.      And         what did                  you notice about                         him
             A.          Yes              sir.                                                                                                                20          A.       I   noticed                he was               expressionless.

             Q.          Are            you        familiar with the                                      Western Hemisphere                                  21          Q.       And         what does                      that       mean         to    you
22   Travel        Initiative                    Program                                                                                                      22          A.       I   mean                  based            on    my     training               and experience                 of

23           A.          Yes                                                                                                                                  23   working         there
                                          sir.
                                                                                                                                                                                                       dealing           with       so    many         people            is   that    it



24           Q.          Under                 that              program what                               is    considered                                  24   just    told    me         there               was something                   wrong with                   him for

     acceptable                identification                               for a              person            presenting                                   25   for    whatever             reason which                          I    didnt        know          and that              I   was
                                              113                                                                                                                                                                                                                                                                115
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                       make             sure                check            him thoroughly                                    before                       1   everything                 from there                     and which                     is   located                     --    that
 1   going     to                                     to


 2                     --        allowed               him to enter the United States.                                                                      2   office         is   closer to               where              the vehicles                       enter               the           United
     allowing                I




 3           Q.        And did he ultimately approach                                                           the        primary                          3   States.             They             will    see that as well as waiting                                                      for       --      to


     booth where you were working                                                                                                                           4   hear anything                         on the radio as far as you know                                                                   if   we

             A.        Yes         sir.
                                                                                                                                                            5   need           help any more help because                                                    everybody                             that         is    in



             Q.        And would you lead the Judge                                                         through               your                      6   the       pedestrian                   side since                  I    was assigned to a pedestrian
 6

 7                                      him after he approached                                                 the        booth where                      7   side well be aware of that.                                                  And also                  on the                  --       where
     exchange               with


 8           were working                                                                                                                                   8   we        issue the              permits they                           will      know            that              as well
     you

 9           A.        Yes         sir.          As best as                  I     can remember                                 he                          9   because              if    it    was something                              major they can come and

                                                             and                                said        he       didnt appear                          10   assist us              from the old port area.
10   approached                  my booth                               like           I




                                                              on                                                 was wondering                             11                                    So everybodys pretty much aware even                                                                                      the
11   to   have         any expression                               his            face              so     I




12   what could               be                       on with him.                                                                                        12   port       enforcement                       team which                           that       person                   will          eventually
                                        going

13                                And            he presented                          a Texas drivers license                                             13   go to they                      are     aware that thats                                happening                              so       in    case

14   and Texas               drivers                 license        only and at that point                                             I                   14   that       we need                   further            assistance                   and to give                          them               a       heads

15   would        --    I    asked              him you know                                    whats your                     citizenship                 15   up that somebody                               is       going to               be coming into that area

16   which        he                            by saying               U.S.                 citizen.                                                      16   where theyre                          at.
                            replied

17                                And            I   asked         him            if       he had anything                            else                 17                                    So at that                   point           pretty          much everybody

18   besides just a                    Texas           drivers               license                  because                  that        was             18   stops.              Everybody                 stops                and the focus                               is   that            armed and

19   not     enough              for    --       for him to prove to                                   me            that       he     was a               19   dangerous                       you         know          information that                                     we have                   in      our

20   U.S.     citizen.             He said                 no.                                                                                             20   computer                  screens.


21                                So then as                      Im      looking                     at    him            I   start                       21                                    So at that                   point           when           --    when                   that           happened

22   running           his       name on                   the    computer                            and        I    ask him what                         22   that       I   saw         this        armed and dangerous                                             I       told           him to keep

23   were you doing                         in       Mexico         what was the reason for your                                                           23   his       hands on the counter both for                                                   his      safety                     and mine

24   visit   to     Mexico                  and he said                 that                 he went                 to    Mexico           to             24   and        not to          do         anything                  not to            move             not              --     not to                do

-S   clear    his       mind out                     and didnt say much                                         after          that.                       25   anything                  let        us handle                it   from           this       point.


.                                                                                                                                            114                                                                                                                                                                     116

 1                                And            I    asked        him                 so       what are you                      doing out                 1                                    At that                point          he     will      be approached                                     by the

 2   here         What were you                              doing           in        Mexico                   what brings you                             2   officers            surrounding                         me         the       --    in     front of                   me            and

 3   out here.               And        I       asked        him        if       --        if   hes         staying             in                          3   behind me.                       They         will       approach                    and          if       I    --
                                                                                                                                                                                                                                                                                         during               that


 4   California.                 He said              he came                down                    here that he was                            --         4   time Im                   verifying               the      information as                              much                   information

 5   he was staying                         in       San Diego               area and for what reason                                                       5   as    I    can from what he provided                                                 to      me            which happened to

 6   and he said just to have                                      fun.                                                                                     6   be a Texas drivers                                 license                  and      what          it
                                                                                                                                                                                                                                                                               says on the

 7                                And as               Im         getting                  that        information                     out       of         7   screen.              Everything                     I    had           in   front of              me matched                                  so      I



 8   him you know                           I    asked            him            are            you    bringing                 anything                    8   told       the officers                     its    a     match.                So at that point they

 9   back     from Mexico                              No.                                                                                                  9   handcuff                  him and                 --     and           he gets escorted                                  to the port

10                                 So by that time                               --     give          or less              around that                     10   enforcement                          team.

11   time      after          running                 his    name                 the           information                     comes up                   11             Q.         So an armed                          and dangerous                            is          a     --       is    a    very
12   in   front of the                  screen.              At that                   point          he comes up on                             my        12   serious             alert




--25
13   computer               screen               as    armed and dangerous                                                and        when         that     13             A.         Yes.


14   happens the                   --       whats            --   its        a        big            red square red                         box            14             Q.         And             why      is       that

15   that     says          AD.                                                                                                                            15             A.         Because                 we         could           be     dealing                 with              somebody who
16                                THE            REPORTER                             Im             sorry                                                 16   could          potentially                  hurt         us            hurt       others               hurt himself

17                                THE            WITNESS                         AD.                                                                       17   because              obviously                    he     is     wanted for whatever                                                reason

18                                 And when                   that        happens                          the        officer          in   front          18   because              we dont have enough                                           information at that                                           point.

19   of   me       the       officer                 behind        me             whatever                      theyre            doing                    19   All   we have                   is     just       his     information to                          match you know
     thats going                 to take               over their computer                                           screens.              Its             20   whatever                  documents                      he gave               us and we dont know                                                    what

     going        to    show            AD             for        them           to         respond                  to    my group                   as   21   this       person               is   capable              of or             anything              like              that so he
22   well as        soft         secondary                   --    officers                     from soft secondary                                        22   has       his       very high priority                                 and we need                             to     make               sure          to


23   in   their        screens                  that       will    show                --       it   will       show           where                       23   get       --    have            full    control            of that                person at                     all       --       at     all



24   our management                                  is our supervisor which                                              is   an area                     24   times and from that point on                                                  until          we        resolve                     whether

     thats called                 the           fish    bowl which                              they       will       receive                              25   whether               its        an actual a hundred percent                                                        match or not.
2
 1




 3




 6

 7


 8


 9
         at

                 --A.
                Q.




         what happened




         then
                 A.


                 Q.
                       Case 4:16-cv-00133-O Document 22-7
                        So pretty much

         what theyre doing

               your booth where



                 Q.
                        Yes

                        Okay.




                        Yes
                        And

                  handcuffed
                                  sir.




                                   sir.




                                  this
                                         And
                                                      117




                                               particular


                                            by other
                                                          Filed 07/06/17

                                                    and pays

                                                         the




                                                         in this
                                                                   everybody




                                                                    agents
                                                                            attention


                                                                   armed and dangerous is




                                                                         particular




                                                                          man         right


                                                                                         is
                                                                                              in




                                                                                              that
                                                                                                   your area drops

                                                                                                    to




                                                                                                   case
                                                                                                          whats




                                                                                                            is




                                                                                                   over here was

                                                                                                          correct
                                                                                                                     going




                                                                                                                  that
                                                                                                                                  on       2


                                                                                                                                           3


                                                                                                                                           4
                                                                                                                                            1




                                                                                                                                            5


                                                                                                                                            6


                                                                                                                                            7

                                                                                                                                            8


                                                                                                                                            9
                                                                                                                                                    person

                                                                                                                                                    the


                                                                                                                                                    them
                                                                                                                                                          A.

                                                                                                                                                          Q.

                                                                                                                                                          A.


                                                                                                                                                    he was going

                                                                                                                                                    regardless.

                                                                                                                                                          Q.




                                                                                                                                                             to
                                                                                                                                                                  is
                                                                                                                                                                    No
                                                                                                                                                                    Why was that




                                                                                                                                                                       --



                                                                                                                                                          burden on you to keep

                                                                                                                                                                    prove
                                                                                                                                                                                 Page 33 of 64 PageID 3016
                                                                                                                                                                                sir.




                                                                                                                                                                       Because of the lack of documents




                                                                                                                                                                       Now who
                                                                                                                                                                                is
                                                                                                                                                                                     to     be referred to soft secondary




                                                                                                                                                                                      legally




                                                                                                                                                                                      that
                                                                                                                                                                                                 has the burden




                                                                                                                                                                                                  they
                                                                                                                                                                                                      entering




                                                                                                                                                                                                             are        in
                                                                                                                                                                                                                            the United


                                                                                                                                                                                                                  them out or

                                                                                                                                                                                                                              fact
                                                                                                                                                                                                                                       to    show




                                                                                                                                                                                                                                            an
                                                                                                                                                                                                                                                       States

                                                                                                                                                                                                                                                      is




                                                                                                                                                                                                                                                  admissible
                                                                                                                                                                                                                                                            the
                                                                                                                                                                                                                                                                and he was




                                                                                                                                                                                                                                                                that      --




                                                                                                                                                                                                                                                                      burden on
                                                                                                                                                                                                                                                                               that


                                                                                                                                                                                                                                                                               Is
                                                                                                                                                                                                                                                                                      119




                                                                                                                                                                                                                                                                                        a




                                                                                                                                           10                     under the laws of the United                                             States
                                                                                                                                                    person
10               A.     Yes        sir.



                                                                                                                           when you                       A.           The burden                     is   on them            to       prove           to       the    officer
                            Now        was he the only person                                       handcuffed                             11
11               Q.
                                                                                                                                           12       that they are                    admissible              into       the country.
12       received           an   armed and dangerous alert

                                                                                                                                           13             Q.           Now             last      night           did    you       have an occasion                               to
13               A.     Yes        sir.



                                                                                                                                                    watch                        short video                           of the          Defendant                      entering
                                                                        everybody                  that    comes          up as an         14                   a   --      a                                clip
14               Q.         Do you handcuff
                                                                                                                                           15       the   port         area
15       armed and dangerous
                                                                                                                                           16             A.           Yes           sir.
16               A.         Yes    sir.


                                                                                                                                           17              Q.          And           let    me show you whats been marked                                                        as
                                                                your standard protocol                              for
17               Q.         Is   that part                of


                                 business                 at    the      --                                                                18       States          Exhibit                Pretrial        16 which               I    can       represent                  to
18       conducting

                                                                                                                                           19                          copy          of that short video                                    that           you        watched
19               A.         Thats           part         of    our       policies         and procedures                    that                    you    is   a                                                                 clip


                                                                                                                                           20       last night.               Is            an    accurate             depiction             of the              --    of
         we have
                                                                                                                                                                                      it
20                          to   follow.

                                                                                                                                                                                                  went down                  on December                             the 20th         of
                                         armed and dangerous gets handcuffed                                                               21       the   events              as      they
21               Q.         Every

                                                                                                                                           22       2009
22               A.         Yes    sir.



                 Q.         And why                                                                                                        23              A.          Yes
                                                         that                                                                                                                        sir.
23                                                  is



                                                                                         could           be dangerous                      24                                        MR.         GILL        At        this   time          we         offer          States
24               A.         Because             they potentially

                                            make                                                                                           25
         and we need                                                                                      restrained                                Pretrial        16.
                                   to                          sure that they are                                               right


                                                                                                                                  118                                                                                                                                                  120

                                                                                                                                                                                     MR.         CUMMINGS                     Your Honor                         I    was given             the
          away and taken
     1                                       into         a secure                  location.                                                   1




                                                                                                          location                              2   opportunity                  to        view       the contents                    of   Pretrial              16 during
     2            Q.        And are they taken                                 to    a   secure                           for



     3    further
                                                                                                                                                3   the   break.                We          have no objections                         to    the introduction                          of
                       inspection

                                                                                                                                                4    Pretrial          16     for         purposes of              this       hearing.
     4            A.        Yes     sir.



                  Q.        And    --       because you                         dont get             a    whole      lot   of                   5                                    THE         COURT                 16    is   admitted.
     5


                                  on                                       at that            point                                             6                                    States                Pretrial         Exhibit No.                    16        admitted
     6    information                       your screen

                                                                                                                                                7                                    MR.         GILL            May we publish                                 Your Honor
                            No                                                                                                                                                                                                                         it
     7            A.               sir.



     8            Q.        But    if    someone                    --    if    this     --    where are            all    the                  8                                    THE COURT                         You may.

     9    armed and dangerous                                  persons               taken                                                      9                                     States               Pretrial         Exhibit No.                    16        published

10                A.        Into the port                      enforcement team area.                                                       10              Q.           BY          MR.         GILL         Officer         Bernal                  what are we


 11               Q.        Okay.            So          this      is    serious          enough            where         they              11       looking           at   here

                                                         and go straight                             the     port                           12              A.           Youre looking at the vehicle                                            --    Im            sorry the
 12       skip    soft      secondary                                                          to


 13       enforcement              team                                                                                                     13       pedestrian primary lanes.                                        Actually              youre looking                        at


                                                                                                                                            14       the tunnel               way.              The gentleman has just entered the
 14               A.        Yes         sir.




 15               Q.        And back                 at       the       port enforcement                        team do they                15       indoor part of the                          --    part of the                tunnel and hes

 16       have        more resources                          to    research             that individual                                    16       walking north.


 17       situation                                                                                                                         17              Q.           Is     this        the individual                   that      youve                identified



 18               A.        Yes         sir.                                                                                                18       earlier


 19               Q.         And       is   that          what happened                            in this      particular                  19              A.           Yes           sir.




          case                                                                                                                              20              Q.           Okay.

                  A.         Yes        sir.
                                                                                                                                            21              A.           Thats              a    view       of   the        primary              booths              as    were

 22               Q.                                                           of   whether              this    Defendant         had      22       looking           south              towards           Mexico           right          before the travel
                             Okay.             Regardless

 23       come up armed                        --        come up armed and dangerous                                            were you    23       public         makes              or applies             for      entry          into       the United


 24           going    to    allow       him             to    enter           the    United             States    without                  24       States.


 25           further inspection                                                                                                            25               Q.          And your booth                          is    actually             over           to    the      far left
     --there
                                                    121                                                                                                                                                                                                                            123
                    Case 4:16-cv-00133-O Document 22-7  Filed 07/06/17                                                                                                                      Page 34 of 64 PageID 3017
 1   of   --    of     this     view                is       that      correct                                                                           1              Q.        Okay.                And where             is    he headed at this point


 2             A.         Yes        sir.
                                                                                                                                                         2              A.        Hes heading                      to    the port enforcement                            team.

               Q.                             And                                                                                                        3              Q.        Okay.                And Im           --
                                                                                                                                                                                                                             just so
                                                                                                                                                                                                                                               --   to   go over this
 3                        Okay.                              you said the individual                                moving           right


                     is   that       the           individual                    weve            been           watching                                 4       this   view a              little      bit    more          at   the top           of the      --   the


               A.         Yes        sir.                                                                                                                5       view       here thats                   the tunnel               area

 6             Q.         Now             on       this       view              right          here        is   this the       --    is                  6              A.        Yes            sir.


                                                                                                                                                                        Q.        And would the                       soft        secondary              be over              this
               you                                                                                                                                       7                                                                                                               in
 7   this


                                                                                                                                                         8       area here
 8             A.         Yes        it    is.



                                                                                                                                                                        A.        Yes
                                                         youre working
               Q.         The booth                                                                                                                      9                                       sir.
 9

                                                                                                                                                        10              Q.        Off to the                            side
10             A.         Yes        sir.                                                                                                                                                                     right


11             Q.         And    this              is       the       Defendant                  that       you identified                              11              A.        Thats              correct.


12   in   court           earlier                                                                                                                       12              Q.        What            are     these two units right here

                                                                                                                                                        13              A.        Those are x-ray machines.
13             A.         Yes        sir           in       front          --


                                                                                                                                                                        Q.
14             Q.         Standing                  right             in    front of             you                                                    14                        Okay.                 And    here here here here here here

15             A.         Yes        sir.
                                                                                                                                                        15       on    --    on to the right what are                                   all   those        areas

               Q.                             So what are you doing at this point                                                                       16              A.        Those are primary booths and                                            in    between            each
16                        Okay.

17             A.         At   this           point           Im           asking              him questions               like      I                  17       set of          primary booths                      thats where                    the travelers             will



18   mentioned                 before                   about              you           know         because            he just                        18       walk through.

19   presented                 me         a    Texas drivers                                  license       and     asked           him       if        19                  Q.     Okay.                So under the Western                             Hemisphere                Travel


20   he had anything                               else       to       show              to    me     to        prove    that       hes         a       20       Initiative            Program an                    individual               has to have            a    U.S.


                                                                                                                                                                                             be admitted as a U.S.                             citizen
                citizen which                            he did not have.
21   U.S.                                                                                                                                               21       passport              to


22                               So at                  this      point              I    start      running        him on           my                 22              A.        A     U.S.           citizen       has to have                a   U.S.       passport            or a


23   computer and                             Im         also taking                      careof           asking him the                               23       passport              card.


24   questions                as to           what he was doing                                      in    Mexico        and        what           is   24                  Q.     Okay.

     he doing out here                                  in    this         part          of the       country.           At that                        25                  A.    To enter the United States.

                                                                                                                                     122                                                                                                                                           124

 1
     point           you       know Im                         running                   him and            waiting       to get          a                  1              Q.     Or       --    or     an enhanced                drivers              license

 2   response from our systems.                                                                                                                          2                  A.    Thats correct                         from the states                   that      do    provide

 3             Q.         And as youre working                                                 we see other people                                       3       it.




 4   coming through                            the           pedestrian                       lanes       and     going about                            4                  Q.     And           could        they      be admissible                    with   a    drivers

 5   their       business                     is    that          correct                                                                                5       license          which was accompanied                                   by a birth certificate

 6             A.         Yes        sir.                                                                                                                6       showing           that          they were born                    in     the       United      States

 7                               Now                    a    little         before             this        before       the                              7                  A.     That           is    correct.

 8   officers             actually             start           approaching                        me            we have had                              8                  Q.     Okay.                Other      --    other than those scenarios                                  if



 9   already              an answer from our systems                                                       and the officer                that           9       they dont have                         any     of      those      --     those documentation

10   was       directly          in        front of                me           has           come around               his    booth                    10       scenarios they are not admissible into the United

11   and       hes         standing                     behind the                       --    the    gentleman.               And        also          11       States           is    that         correct

12   another              officer             came from                         the       pedestrian              soft    secondary                     12              A.        That            is    correct.

13   area as well as the officer                                                to       my     --    in    front of       me       to                  13                                       MR.     GILL           We        pass the witness.

14   the       left.       So at           this             point          Im            verifying          the                                         14                                    THE COURT                      Cross-examination

15   information that                              is    in    front of                  me     to    make         sure that             we             15                                                    CROSS-EXAMINATION
16   do have              a    match.                                                                                                                   16       BY MR.           CUMMINGS
                          And we saw three                                                                                                                                                                              my name
17             Q.                                                                                    other officers                                                         Q.                                                                             Cummings. We
                                                                                --       three                                                          17                         Officer              Bernal                                is    Fred

18   approach                 from three different directions                                                    at that      point                     18       met        briefly         in    the     back          did       we not
19   is   that         right                                                                                                                            19                  A.     Yes           sir.


               A.         Yes        sir.                                                                                                               20                  Q.     I
                                                                                                                                                                                       just          have      a   few questions                    for you.

               Q.         Is   that           standard                     procedure                                                                    21                                    You prepared                    a   one-page               report after this

22             A.         Yes        sir.           And           at       this          point       I told      them      that                         22       incident.              Do you            --   have          you had the benefit                         of being

23   we do have                  a        match                and he has                       been        handcuffed.                                 23       able to          review your report

24             Q.         Okay.               Is this             the           individual                right   here                                  24                  A.     Yes           sir.



25             A.         Yes                                                                                                                           25                  Q.     Okay.                According            to the                                 Ive
                                     sir.
                                                                                                                                                                                                                                              report that                     --
                                                                                                                                                      125                                                                                                                                           127
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     1       have been given                        a       copy        of   through                discovery                 this                            1   secondary

                                                                   we                                                                                                                   would               have escorted                       him.
     2       particular         incident                    that             just watched                     on        the screen                            2          A.        I




     3       there occurred                    on       the        20th       of       December                   2009             according                  3          Q.        Okay.                    And as          --    as       youve already said

             to    your report                 at       approximately                         548            a.m.        is        that                       4   regardless            of       what happened                              he was going there at the

                                                                                                                                                              5           least
             accurate                                                                                                                                             very


     6              A.         Yes        sir.
                                                                                                                                                              6          A.        Yes            sir.




     7              Q.         The video clock appears                                            to    have       --    be        a     little               7          Q.        But           he would                  not        have necessarily                        been

     8       bit   off    as    far   as the time.                           Which do we go                            by your                                8   handcuffed

     9       report or the
                                          --    the          video                                                                                            9          A.        No            sir.




                                                                                                                   submitted                                 10          Q.        Did           you receive                     any       other       documentation from
   10               A.         As     far      as the              --    the report                    that   I                                   I




                               that time which                               will       --         will      have        obtained                            11   Mr.    Hummel such                             as    a    Social          Security             card
   11        go    off of                                                I                    I




   12        from the           computer screen.
                                                                                                                                                             12          A.        No            sir.




   13               Q.          Okay.            And          I    dont know                       how       far       off    it    is.      It              13          Q.        Would that have been satisfactory

                                                                    but                seems                 us                                              14   documentation
   14        may     just be          a    little            bit              it                        to         in


   15        reviewing           this      there              seems           to       be     a     small discrepancy.                                       15          A.        No            sir.




   16                                     Im         curious.                You deal with thousands of                                                      16          Q.        Im            just curious.                        A    birth      certificate                 in



                                                                                                                             my                              17   addition               a       Texas drivers license                                           that        adequate
   17        people           every       day               yet    youre               able        to   identify                       client.                                     to                                                                   is




   18        How     are       you able                 to    identify             him                                                                       18   anymore

   19               A.          How am                  I    able       to    identify              him            After reviewing                           19          A.        It    is       if    they          happen               not   to    have             their      --   their



   20        the    video        I    recognized                        him.                                                                                 20   passport as                I    view           it    yes and we                     will       put         in   our


   21               Q.          Okay.               So you had                     a   benefit of seeing                            --    when               21   system as being                           non-WHTI                   compliant                 which            is   the    Western

   22        you were authenticating the video                                                     that       we       just         observed                 22   Hemisphere Travel                              Initiative                Complaint sic.

   23        you have compared                                the       gentleman                      here       in    the        courtroom                 23           Q.       ADs                      how often                 --   Im        sorry.         You said you

   24        with that video                    and made your                             identification                     based             upon          24   have done             this for                 how many                   years       now

             that        is   that    accurate                                                                                                               25          A.        Three                years           four          months.

                                                                                                                                                      126                                                                                                                                           128

         1          A.          Yes       sir.                                                                                                                1           Q.       Three                years four months.                               And youre not

     2              Q.          Okay.               Your function                       is    --    has       been very                   well                2   always          necessarily                    in    the       passenger area.                             You       --
                                                                                                                                                                                                                                                                                            you

     3       described           to    us here                   today          so       it   appears              that         based                         3   also    work          vehicles                 and other jobs around                                   the       port

     4       upon        your    testimony even had the armed and dangerous                                                                                   4   correct

     5       not    come up on your screen                                             because of the lack of                                                 5           A.       Yes            sir.




     6       documentation                          that         individual              who went                  through                your                6           Q.       When you                       --    how many                      ADs         have you                  dealt with

     7       checkpoint              was going                     to    be checked                     by    someone                     else                7   over    the      course                   of   those           three       years four months                                 Any

     8       probably           in    soft          secondary                 at       the very              least           is    that                       8   idea

     9       correct                                                                                                                                          9           A.       How many have                                  I    had       in   front        of        me
   10               A.          That       is       correct.                                                                                                 10           Q.       Yes.

   11                                     MR.               CUMMINGS                          One moment please                                       Your   11           A.       Of those                      ADs              I    believe         its       about            eight.


   12        Honor.                                                                                                                                          12           Q.       Okay.

   13               Q.          BY        MR.           CUMMINGS                          The procedure                            that you-all              13           A.       I    have assisted                            to    many many many more                                          but

   14        used     in      order       to        handcuff                 this       individual                 that       would                          14   as the other                   officers             assisted             to    my     AD               person             pop up

   15        not    have taken                  place             had the red box                            AD         not        have come                 15   when        I   run    somebody                          has been about                         it.




   16        up     correct            Thats                      terrible             question.                                                             16           Q.       The                                 that                  have                                             one
                                                             a                                                                                                                                    policies                        you                   in       place            every

   17                                     You had                  --    the procedures                           that took                place             17         those      three                                   that                                              armed
                                                                                                                                                                  of                                   officers                        responded                 are

   18        that    we        observed                 on        the video              were because the                                 policy             18   officers


    19       that    you        have           in   dealing              with          somebody                   that       alerts            AD            19           A.       That                is   correct.

             armed and dangerous                                    correct                                                                                  20           Q.           Everybody                      that       works          --    strike            that.


ý.._..               A.         Yes        sir.                                                                                                              21                                   Does everyone                            who works                    in   the       port   for


   22                Q.         Had John Hummel come                                               to   you        and merely had that                       22   Customs and Border Protection                                                  wear        a    sidearm

   23        Texas        drivers              license             and nothing more he wouldnt                                                               23           A.       Yes             sir.




   24        have necessarily                        been handcuffed                               and taken                 into         custody.           24                                   MR.            CUMMINGS                        Thank           you very               much
   25        How     would           he        had gotten                    from your work                            station            to      soft       25   Officer.
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 1                               Pass the                 witness.                                                                            1                              And            you         know              the      --    because         a    vehicle


 2                               THE               COURT                Redirect                                                              2   is   --   is   a deadly             weapon                  it     could         be used            as a    --   as a


 3                               MR.           GILL            Thank              you Your                Honor.                              3   deadly          weapon           at that               point          if   theyre trying               to       make

                                               REDIRECT EXAMINATION                                                                           4   their      way       out of the                 port        by        ramming                other vehicles


     BY MR.          GILL                                                                                                                     5   or   --    or trying           to run             over people or                       officers.



 6             Q.        This                      enforcement                     business           is   serious                            6             Q.        Security
                                                                                                                                                                                           --     the     port          area        is   a     very
                                    port

 7   business              isnt it                                                                                                            7   security-conscious                            area especially                         after    911         is    that


 8             A.        Yes        sir.                                                                                                      8   fair      to   say

 9             Q.        You said youve                            had at least eight                      ADs            present             9             A.        Yes     sir.




10   themselves                to    you                                                                                                     10             Q.        In the vehicle                     we saw and                      also    in    the


11             A.        Yes        sir.
                                                                                                                                             11   photographs                    in     the       primary booth area theres some

12             Q.        Youve             assisted                many           other        officers         in                           12   glass

13   detaining             subjects that                       have          been flagged                  as    AD            also          13             A.        Yes     sir.




14   is   that      correct                                                                                                                  14             Q.        And     is      that        bulletproof                  glass

15             A.        Yes        sir.
                                                                                                                                             15             A.        Yes     it      is     sir.




16             Q.        Have any                   of those incidents                             resulted         in                       16             Q.        And whats the purpose of that bulletproof

17   violence                                                                                                                                17   glass

                                                                                                                                             18             A.        To help                                                            shot    at which
18             A.        Yes        sir.                                                                                                                                                us survive                   getting                                            it




19             Q.        Can you                   describe             some           of those incidents                         to   the   19   does happen                    and        it     has        happened.                   If    somebodys                    trying


20                                                                                                                                           20   to get         away        from either                  of us or the                    officer       behind us
     Judge           please

21             A.        Sure.            The           latest          one we had was where my                                              21   or vice-versa                  so that             not           more        people           get hurt           or


22   immediate              supervisor                    was directly                      involved           with       that               22   killed         in   the    process               of    --     if   we have somebody whos

23   Your Honor.                 And the gentleman did come                                                up       as    an        AD       23   dangerous.

24   which          happened                   to    be       in    the      vehicle           primary lanes.                       And      24             Q.        So would               it    be a         fair         statement           that the


     of                    hes driving a vehicle.                                       He         decided       he       was                25                       and directives you operate                                         under are written                     so
           course                                                                                                                                 policies


                                                                                                                                       130                                                                                                                                    132

 1   going          to    take      off        on the          officer.                And by doing so when                                   1   that       you      and the general public can                                          be secure

 2   he-started             taking off                    in   our booths we have                               a       port                  2             A.        Yes     sir.




 3   runner          button and that would be considered                                                            a    port                 3             Q.        When         an individual                        presents               himself       for



 4   runner when                    somebody                       is   trying         to    run the           port.                          4   admission such                        as        this    Defendant                     over here did and

 5                                  So the              officer          pressed             it.     The arms                --     the       5   present to               you     a       for      example                  in    this      case Texas

 6   wooden              arms would                     come down                       spikes        strip         come up from              6   drivers             license           while        youre interviewing                               that    person

 7   the       ground          to    --        and pop the tires                            and that individual                               7   at the         primary booth do you compare that individual                                                                  to

 8   happened              to    do that at that point and when                                                 --       while                8   the       photograph                  on the picture identification                                    theyve

 9   doing          that       he        --    the       --    any         vehicles that                  have crossed                        9   provided to               you
10   the       border through                        any of the                   --   either        that lane            or        any      10             A.        Yes     sir.




11   of the         other        lanes             would            have          been       already traveling                               11             Q.        Is    that        part        of   --        of   your security procedure

12   and when that happens                                          like      I   said the arms come                                down     12             A.        Yes     sir.



13   the       spikes       go up so those vehicles                                          will    stop.          And they                 13             Q.        And     is      that         part of              your citizenship

14   will      be    in   the       way            of that vehicle                     trying        to    get       away                    14   verification              procedure

15   from       us.                                                                                                                          15             A.        Yes     sir.



16                                  So what happened                                   at that        point          the       --      the   16             Q.        And do you do that on                                    a    normal            basis

17   individual            used            his      vehicle             to    try      to force           his   way          out             17             A.        Yes     sir.



18   of    there          out of our                    port and by doing so he                                     rammed                   18             Q.        Did    you         do that on                     this      occasion

19   his    vehicle         on the other persons vehicle                                                  as    well      as                 19             A.        Yes        sir.




     trying         to    run       --     run       over other                   officers.                                                  20                               MR.          GILL               Well           pass        the witness.

                                    And at that point whether                                         me        as      an     officer       21                               THE COURT                              Any further questions
22   is   in   danger or another                               officer            is   in   danger         or the                            22                               MR.          CUMMINGS                            Yes Your               Honor.

23   traveling            public              is   in    danger               we       are    allowed           to       use        our      23                                             RECROSS-EXAMINATION

24   firearm and thats what happened                                                        just recently                 and                24   BY MR.              CUMMINGS
25   there       was       a    shooting at the                                                                                              25             Q.        Officer           Bernal the individual                                  that
                                                                             port.                                                                                                                                                                     presented
                                             133                                                                                                                                                                                                            135
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 1   himself      to    you     on the video               there             he didnt        give          you         1          A.     Yes           sir.




 2   any problem           whatsoever                  did       he                                                    2          Q.     Before                  your employment as a border protection

 3         A.      No     sir.
                                                                                                                       3   officer      how were you employed

            Q.     When          you        told    him to leave                his    hands on the                    4          A.     I    was            --    I     did       20 years                in   the United                 --    United


-    counter        he did so correct                                                                                  5   States       Navy.

 6         A.      Yes         he did comply.                                                                          6          Q.     And what assignment                                              in    the    Navy
                                                                                                                                              was                  mechanic                   and manager.
                                                    your assisting officers one
                   He didnt                                                                                            7          A.                         a
            Q.                                                                                                                           I
 7                                         resist



 8   bit   did    he                                                                                                   8          Q.     Were you                        at        work at your job as                           a    border

                                                                                                                                                                       on January the 20                              --       Im
                   No                                                                                                  9                                                                                                             sorry
                                                                                                                                               officer
 9          A.             sir.                                                                                            protection


10                         MR.         CUMMINGS                       Thank you             sir.                      10   December            the           20th of                2009

11                         THE          COURT              May the witness be excused                                 11          A.     Yes            sir.



                           MR.         GILL                                            from the State.                12          Q.     And where                        were you assigned on that particular
12                                                  Nothing            further


13                         MR.         CUMMINGS                       Yes Your Honor.                                 13   day
14                         THE          COURT              Officer Bernal youre excused.                              14          A.     I    was assigned as a secondary                                                      inspector              or


15   You may step down.                          Thank                                                                15   secondary           officer                 at the            port       enforcement                      unit       at the
                                                             you.

16                         THE          WITNESS                  Thank        you Your Honor.                         16   San Ysidro Port of Entry.


17                         Witness retires                                                                            17          Q.     Is       --     is       that        a     --
                                                                                                                                                                                          pretty           much            a   permanent

18                         THE          COURT              Call       your next witness.                              18   assignment              for           you
19                         MR.         GILL          Ernesto Enriquez.                                                19          A.     Yes            sir.




20                                                enters         courtroom                                            20          Q.     And what are                               --    what are your job duties there
                           Witness

                           THE COURT                                                                                                                                                          my                               take




                                                                                                                  --134
21                                                         Mr.        Enriquez                                        21          A.     My        job            --     one of                     jobs        is    to


22                         THE             WITNESS               Yes     sir.                                         22   fingerprints of the                           travelers that are referred                                        to   from

                                                                                                                      23
                              Witness sworn                                                                                primary inspect                        --
23                                                                                                                                                                       inspection                  area.


24                         THE             COURT           Please        be seated                 sir.     You may   24          Q.     Lets look                       at that              diagram               over to your                 left



     proceed       when youre                    ready.                                                               25   for just a        second.                     Do you                recognize that                    as being               a


                                                                                                                                                                                                                                                            136

 1                                          ERNESTO ENRIQUEZ                                                           1   a    rough diagram                       of the               --   the     port          area where you

 2   having       been     first        duly      sworn          testified        as follows                           2   worked




--14
 3                                         DIRECT      EXAMINATION                                                     3          A.     Yes            sir.



 4   BY MR.        GILL                                                                                                4          Q.     And            if    we heard testimony                                     earlier that                an

 5          Q.     Tell    us        all
                                           your     name              please         sir.                              5   individual         applying                    for       admission                   comes           in   through               this


 6          A.      My name                is    Ernesto         P.   Enriquez.                                        6   way and           presents                    themselves                    down here                 to       an officer          at


 7          Q.     And         how         are   you   employed                 or    occupied                         7   the    --   at the          primary booths                                if    an individual                   does not

 8          A.      Im     an     officer          of the        Homeland              Security                        8   satisfy      the       officer              working                the      primary booth                        is   that


 9   Department            under United                States Custom and Border                                        9   one    of the       --       one            of the            individuals                 that       might be

10   Protection.                                                                                                      10   escorted          to    you for further processing

11          Q.      How        long        have     you      been        employed              with         Customs   11          A.     Yes            sir.


12   and Border Protection                                                                                            12          Q.     And            we have                    a     green arrow                   down           --    or   they

13          A.      Ive been               employed          for       eight     years.            This      will     13   brought       over           this           direction               to    you            to the       left      of


     be    my     ninth    year.                                                                                      14          A.     To the                   left    of the              red     arrow            sir.


15          Q.      Did                undergo         a    --    a    period of training                    to       15          Q.     Yeah                                      Right over here.                            So your
                           you                                                                                                                               okay.                                                                               office


16   qualify      you     to    hold        that    job                                                               16   area    is   over           --     over            in this          area            is   that       correct

17          A.     Yes         sir.                                                                                   17          A.     Thats                   correct               sir.


18          Q.      Would                       describe to the               Judge         what training             18          Q.     And            what             --        what do you have there                                   that
                                  you                                                                                                                                                                                                                   allows

19   youve        undergone                                                                                           19   you to do your                        job
            A.      I   went to immigration                           officer    training                 basic       20          A.     Can you repeat the question sir

     training      at   Glynco              Georgia          for      six    weeks          and Ive                   21          Q.     What do you have                                      --    what do you have                             in    front

22   been     trained          for    firearm training                  --    firearms training                       22   of   you     that      allows                 you to do your job that assists you

23   law    enforcement                training        and immigration training.                                      23   in   doing    your            job
24          Q.      And do you                   undergo periodic                retraining                from       24          A.     The           system                  I    have        in     front of            me        is    what they

25   time    to    time                                                                                               25   call   the    integrated                      automatic                   --    automated                    fingerprint
 --6
                                                  137                                                                                                                                                                                                                   139
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 1   system which                      is   a    computer-based                             taking             the    images of             1   well as their            protection

 2   the   prints of the                    individual                   thats from the primary                                             2              A.     Yes         sir.



 3   area.                                                                                                                                  3              Q.     Okay.              Now        on December the 20th of 2009 did

             Q.        So at the point an individual                                            is   in    front of                         4   you        have    an individual                      by the name of John                                William


                                                                         --    a further                                 to                 5   Hummel
     you theyre undergoing                                          a                             inspection


     determine              their admissibility                                                                                             6              A.     Yes         sir.



 7           A.        Yes        sir.
                                                                                                                                            7              Q.     --   that          was brought                        to     you after having been

 8           Q.        Or determine whether                                         or not       theyre              wanted by              8   flagged          on    the         primary booth as armed                                         and dangerous


 9   another           agency             --                                                                                                9              A.     Yes         sir.




10           A.        Yes        sir.
                                                                                                                                           10              Q.     Do you see                 that          individual                    in     the    courtroom


11           Q.        --   for        some           reason.                                                                              11   today

12                                Do        you        have              individuals            that           are    brought    to        12              A.     Yes         sir.



13                                     that           are       wanted               by    --   on warrants               by               13              Q.     Okay.              Would           you please                     describe            what hes
     you that are                 --


                                                                                                                                           14   wearing           --    where he                      in       the        courtroom                and      what hes
14   other        agencies                                                                                                                                                                      is




15           A.        Yes        sir.
                                                                                                                                           15   wearing           today

             Q.                                                          as well          as state                                         16              A.     He              wearing            a     dark           --    semi-dark green                   shirt.
                                                                                                           agencies                                                      is
16                     Federal              agencies

17           A.        Thats            correct                 sir.                                                                       17              Q.     Is    he the         --    the third                     person over here to                       my
18           Q.        Do        people           come                  in    front of      you       for       further                    18   left


19                          that        are       --    have                 been     flagged             as missing                       19              A.     Thats correct                          sir.
     inspection

20   persons                                                                                                                               20                                 MR.      GILL               Can the record                          reflect      hes

21           A.        Yes         sir.                                                                                                    21   identified             the     Defendant

22           Q.        Do        you get persons that have                                           been         flagged      as    --    22                                THE COURT                             The         record           will   so    reflect.



23   as    armed and dangerous                                                                                                             23              Q.     BY         MR.      GILL               And for what reason was

24           A.        Yes         sir.                                                                                                    24   Mr.        Hummel presented                              to        you on December                          20th of     2009

             Q.        So you               see       pretty                 much everybody every                             type    of   25              A.     He was presented                                 as a         missing            person lookout

                                                                                                                               138                                                                                                                                      140

 1   individual             that       has a           difficulty               entering             the United                             1   possibly          armed              and dangerous.

 2   States                                                                                                                                 2              Q.     What            does      a    missing                     person lookout                   mean
 3           A.        Yes         sir.                                                                                                     3              A.     A     missing             person                 is
                                                                                                                                                                                                                        --     is   a    lookout         from

 4           Q.        And do you                      see quite                 a    large       number              of people             4   National          Crime Information Center from a different

 5   during        a    given          day                                                                                                  5   agency           or different               country                 --
                                                                                                                                                                                                                             county             or state      thats

 6           A.        Yes         sir.                                                                                                     6   indicating             that        such      person                 is
                                                                                                                                                                                                                             reported            as missing.

 7           Q.        What happens                             when            a    --    when       a        person that has              7              Q.     And         is     some        --       is       that        something               that    you

 8   been         flagged          as       armed and dangerous                                      is    brought        to   your         8   investigate

 9   area                                                                                                                                   9              A.     Yes thats                 correct                     sir.




10           A.        When            they are                     brought to the area they are                                           10              Q.     And you              --    you make attempts                                     -do        you make

11   only     brought              down               with a handcuff on for                                   officer   safety            11   attempts           to verify that                        information                     through         the

12   and     if   it   --   if    its       --    once theyre                        brought              in    the                        12   originating             agency

13   secondary                which              is
                                                      my            area they take the cuffs off                                           13              A.     Yes         sir.




14   and     --    and thats when                               I       do the        --   take      their                                 14              Q.     Now             you said               one of the                     first    things       you do

15   fingerprints                and verify the identity                                   of the          person                          15   is    --    is
                                                                                                                                                                 fingerprint            the individual


16   thats        being          brought               from the primary.                                                                   16              A.     Thats              correct             sir.


17           Q.        Between                   the        time             theyre        --   theyre               brought               17              Q.     Did        you fingerprint Mr.                                Hummel
18   from primary and                            --    and unhandcuffed                              and turned               over to      18              A.     Yes         I    did.


19   you do they undergo                                    a       --   a search           to    make            sure   theyre            19              Q.     And what system                                  did       you query                 when you       first


     not     armed           in    any           way                                                                                       20   ran Mr.           Hummels                 fingerprints

             A.        Thats             correct                sir.                                                                       21              A.     The         first    system                  I   queried               is     the    National

22           Q.        And thats part of your procedures and                                                                               22   Crime Information Center which                                                      is    the     --   and    also the

23   directives                                                                                                                            23   Treasury           Enforcement                        Communication                              System.

24           A.        Yes         sir.                                                                                                    24              Q.     Did        that      reveal             any           information to                   you
25           Q.        Okay.                And        --       and thats for your protection                                   as         25              A.     Yes         sir.
         --9
                                                                                                                                                          141                                                                                                                                                 143
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                                                                                                                                                                            A.            Yes
                                 What was that                                                                                                                                                          sir.
         1                 Q.                                                                                                                                    1




                           A.    That the person                                             reported as missing.                                                2          Q.            And what                     did       you        inform the                   officer at           the
         2                                                                          is



                           Q.                         And do you                                           what      time of the                                 3   Kennedale                     Police         Department
         3                       Okay.                                                        recall


                                                                                                                                                                                                  informed              --           informed her                                            that the
                 morning you ran                         his         prints              through            that     system                                      4          A.            I                                      I                                       to   verify



                           A.    I        believe           three                 after        600          --     600        in   the                           5   person          is       --    have          a    lookout              as       a   missing              individual            or    a



                                                                                                                                                                 6   missing person                              from    --          from that Kennedale                              county         police
         6       morning.




        --16
         7                 Q.    Okay.                603 a.m.                                                                                                   7   department.


                                  603 a.m.                           thats               correct                                                                 8          Q.            And           did       you
         8                 A.                                                                               sir.




                           Q.     Did          that         --   did              that query confirm that he                                    was              9                                      THE COURT                           Let          me      interrupt               you      for a



        10            United     States               citizen
                                                                                                                                                                10   moment.                      650            a.m. what                  time What                         time       zone
                 a

                                                                                                                                                                11                                      THE WITNESS                                  Its      Pacific          Time.
        11                 A.     No           sir.




        12                 Q.     So that was                             still        under             investigation                                          12                                      THE            COURT                That           is   Pacific


        13                 A.     Thats correct                                   sir.                                                                          13                                      THE WITNESS                                  Pacific.



        14                 Q.     Did          you then                     do         an     additional            query                                       14          Q.            BY            MR.        GILL               So     all      the times                Ive discussed


        15                 A.     Yes           I    did.                                                                                                       15   with       you has been                           Pacific         Time

                           Q.     On which system                                                                                                               16          A.            Yes            sir.




                           A.             reaffirm on                       National              Crime Information                            Center           17          Q.            --       is    that          correct
        17                        I




        18       and the Treasury                           Communications System.                                                                              18                                      THE COURT                           Thank               you.


        19                 Q.     Is       that       known                       as     TECS                                                                   19          Q.            BY            MR. GILL                      Did        you         inform the              officer         at



        20                 A.     Yes           sir.                                                                                                            20   Kennedale                     the       name and                  date           of     birth        of the         individual


        21                 Q.     The Treasury                                 Enforcement                       Communications System                          21   that   you had                     in       front of            you

        22                 A.                                                                                                                                   22          A.            Yes
                                  Yes           sir.                                                                                                                                                     sir.




        23                 Q.     And what                       did           that query reveal                         to   you                               23          Q.            Okay.                   Did    you          have           a   conversation                    with


        24                 A.     The query revealed                                           that Mr.            Hummel            is    --   is   --         24   Mr.    Hummel                      while          you           were conducting                          your       conversation

                 is   on    the lookout                   for a                missing person.                                                                  25          A.            A        brief         conversation                         sir.




                                                                                                                                                          142                                                                                                                                                 144

                                                                                                                                                                                          And what                                                           you ask him something
                                     Now            do                                            and directives                                                                Q.                                      did          you    --     did
         1                 Q.                               your               policies                                             require                      1




         2                                                                                                point                                                  2          A.            Yes.                   asked               him    a    question.
                 you       to                        supervisor                          at    this                                                                                                          I
                                notify         a


         3                 A.        No        sir.
                                                                                                                                                                 3              Q.            What did you                           ask    him
         4                 Q.        Okay.             What                 --     what          do       your      policies        and                          4          A.                I    asked him the                       --       what          was        his       purpose          of


         5       directives               require           you             to      do                                                                           5   going       to       Mexico                  or   purpose               of       his visit           to       Mexico.


         6                 A.        The policy                      if        the person                  is    confirmed           --                          6              Q.            And        is      that part of your                           normal investigation

         7       confirmed                as    a     wanted                   person                I    have      to   refer       them        to              7   of    an    individual                      applying              for       admission

         8       our prosecution                      unit.                                                                                                      8          A.                Yes        sir.




         9                 Q.                                   theyre                        missing            person            you confirm                   9              Q.            You want                  to       know        their           purpose               for   being       out of
                                     Okay.             If                                a


        10       that through the                         originating                         agency                                                            10   the    country

        11                 A.        Thats correct                                sir.                                                                          11              A.            Yes        sir.




        12                 Q.         So       in this           instance                      did       you       make any           telephone                 12              Q.            What               was    his          reply

        13       calls                                                                                                                                          13              A.            His       replied              I       went       to    Tijuana             to       get       some

        14                 A.        Yes        sir         I    did.                                                                                           14   weeds sic.

        15                 Q.         Who           did      you call                                                                                           15              Q.            Now            while           you were working                                 on    verifying        this


        16                 A.         I   called          the Kennedale                                  Police     Department.                  I              16   information                    with          the        Defendant                     did      you get              a   call   back

        17       had contact                with          an         officer                 named          Renee.                                              17   from the                 officer             at   the           Kennedale                  Police         Department

        18                                      THE             REPORTER                          Im            sorry                                           18              A.            Thats correct                           sir       yes          sir.




        19                                      THE             WITNESS                          Renee.                                                         19              Q.            And what                  did          the    officer           inform           you       at       that


    I
                           Q.         BY        MR. GILL                           Do you                recall     what       time        you made             20   time
r            1



                 the telephone                      call        to        --
                                                                                  your         first      telephone            call       to                    21              A.            The        officer told                  me        to      hold       the person                    because

        22       Kennedale                 Police           Department                                                                                          22   he    has       a        warrant              --    a       warrant over                       at   the        Kennedale

        23                 A.         I   believe               50         minutes               after          600      oclock           in    the             23   Police          Department.

        24       morning.                                                                                                                                       24              Q.            Okay.               Had        you been able                          to    confirm             a   warrant

        25                 Q.         So 650 a.m.                                                                                                               25   through              any           of       the    systems that you queried
                                                                                                                                                      145                                                                                                                                                 147
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                                                                                                                                                                          A.      Supposed                               to        be the FBI Federal Bureau of
                                No                                                                                                                             1
 1                  A.                   sir.



 2                  Q.          And what did you                                      do with regard                         to         that                  2    Investigation                      database.

                                                                                                                                                               3          Q.      The               FBI            database                     and      it     also        --    does        it   also
 3       information

                                                                                                                             from Officer                                                                          you said there was something
                                                                                                                                                                                 --            think
                    A.          After       I    received                        that information                                                             4    include                I                                                                                                        having


         Renee of the Kennedale                                                  Police           Department                        I    turned       over     5   to    do with the Treasury                                            Department

                                                                                                             Officer           Kandal.                         6          A.      Treasury                          Information                       Communication                            System.
 6       the case               to       our prosecution                               unit           to



                                          MR.           GILL                     Well                                                                          7           Q.     Okay.                       When you                          got the          call       --    when you               got
 7                                                                                            pass the witness.

 8                                        THE COURT                                    Cross-examination                                                       8   the information                            back                 from the             initial        inquiry            I   believe


 9                                        MR.             MOORE                        Thank               you Your                 Honor.                     9   you     indicated                  that               the        missing             persons report                        popped           up

10                                                           CROSS-EXAMINATION                                                                                10   that    --   that            weve                    been         talking             about that he was


11       BY MR.            MOORE                                                                                                                              11   possibly       armed and                                       dangerous              and that he was missing

                                                                                                                                                                          Kennedale report
12                  Q.          Let      me          --      Officer              Enriquez                        my name                is    Larry          12   the


13       Moore.              Im          one of the lawyers representing                                                                Mr.    Hummel.        13           A.     Yes.


                                                                                                              about                                           14           Q.                                 And did                          also                     that          he had a
14       Let        me     visit         with          you             a   minute                 first                      this         diagram.                                    Okay.                                              it             verify


15                                        Okay.                   You said that the                                --   the             area    where         15   military       background                                       or did        you      get          any        other


                    work                        the                                     here to the                               of             red          16   identifying                information
16       you                        is   off                     diagram                                                left              this



17       arrow                                                                                                                                                17           A.         No            sir.



18                  A.          Yes        sir.
                                                                                                                                                              18           Q.         Do you normally                                         get     that kind               of information


19                  Q.          What            is     it    called                    What             is   it    actually              called               19   when         you make those kind                                              of inquiries                for       somebody

20                  A.          Port       enforcement                                 secured               area.                                            20   thats        been             in   the               service                  Will      it    usually              pop up on




--6
21                  Q.          Okay.             So             its       a     --    its        a    secured            area.                               21   your system

22       Its        --    people           coming and going through                                                      these gates                          22           A.         I       havent                    come             across          to      that         sir.



                                                                                                                                                              23           Q.                                  So                  doesnt access
                                                        go back
23       arent allowed                          to                                there                is    that       right                                                         Okay.                                  it                                        --    if   its




0Q.
24                  A.          Theyre                 not allowed                           to       go back           there.                                24   accessing                  FBI     records its                               not accessing                     military


                                He was               --          he        would             have            been       brought
                                                                                                                                                      --146
                                                                                                                                               back there     25   peoples

                                                                                                                                                                                                                                                                                                          148

     1   by    some             of the           port              enforcement                           officers              is       that                   1           A.         I       dont             --        I        dont know                sir.




 2       correct                                                                                                                                               2           Q.         You dont                               ever remember                        seeing              that

 3                  A.          Yes        sir.                                                                                                                3           A.         I       dont              remember                        seeing           that.



 4                   Q.         Okay.                How many                          people                work       in     the        area    where        4           Q.         All        you remember with regard to                                                          this    guy was

     5   you        work                                                                                                                                       5   the     missing                  persons

                    A.          I   dont             recall            the            day that we worked how                                      many         6           A.         Thats correct.

 7       people            work           in     that area.                           Its         for      security            purposes.                       7           Q.         --       missing                        person information




--19
 8       Its        supposed                --       its          supposed                    to        be more than three                                     8                                     What                    is    your protocol or procedure                                       --
                                                                                                                                                                                                                                                                                                         well

 9       officers.                                                                                                                                             9   let    me back up because                                             I     think     you           told       us    your       --
                                                                                                                                                                                                                                                                                                         your

10                   Q.         More than three officers                                                                                                      10   protocol               when                its            a     missing           persons inquiry                          or

11                  A.          Yes        sir.                                                                                                               11   information                       is       to contact                       the    initiating             agency

12                   Q.         Okay.                And so                 if    --    if    --      the         way    I     understand                     12           A.         Thats correct                                      sir.


13       it    if    --    if   somebody                          is       sent        back            here        to    yall            its                  13           Q.         All           right.


14       because                something                         has been                    flagged              through                as they       may   14           A.         Its           called                   the ORI.


15       try     to       make           entry               through                   the        primary area                          for    yall    to     15           Q.         If       it    --       if    it        comes up                that       theres               an actual

16       make             further verification                                    of    what the situation                                is   with           16   warrant        or a               want for a                          --     a hold          for    the        legal       system
17       this        person               is    that              right                                                                                       17   is    there    a           different                      process that you follow

18                   A.         Yes        sir.                                                                                                               18           A.         Well                I    --        when theres                       --     if   its        a   warrant

                     Q.         And you                     try       to       do that by                     I   think        you said                       19   a     warrant              confirmation                           on         it    we        refer       them to our

         taking           his        fingerprints                          and comparing                            them or running                           20   prosecution                      units.


         them through the database                                                                                                                            21           Q.         Okay.

22                   A.         Yes                                                                                                                           22           A.         With            warrant                       --        wanted and warrant                                         they
                                           sir.
                                                                                                                                                                                                                                                                                              unit

23                   Q.         Okay.                The database that you                                              compare the                           23   process        it.




24       fingerprints                    to       it        is    the          NCIC database                            is     that                           24           Q.         So had                       --        had the information                              come up and                  said

25       correct                                                                                                                                              25   theres        a        warrant                       out of            --    of    Texas            for       Mr.    Hummel            at
     1



     2


     3




     6
         that point




         warrant
                   --A.
         prosecution




                   Q.

         missing persons
                                 Yes

                                 But
                                       you would

                                          unit




                                              sir.




                                            because
                                                    149
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                                                         to




                                                         entry
                                                               make
                                                                     have sent him




                                                                     it
                                                                                further




                                                                           came up

                                                                          it    kind           of
                                                                                                     inquiry
                                                                                                             right




                                                                                                     as a missing person


                                                                                                    falls         to
                                                                                                                         on

                                                                                                                       about the




                                                                                                                       you         to
                                                                                                                                       to    the




                                                                                                                                                            --   a
                                                                                                                                                                      1




                                                                                                                                                                      2

                                                                                                                                                                      3


                                                                                                                                                                      4

                                                                                                                                                                      5


                                                                                                                                                                      6
                                                                                                                                                                          oclock

                                                                                                                                                                                 Q.

                                                                                                                                                                          Department

                                                                                                                                                                                 A.


                                                                                                                                                                                 Q.
                                                                                                                                                                                          in


                                                                                                                                                                                           So



                                                                                                                                                                                           Yes
                                                                                                                                                                                               --
                                                                                                                                                                                                   the
                                                                                                                                                                                                        Page 41 of 64 PageID 3024




                                                                                                                                                                                                        right
                                                                                                                                                                                                                 morning

                                                                                                                                                                                                            Pacific


                                                                                                                                                                                                             and they

                                                                                                                                                                                                                 sir.
                                                                                                                                                                                                                             Time




                                                                                                                                                                                                             So she acknowledged
                                                                                                                                                                                                                                    Pacific




                                                                                                                                                                                                                                    tell
                                                                                                                                                                                                                                           603
                                                                                                                                                                                                                                                   Time.


                                                                                                                                                                                                                                                        you      call



                                                                                                                                                                                                                                            you well get back with you




                                                                                                                                                                                                                                                                      didnt
                                                                                                                                                                                                                                                                            Kennedale




                                                                                                                                                                                                                                                                                   she that yes
                                                                                                                                                                                                                                                                                                      Police
                                                                                                                                                                                                                                                                                                                151




    --14
     7                      of       --     of      the originating                            agency             itself           is       that                      7   we generated                           that        missing            persons report regarding
         inquire

     8   right                                                                                                                                                        8   Mr.    Hummel

                   A.                                                                                                                                                 9          A.                    --         dont remember                          that.
                                 Yes                                                                                                                                                           I             I
     9                                            sir.



                                                                                                                                                                                 Q.            You dont remember                                        that
    10             Q.            Now               the        --    the         missing persons information                                                          10

                                                                                                                                                                                 A.            No.
    11   that      you received                               indicated                   in it      did     it    not that you                                      11



                                                          him or arrest him that they were just                                                                      12          Q.            Okay.                    She said           shell get             back         to    you
    12   werent              to       detain

    13   interested                   in --          in       knowing                    --    be   notified            about where                                  13   whatever

         he was               is       that          correct                                                                                                         14          A.            Shes                 going       to     get       back       with           me.

    15             A.            Yes              sir.
                                                                                                                                                                     15                                      THE          REPORTER                       Im      sorry           sir.        I    didnt

    16             Q.            All
                                          right.              When you                         contacted               Investigator                                  16   hear your answer.

                                                                                                                                       that                          17                                      THE          WITNESS                       Shes                       to                 back with
    17   Renee              you           did        --       you      did          it    by      telephone                  is                                                                                                                                   going                 get


    18                                                                                                                                                               18   me.        Thats                  what she               said.
         right

    19             A.            Yes              sir.
                                                                                                                                                                     19          Q.            BY            MR.         MOORE                  Okay.            And then               about how                 long

    20             Q.            And          I
                                                    say Investigator                                Renee.              Somebody named                               20   40    to    45 minutes later that she called                                                      you back

    21   Renee              at       the      police               department                       there         in    Kennedale                      okay          21          A.            Yes               sir.




    22             A.            Yes              sir.                                                                                                               22          Q.            And               its     the    same person                       Ms.        Renee

    23             Q.            Is       that           correct                                                                                                     23          A.            Ms.           Renee called                       me      back.


                   A.                                                                                                                                                24          Q.            And thats when she                                                you okay                    hold          him
    24                           Yes              thats correct.                                                                                                                                                                                        tells


                   Q.                                          And                              you said that when                                                   25         the       warrant
6ýF                              All        right.                         I    think                                                              you                    for



                                                                                                                                                             150                                                                                                                                                 152

                                                                                                                                                                                 A.            Thats                    what she                        me.
     1   talked             to       Ms.          Renee             was             it    in   that     first          conversation                                   1                                                                     told


     2   that      she                                        that they                   had a warrant and they                                                      2              Q.        And               its     an arson warrant                                   that    right              Do
                                 told         you                                                                                                                                                                                                                     is




     3   wanted              to        hold          him           for     the           warrant or was                           it    --     did     she            3   you    recall                what she                told        you     it    was a warrant for

     4   have       to        get back                    to       you               How          did   that           work                                           4          A.                Its       an arson warrant yes.                                     Thats            what she

     5             A.            I     --    she said                 on        --        from the            first      telephone                                    5   told       me.

     6   conversation                              she        told        me             that     she going              to        get         back         --        6              Q.            All      right.           So at that time do you then make

     7   shes going                       to       call       me          back.                                                                                       7   an    effort             to       verify           the    warrant              on NCIC since                     it     hadnt

     8             Q.            Okay.                   So what do you                             do            In    that situation                                8   been there before                                   or    do you           just        send him on                     to    the

     9   you       got Mr.                  Hummel                  sitting               there         in   your office                          or   some           9   next       guy




    --17
    10                      take                              --    where                 would he be sitting                                                        10              A.                just sent               him              the      next guy.
         area                                            Is                                                                                       Is
                        I                   it.                                                                                                                                                    I                                       to


              --                                                                                                                                                     11              Q.            So you               --            --                made                                     --        NCIC
    11   it
                                                                                                                                                                                                                             you            you                        inquiry          of            of


    12             A.            Hes              sitting           right            where the                --       the    waiting                                12   and whatever                             else       the     Treasury Department.                                       They

    13   chairs             are.                                                                                                                                     13   havent           indicated                     theres any                     warrant.             Ms.        Renee           calls


    14             Q.            Okay.                                                                                                                               14   you        back 45 minutes after the                                           first    phone             call         and says

    15             A.            And hes                      right            in    front of           me.                                                          15   hold       him we                      got     a    warrant.             Then           you        send him on                    to


    16             Q.            So everybody                              is       just kind            of       sitting           over there                       16   the


         and       sitting                over           here                                                                                                        17              A.            To the next                     officer.


    18             A.            Yes              sir.                                                                                                               18              Q.            To the next                     officer.


    19             Q.            Until             we         get
                                                                      --       do you               recall        how        long            it   was                19                                          And who             --     and you              told       us   what that                 is




r
    1    before             you got                  --
                                                              you got the phone                               call      back from                                    20   called          the security                        enforcement                   something

.        Ms.       Renee                                                                                                                                             21              A.            Its       what you                call       the prosecution                      unit the

    22             A.            About               between                    45 and 50 minutes roughly.                                                           22   San Ysidro Criminal                                  --    Criminal             Enforcement                    Unit.


    23             Q.            Do you                   recall          what time you made your                                                 initial            23              Q.            Okay.                Criminal            Enforcement                     Unit.


    24   phone              call       to         the         Kennedale                       Police     Department                                                  24                                          Did     you        make         another               phone         call        after that

    25             A.            Yes              sir.        Its         three               minutes         after          600                                     25   second           phone                   call        Did         you make               a    --    or get          a    third
     --7
     1



     2

     3




     6




     8

     9


    10


    11


    12


    13


    14
         phone

               A.




         talking




         the
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                Q.

         you referred

         is

               A.


                Q.




                A.


                Q.

                A.


                Q.

               phone
                      call


                        I




                        Okay.




                         I




                        Okay.
                                with


                                get




         Kandal was going to be handling

                       to

                         I




                         Okay.

                         I




                         Do
                                her or
                                          it




                                do not recall




                                remember that



                                told



                                     you

                                during
                                               --
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                                                her.
                                                    Ms.

                                                    I




                                                to that




                                                    Do you



                                                        anything
                                                                  Renee
                                                         get a third

                                                    And at that point did you

                                                                        prosecution




                                                                          sir.



                                                                         recall




                                                    So thats what you told



                                                    recall


                                                         that
                                                                        whether
                                                                                 like




                                                                        conversation
                                                                                    sir.
                                                                                                 phone




                                                                                                 telling




                                                                                                 that
                                                                                                        it




                                                                                                   or not
                                                                                                             unit
                                                                                                                  call.




                                                                                                                 and
                                                                                                                        or
                                                                                                                             tell


                                                                                                                               whatever




                                                                                                                  her that Officer
                                                                                                                                         her how




                                                                                                                          that he would be




                                                                                                                          her



                                                                                                                       he actually
                                                                                                                                                        it




                                                                                                                                                   got on
                                                                                                                                                                     1



                                                                                                                                                                     2

                                                                                                                                                                     3

                                                                                                                                                                     4


                                                                                                                                                                     5


                                                                                                                                                                     6


                                                                                                                                                                     7

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                                                                                                                                                                     9


                                                                                                                                                                    10


                                                                                                                                                                    11


                                                                                                                                                                    12


                                                                                                                                                                    13


                                                                                                                                                                    14
                                                                                                                                                                         he have




                                                                                                                                                                         its


                                                                                                                                                                         Mr.


                                                                                                                                                                         entry
                                                                                                                                                                                A.


                                                                                                                                                                         prosecution

                                                                                                                                                                         reinterview




                                                                                                                                                                         missing

                                                                                                                                                                         the
                                                                                                                                                                                Q.



                                                                                                                                                                                --



                                                                                                                                                                               my




                                                                                                                                                                         missing
                                                                                                                                                                                A.


                                                                                                                                                                                Q.
                                                                                                                                                                                      the




                                                                                                                                                                                     was




                                                                                                                                                                         mean when hes
                                                                                                                                                                                           been

                                                                                                                                                                                           No




                                                                                                                                                                                           Okay.
                                                                                                                                                                                                    Page 42 of 64 PageID 3025




                                                                                                                                                                                          understanding

                                                                                                                                                                                Hummel had presented



                                                                                                                                                                                           I




                                                                                                                                                                                           Okay.
                                                                                                                                                                                                    a


                                                                                                                                                                                                believe
                                                                                                                                                                                                         sir.




                                                                                                                                                                                                        the




                                                                                                                                                                                           persons report pop

                                                                                                                                                                                                    computer
                                                                                                                                                                                                              --




                                                                                                                                                                                                        officer
                                                                                                                                                                                                                     what would

                                                                                                                                                                                                                        Typically

                                                                                                                                                                                                                             or

                                                                                                                                                                                                                   individual.


                                                                                                                                                                                                                   Had




                                                                                                                                                                                                         Texas drivers license

                                                                                                                                                                                                                            so
                                                                                                                                                                                                                   What happened



                                                                                                                                                                                           persons report or something
                                                                                                                                                                                                                                    the CEU officer




                                                                                                                                                                                                                                  that




                                                                                                                                                                                                                                  inquiry




                                                                                                                                                                                                                                   sir.




                                                                                                                                                                                                                            sent back
                                                                                                                                                                                                                                        that
                                                                                                                                                                                                                                              not
                                                                                                                                                                                                                                                    we




                                                                                                                                                                                                                                                    --
                                                                                                                                                                                                                                                         have




                                                                                                                                                                                                                                                         --



                                                                                                                                                                                                                                                     up when




                                                                                                                                                                                                                                                     to the
                                                                                                                                                                                                                                                              --




                                                                                                                                                                                                                                                           that
                                                                                                                                                                                                                                                                   we




                                                                                                                                                                                                                                                                     How
                                                                                                                                                                                                                                                                        happened




                                                                                                                                                                                                                                                                had there




                                                                                                                                                                                                                                                         regarding
                                                                                                                                                                                                                                                                               wait


                                                                                                                                                                                                                                                                                  to




                                                                                                                                                                                                                                                                                  you



                                                                                                                                                                                                                                                                        the documents

                                                                                                                                                                                                                                                                        primary officer

                                                                                                                                                                                                                                                                          is




                                                                                                                                                                                                                                                         here to you to verify
                                                                                                                                                                                                                                                                                  that
                                                                                                                                                                                                                                                                                         until




                                                                                                                                                                                                                                                                                          not


                                                                                                                                                                                                                                                                                          did




                                                                                                                                                                                                                                                                                          right



                                                                                                                                                                                                                                                                                   do you verify



                                                                                                                                                                                                                                                                                   had     --
                                                                                                                                                                                                                                                                                                  the


                                                                                                                                                                                                                                                                                        come down and



                                                                                                                                                                                                                                                                                                 been

                                                                                                                                                                                                                                                                                                 the


                                                                                                                                                                                                                                                                                   the fingerprints




                                                                                                                                                                                                                                                                                                 had
                                                                                                                                                                                                                                                                                                        this
                                                                                                                                                                                                                                                                                                              155




                                                                                                                                                                                                                                                                                                              a


                                                                                                                                                                                                                                                                                                            ten




                                                                                                                                                                                                                                                                                                            that

                                                                                                                                                                                                                                                                                                             for




                                                                                                                                                                                                                                                                                                            that
                                                                                                                                                                                                                                                                                                                   --    I




                                                                                                                                                                                                                                                                                                                        not

                                                                                                                                                                    15   panned out had                                 --       had       you found                    --     called         and that had
    15          A.       Say again

    16          Q.       Do you                     recall              whether                    or not Officer                        Kandal                     16   been        withdrawn                       or          something                    like      that            how would you

    17   actually                    on that                       --   on the phone                               with       her that same                         17   verify       his       citizenship                        to    send him on into the country
                        got

    18   conversation                                                                                                                                               18          A.         We            --     the          way         --     the way                 it     work       on     --    on

    19          A.       I      dont                know                sir.         I       dont remember.                                                         19   the    --    on that kind                               of situation                 is    refer          the person                to


                Q.       Would                                                                                                                                      20                                                       cannot verify his citizenship.
                                                    you have                   just transferred the
    20                                                                                                                                    call     to                    the    supervisor                      if      I




    21   him     or     how            would that have                                           worked                                                             21          Q.         Okay.                   And what                     do you look                        for   when you

    22          A.       I      --     what              I
                                                                  --    what             I       did    is       call     Officer                                   22   send        --   when you                          --     when you                   try       to verify his


    23   Kandal and                  told           him that officer                                   --        or   Agent          --
                                                                                                                                           Agent                    23   citizenship                through                      his fingerprints                            how         are    you

    24   Renee        called               back              with         me         and            she said that hold the                                          24   attempting to verify                                           What             do     you need                 to     find    in    order

                                                                                                                                                                    25   to verify             it
         person.

                                                                                                                                                        154                                                                                                                                                   156

     1          Q.       Okay.                                                                                                                                       1          A.         We            --     typically                 we         call      the        --      we     call    the

     2          A.          He has a warrant for arson.                                                                                                              2   other       agency to verify the                                           --     the      birth of             the

     3          Q.       All         right.                  Now           when he                      --        when youre                                         3   individual                 refer to                     our    office.




    --16
     4   referring to the                           prosecution                              people               Officer           Kandal and                       4           Q.        Okay.                   So            like    if    he        had a Texas drivers

     5   his   bunch             does                he stay there                                with           you       or      where           do                5   license           you           call        the          Texas Department                                     of Public        Safety

     6   they    --    where does                                 he    go                                                                                           6   or    would you                      call          --    how          --    how           would you verify that

     7          A.          He stayed                             --    he stayed                      in     my        area.                                        7   information

     8          Q.          He stayed                          in       your area                                                                                    8          A.         We            --     we           either           call       Texas for a record and

     9          A.       Until                 he comes down and                                             I    turn       it   over       to     him              9   verify       where                  he was born.

    10   physically.                                                                                                                                                10           Q.        Okay.

    11          Q.       Okay.                      What                happened                       --     how         long       did      it    take            11          A.         To verify his citizenship.

    12   for Officer             Kandal                  to            come         down                                                                            12           Q.        Okay.                   The            information                      that        was provided                   to    you

    13          A.          I   dont remember.                                               I   dont             recall          sir.                              13   in    the    NCIC               missing                   persons report                            is    in   regard         --    in


    14          Q.          Okay.                   But           it    was sometime                                  after that            second                  14   regard           to    date of birth and                                    all      that       information.                   It


    15   phone        call           which               would have                               been            about           645        or a        little     15   was     the       same                as           what appeared                          on his drivers                      license

         before        700             in       the           morning                                                                                               16           A.        Yes               sir.


    17          A.       After                 700                oclock                 probably.                                                                  17           Q.            --   was            it       not

    18          Q.          So       it        would have                        been              sometime after                            700             that   18                                   Okay.                    So that information at least was

    19   Officer       Kandal                   came down.                                                                                                          19   consistent

f   1                                     Is        he taken                   --        was he taken from your area                                                20           A.        Yes               sir.


         at that       point                                                                                                                                        21           Q.            Did       --     did          you         --     did        he      --    or did          you ask             him

    22          A.          I   dont                remember.                                I   dont             recall          sir.                              22   whether               or not he had any other documentation                                                                    of his

    23          Q.          Okay.                   Is       it    typical                   whenever                   youve             got                       23   citizenship                    at that              point

    24   information                 now                 that yes there                                      is   a     warrant for him                             24           A.            No        I     did          not         sir.


    25   would he had been                                        rehandcuffed                              at that          point           or     would           25           Q.        Okay.                     Once you found                                the       missing            persons hit
                                                            157                                                                                                                                                                                                               159
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                                                                                                                                                                                                                                                                              and
     1       he was going                on to somebody else                                             anyway                                       1   notes        in    there     information regarding                                that        phone          call



     2               A.       Thats             correct                sir.                                                                          2    all   that    jazz

     3               Q.       And then what                             --    I    mean              excuse         me.                               3           A.         Yes     sir.



                                                                                                                                                                  Q.                        Thats your handwriting
                                                                                          you that there was a                                       4                       Okay.
                                         Had
f_                                                   they not                 told



    -        warrant          for   him what would have happened                                                         at that         point        5           A.         Thats      my        handwriting.

                                                                                                                                                                  Q.         You    did      that       that       day              take         it
     6       Had they said you know                                           we    just
                                                                                                    --    missing        persons                      6                                                                        I




     7       report          thank you                very          much we                         didnt want him arrested                           7           A.         Yes     sir.




     8       or    detained          thats               what we put                          in     the      initial    inquiry                      8           Q.         What      is    that       0650
                                                                                               him at that point                                      9           A.         Thats the time
             what would yall have                                  done            with                                                                                                                        sir.
     9

                                                                                                                                                                             Thats the time that you                                    would have                had that
    10               A.       We     still       --       we       still          have         to verify          his    status                      10           Q.

    11       his     citizenship.
                                                                                                                                                     11   conversation               or      made           that     contact

                                                 So you just had                                                  he was an                          12           A.         Thats          the    second            --        believe            its       the   second
                       Q.                                                                                                                                                                                                 I
    12                        Okay.                                                            to    verify


    13       American citizen and hed be on                                                         his   way                                        13   phone         call      when she             returned               the        call.


                                                                                                                                                     14                              MR.      MOORE                  Wed            offer        Defendants               Pretrial
    14                 A.     Yes         sir.



    15                 Q.     It    was the information                                       from the Kennedale                                     15   No.     1.



    16       Police                                      that they                  had a warrant                       that      kicked             16                             THE COURT                        Any objection
                            Department

    17       him over          to    the         prosecution                        enforcement                    people          whatever          17                              MR.      GILL            No      objection.


    18       it   is                                                                                                                                 18                              THE COURT                       Admitted.


    19                 A.     Yes         sir.
                                                                                                                                                     19                              Defendants                      Pretrial            Exhibit


    20                 Q.     Okay.              Did      you           --        did    you         do a report             in    --    in          20                              No.      1    admitted

    21       connection             with         your involvement                                    in    all   this                                21           Q.         BY      MR.      MOORE                  This          --    this     --    let    me      just get


    22                 A.     Yes         sir.           Its       the        standard                   procedure           to   make               22   you     to look at           this       --    at    this        page           right here.              Is   that


    23       a    report
                              --    make             a    report.
                                                                                                                                                     23   a     copy    of the report                  that     you did

    24                 Q.     Was         it    that          little         one-page report                                                         24           A.         Yes      sir.




    r.                                                                                                                                               25           Q.         Okay.           And             that                         do you actually
                       A.     Yes         sir.
                                                                                                                                                                                                       in             report




    --11
                                                                                                                                          158                                                                                                                                 160

         1             Q.      Did       you do               --    did           you     look           at   anything         else                   1   document                do you not                 that Officer                  Renee            confirmed          that


     2                                                                       today            --                                                      2   he had an outstanding                              warrant                      that        right
             prior      to    coming to                  testify                                                                                                                                                                    is



                                                                                                                                                                             Thats what she
     3                 A.      No        sir.
                                                                                                                                                      3           A.                                            told          me.

     4                 Q.      --   in    connection                         with        this                                                         4           Q.         Okay.           Thank          you very               much               Mr.    Enriquez.

     5                                   Okay.                Let       me         ask you                a    question and               I           5                              MR.      MOORE                   I   pass           the     witness Judge.

     6       just      --    this   is    information                         thats            been           provided       to    us                 6                              THE COURT                        Redirect

     7       by the State.                  Is       that          your writing                      on here                                          7                              MR.      GILL             Thank               you Your Honor.

     8                 A.      Yes        sir.                                                                                                        8                                       REDIRECT                    EXAMINATION

         9             Q.      Okay.             So that                --        that    --        that       page     is   the    --                9    BY MR.           GILL

    10       let     me      just   go ahead                       and mark                   it.                                                    10           Q.         Okay.           Officer         Enriquez                   just a couple              of


                                         MR.         MOORE                         Thank             you.                                            11   couple            of things.


    12                 Q.      BY        MR.         MOORE                         Let    me hand you whats been                                     12                              When          you were speaking with the officer

    13       marked           for    identification                          purposes as Defendants                                                  13    from the Kennedale                          Police_       Department                       on the phone                 she

    14       Pretrial         Exhibit           No.       1.        Tell          me what                 that     is    please.                     14   only     gave           you verbal confirmation                                 of a        warrant
    15                 A.      This       is     a    NIC          --      NCIC NLETS                         direct    record                       15           A.         Thats correct                    sir.


    16       display.                                                                                                                                16           Q.         Were       you ever able to electronically                                           confirm

    17                 Q.      Okay.             So thats what you actually                                             pulled up on                 17    the existence               of a       warrant

    18       your       --    or gotten              on your computer                                     from the inquiry                    that   18           A.         No      sir.




    19       you       made                                                                                                                          19           Q.         And before you could                              definitely              say theres a

                       A.      Yes        sir.                                                                                                       20    warrant dont you have                               to     have electronic                         confirmation
f



                       Q.      Okay.             As a result of                          --     of that          inquiry       coming                21    of that          through          one       of    your databases

    22        up with that information thats                                                   when you made                      the     phone      22           A.         Yes      sir.



    23        call     to Ms.       Renee                is    that           correct                                                                23           Q.         Okay.           And at your                                          work station
                                                                                                                                                                                                                          particular                                          in


    24                 A.      Yes        sir.                                                                                                       24    order       to    --   to verify            information                      you query             a   number           of

    25                 Q.      Okay.             And you actually                                   indicated           on   --   in    the          25    different          databases                in   order         to       accomplish your
                                                                                                                                                                                                                                                                                             163
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                                                  161
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                                 that         correct                                                                                              1                                  THE COURT                        I       have        a    question
                                                                                                                                                                                                                                                                       --     or   Ill
 1
         purposes           is



 2              A.      Thats                                                                                                                      2       invite      either         counsel          to        ask the question                       --        but       on the
                                        correct               sir.



                                                                                                       --    through                               3       NCIC reporting                   where                has the miscellaneous comments
                Q.      Through                         of   your confirmation
                                                                                                                                                                                                            it
 3                                            all                                                                                 all



                                                                                                                                                   4            that binding                                                   on the part of the U.S.
              your work that morning did you                                               ever confirm
         of                                                                                                            that                                is                               or controlling


         Mr.    Hummel over                       here       was a United                    States citizen                                        5       border patrol               to      follow those                    requests               or    may             they just




--15
 6              A.      No       sir.
                                                                                                                                                   6       look    at those            and advise                 them              at    will      and act on their


 7              Q.      So that              is    --   that         is   a     matter that was                     still                          7       own     initiative


                                                                                                                                                                                      You can ask that question                                              youd
                                                                                you                                                                8                                                                                                   if                     like.
 8       outstanding             at    the         time he              left


 9              A.      Thats correct                         sir.                                                                                 9               Q.         BY      MR.       MOORE                  On           the     little     NCIC return                           that


                                                                                                                                                  10                          back     --             me show                       to     you since              were
                Q.      Now            based upon                                                                                                          you
                                                                                                              --    or the                                                                   let                                                                                   asking
                                                                     your          initial    report                                                               got                                                         it
10

                                                                                                                             began                11       about
                     that    you wrote your report states that you                                                                                                      it.
11       report

12                                       with           Mr.     Hummel               at      603 a.m.                                             12                                   Okay.           I   think           what hes referring                               to     is
         your procedure

13              A.      Yes          sir.                                                                                                         13       these       comments                 here.            You know                   theyve             got


14              Q.      When you began                               --    when you              --    when          he                           14       miscellaneous                   comments




 --3
                                                    your station and you                               took        his                            15               A.         Uh-huh.
         approached              your         --




16                               on the IAFIS system I-A-F-I-S                                                is    that                          16               Q.         --     where they say that                              --    that       you         know             this
         fingerprints

                                                                                                                                                  17             law    enforcement                                                 the    subjects               possibly a
17       correct                                                                                                                                           is                                         sensitive


18              A.      Thats            correct              sir.                                                                                18       mentally            unstable              person            hes           of interest              in       a    homicide

19              Q.      None of the report indicates that at                                                  650                you              19       case        considered               armed and dangerous                                         approach                with




         --from
20       made your           first          contact           with           the    ORI Kennedale                        Police                   20       caution             It    says he has a military background                                                        but       it




21       Department.                                                                                                                              21       also    says do not arrest or detain based                                                   on        this        record.


22              A.      Yes           sir.                                                                                                        22                                   What           --   what does                      that        mean        to        you     or        how

23              Q.      And there was a period                                       of    time after that that                                   23       does        --     how do         yall handle something                                     like       that        when            it




24                                                                 --     the verbal             confirmation                    back             24       tells    you        dont arrest him
         you    got the          confirmation

                  Ms.       Renee            at    the       Kennedale                Police          Department                                  25               A.          We     --    based          on     this          information                  we do               not

                                                                                                                                      162                                                                                                                                                     164

     1          A.      Yes           sir.                                                                                                             1   arrest or           detain           is    what        this          sic            sir.




 2              Q.      And you said that was somewhere around 40                                                                       to   45    2               Q.          Okay.           All    you        did       was        try      to     verify

         minutes later                                                                                                                             3               A.          Verify.

 4              A.      Yes           sir.                                                                                                         4               Q.          --    from them that hey we did what you                                                            said

 5              Q.      So these                  investigations                     that     you          conduct           take                      5   let    us    know
 6       some time                                                                                                                                 6               A.          Yes.


 7              A.      Yes                                                                                                                        7               Q.          You got him you did that and they
                                      sir.                                                                                                                                                                                                                             tell
                                                                                                                                                                                                                                                                                   you

 8              Q.      Okay.                                                                                                                      8       you     got a           warrant

 9                                   MR. GILL                   Pass the              witness.                                                     9               A.          Yes      sir.




10                                   MR.          MOORE                   One question                     Judge.                                 10               Q.          All    right.


11                                                RECROSS-EXAMINATION                                                                             11                                   MR.         MOORE                   I    think thats                 all    I       have

12       BY MR.       MOORE                                                                                                                       12       Judge.

13              Q.      When you                    got       at     650         or   whatever                right          about                13                                   THE COURT                           Mr.       Gill        do you           have           any other

14       that    time when you had got the                                           information               --    the                          14       questions

15       verbal      information                   from Ms.                Renee that there was an                                                15                                   MR.         GILL           We           do not Your Honor.

16       outstanding             warrant                for    him you didnt                          --    you     werent                        16                                   THE COURT                           All      right.          Thank          you.

17       making any more                          efforts          at that           point to          try    to    verify                        17                                   May           Officer       Enriquez be                        excused

18       that he      was        a    citizen            I    take         it                                                                     18                                   MR.         MOORE                   Yes.


19              A.      No        sir.                                                                                                            19                                   MR. GILL                   Yes.

                Q.      No.           You just referred him over                                       to    the                                  20                                   THE           COURT                 Officer             you     may             step        down.

         prosecution             guy and                 they           were going               to    take        care          of    him        21       Thank            you.

22       from that point on because                                       he had that warrant                               is   that             22                                   THE WITNESS                                  Youre welcome.

23       right                                                                                                                                    23                                   Witness                retires

24              A.      I   turned him over                             to     the    prosecution                  unit.                          24                                   THE COURT                           Gentlemen                   whats                your

25                                   MR.          MOORE                   Thank           you.                                                    25        pleasure                 You want to persist or do you want                                                       to   stop
                                                165
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 1                              MR. GILL                  We would              not        get through             with


 2   another witness                    today       anyway                and    I     understand we have

 3   some       child    care           issues.


                                MR.      MOORE                  Ive got another matter                             I    need

     to   attend       to.



 6                             THE           COURT              All    right.         Well be          in    recess.


 7   Let    me    ask both              of    you        if   we      continue             to    get started            at


 8   900        oclock         do       you    think           were       going            to    be done       by

 9   Friday

10                              Discussion                    off   the    record

11                             THE           COURT              We     will     resume            at   900         a.m.


12   tomorrow.            Thank              you.

13                              Proceedings adjourned at                                        506 p.m.

14

15


16

17


18

19


20

21


22

23

24



                                                                                                                         166

 1   THE STATE            OF TEXAS

 2   COUNTY            OF TARRANT

 3                              I      Angelica          Taylor           Official          Court Reporter

 4   in   and    for    the        432nd       Judicial             District         Court of Tarrant

 5   County        State           of   Texas do hereby                         certify          that the      above

 6   and foregoing contains                          a     true       and correct transcription

 7   of   all   portions           of   evidence              and other proceedings

 8   requested           in    writing by counsel                         for   the        parties      to    be

 9   included          in this         volume        of       the     Reporters                  Record       in   the

10   above-styled and -numbered cause                                                all    of   which       occurred

11   in   open court or                 in   chambers                 and were             reported          by    me.
12                                 I   further      certify           that      this       Reporters
13   Record       of    the        proceedings                 truly      and correctly                reflects


14   the exhibits             if
                                       any    admitted                by the         respective

15   parties.

16                              WITNESS              MY OFFICIAL HAND                              this     the        25th   day
17   of   January         2012.

18

19

20

21




2                             ANGELIC               TAYLOR                   EXA                 SR NO. 7180
                              Cert Exp.             Date            12/31/2011

23                            Official        Court Reporter

                                        432nd       Judicial           District            Court

24                                      401 West Belknap                        Street

                                        Fort   Worth                Texas       76196

25
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 111-0
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    4917 4921                                               13510 1393                                5th     11      -           153               5612 5617 5625                                          1376

                                                            13924                                                                                   5722                                                   admissible                51          -




                                                           2010111- 153                                                                6           accept     1    -       1115                             11012 1199

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10000              111-            915                       10410 11121                              600141-                     1415              14723                                                   1523 3821 396
1045             Ill-
                               62                            1121 11921                                14223 15025                                 accessing               12        -    14724             428 902 9124
1113             11-           62                            1253 13510                               603 4                   -   1417 1418        accidental              1         -       5317           9125 922 9219
1126             11       -        1816                      1393 13924                                 1512 16112                                 accompanied                           151
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12/18            11-           3819                        24   2     -   1068 10610                  65014                   -
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12/20            1        -    843                         2641- 192                                                                                5621                                                    161 7617 7619
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    2014                                                   32A 11- 7513                                                                            accuracy            111-          2814                   1636
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                                                                                                       796
15   1       -    301                                      38111-         7613                                                                      2523 2611 2615                                          1010 5421 677
15-minute                          1        -       61     38A1               -       7613                                                          557 5513 5811                                          affidavit        1191-            135
                                   8417                                                   822                                           9           592 6022 916                                            5211 5524 568
151811                    -                                327111-

1540111-                           843                                                                                                              9721 985 11920                                          5611 5624 5914
                                                                                                      911121-                     10513 1317
16   9       -    8716 8718                                                                   4                                                     1255 12525                                              5921 603 6011
                                                                                                      900         2           -
                                                                                                                                   1658
    11918 11925                                                                                                                                    accusatory               1            -     3525         6013 6016 6019
    1202 1204 1205                                         40   51-       3722 8120                                                                achieve    111-          8723                            6218 6612 6624
    1206 1209                                                8218 15120 1622                                                                       acknowledged                               1             6811 6816 754
                                                                                                                                       A
                                                                                                                                                                                                       -




17121-            204 4916                                 401    111-                16624                                                         1516                                                   afternoon                3    -           166
18   Ill-         204                                      41161-         975 978                                                                  acronym         1        -        9615                   7813 7919
18-page                       //    -       4916             9810 9812 9815                                                                        act11-     1636                                         agencies             1131-                2411
                                                                                                      A13D17111141
                                                                                                       1141                              421
1822          1 8320      -
                                                             9816                                                                                  acting   1      -       7819                             3312 4415 4416
                                                                                                        12814 12919
                                                                          724                                                                                                                               497 632 724
18th         6 4014 506
                      -                                    43111-
                                                                                                        12814 12913
                                                                                                                                                   active   121-       3919
    557 559 5511                                           432nd          12              -
                                                                                              1664                                                  8620                                                    9617 13714
                                                                                                        12923
    5512                                                     16623                                                                                                          402                             13716
                                                                                                      ADs             al           -   12723
                                                                                                                                                   actively   z1-

19th         1                5512                         45 41-         15022                                                                     6115                                                   agency      161-              717
                                                                                                        1286 12811 1299
                   -




145          1            4513                               15120 15214                                                                           actual   12              146                             815 237 2515
                                                                                                                                   62
                   -                                                                                                                                                   -

                                                                                                      a.m         17-                       1816
154          1            4514                               1622                                                                                   6615 7513 964                                           3216 3310 4415
                                                                                                       4319 4321 4322
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                                                                                                                                                    966 1006 1007                                           495 496 1379
                                                                                                       4323 445 11125
                                   2                                                          5                                                     10013 1027                                              1405 14012
                                                                                                        1254 1417 1418
                                                                                                                                                    1071 11625                                              14210 14811
                                                                                                        14225 14310
2   1    -   6011                                          50   2     -       14223 15022                                                           14815                                                   1497 1562
                                                                                                        16112 16511
        2924 301
                                                           51   1     -   253                                                                      AD   11- 175                                            agencys           1       -       4922
20141-
                                                                                                      AB                          1615 1719
    1354 1359                                              51614          -           1915 1918                                                    addition                     157                        Agent     1151
                                                                                                                                                                                                                                -   3220
                                                                                                                                       714 124
                                                                                                                                                                171-
                                                                                                      able        141-
2001131-                      2115                           1925 204                                                                               1512 2021 3316                                          3410 353 3518
                                                                                                        1614 3210 4818
                                                                                      2017                                                                                                                  365 3914 407
    2123 225                                               518111-                                                                                  379 495 12717
                                                                                                                                  10422
2002         1- 226                                        519    41      -           1915 1922                                                    additional              131-          3714               4011 5117 5125
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    F
                                                                                                                                                                                                                                                                                                                                            2




     5221 5411 7316                                                      appears              -        1918                         12315                                                       223                                                                                                       B
     15323                                                                2010 4820 7521                                           arise I1       -           1054                             assist    13        -       5314
                 7         -          3410                                11310                                                    armed       123                -       664                   6815 11510                                                               background                                      13          -



     5412 5415 5416                                                      appeared             6             -   2825                793 11413                                                  assistance                            4           -         5523           794147-.1516320

     681 968                                                              3916 629 6212                                             11518 11522                                                 672 722 11514                                                            bad 2 3423 6522
                                                                                                                                                                                                                                                                                      -




    agents            2 545           -                                   986 15615                                                 11611 1173                                                 assisted            5 354             -
                                                                                                                                                                                                                                                                         badge 4 962 964          -




     1179                                                                apple    1     -     7424                                  11712 11715                                                 355 12813                                                                 966

    aggressive                                    1           -   9521   applicable                    11       -    891            11721 1189                                                  12814 12912                                                              based 1678 916                -




                          2221 2224                                                                    902                          11823 1264                                                 assisting                                 -       1337                     138 1315 4017
    ago                                                                  applied                   -                                                                                                                   Ill
            14    -                                                                    121




     3824                 10611                                           9317                                                      12620 12817                                                assists       111
                                                                                                                                                                                                                           -         13622                                4618 613 6124
    agreementl2                                           -
                                                                  811    applies       Ill
                                                                                                 -     12023                        13723 1388                                                 assume 2                         -
                                                                                                                                                                                                                                         4122                             795 11222
                                                                                                                                    13820 1398                                                  6325                                                                      12524 1263
     8216                                                                apply    2     -     9214
                  1                           772                         10724                                                     1401 14711                                                 assuming                                              487                  1371 16110
    agrees
                                      -                                                                                                                                                                                                      -
                                                                                                                                                                                                                               Ill



                                                                                                                                    16319
    ahead         5 4312        -
                                                                         applying            171-               9124                                                                           ATF   9   -     3410 536                                                   16321 16325
     6519 8123                                                            9125 922 9219                                            arms     3         -
                                                                                                                                                              1305                              545 5412 5414                                                            basic      2         -       895
     10814                          15810                                 9224 1365 1447                                            1306 13012                                                  5415 5714                                                                 13420

    airport           1               -       9210                       approach                161-                1012          arrest      1141
                                                                                                                                                                  -       4024                 attached                Ill
                                                                                                                                                                                                                                     -       829                         basis      Ill
                                                                                                                                                                                                                                                                                              -        13216

    Airport           11              -           9212                    1416 1811 201                                             5210 5519 5524                                             attack    Ii        -           10512                                     bathroom                          12            -           321
    alarm        I1           -       813                                 793 8017                              10113               567 5914 6017                                              attain    2     -           2319                                           327

    alert    3 5612   -                                                   10211 10214                                               6612 794 7914                                               2420                                                                          3 - 9620
                                                                                                                                                                                                                                                                         battle

                                    11712                                 11215 11217                                                14912 16321                                                                                 7322                                     9622 9624
     11612                                                                                                                                                                                     attains       111
                                                                                                                                                                                                                           -



                                                                          11218 1133                                                16324 1641
    alerted           Ill
                                      -           5625                                                                                                                                         attempt         191-                      78 711                          battle-type                        ill
                                                                                                                                                                                                                                                                                                                                 -   9624
                                                                          1163 12218                                               arrested                                       1577                                                                                   BDU l
    alerts       121
                              -       5616                                                                                                                    111-
                                                                                                                                                                                                773 8011 8116                                                                   9615      -




                                                                          16319                                                                                                       8816
     12619                                                                                                                         arresting                  i1              -
                                                                                                                                                                                                8117 8120 8211                                                           BDUs 3 - 9519
                                                                                                                                                                  922
                 4                                                                                                                                                                              8325
                                                                                                                                   arrive                 -
    allow                 -           1005                               approached                         14       -                       It                                                                                                                           9522 963
     10015 10022                                                          1137 11310                                               arrived        161-                    129                  attempting                            1           -                       became                   3         -        3525
     11824                                                                1161 16115                                                 1220 2516 2521                                             15524                                                                     3622 4419
    allowed                17                 -       811                approaches                         I        -              3013 6012                                                  attempts                2                 -       14010                   become14 - 4420

     425 1082 1132                                                        1084                                                     arrow                              13612                     14011
                                                                                                                                               31-                                                                                                                        7220 8713 898
     13023                          14523                                approaching                            1        -           13614 14517                                               attend     2            -
                                                                                                                                                                                                                                3814                                     becoming                          2             -
                                                                                                                                                                                                                                                                                                                                     3624
     14524                                                                1228                                                     arson       171-                       2313                  1655                                                                      3712
                                  i                     1132                                                    4216                2320 245 2420                                                                      2                     378
                                                                         approval                                                                                                              attended                                                                  bed    2             624 91
                                                                                                        -
    allowing                                      -                                          Ill                                                                                                                                         -                                            -




                                                                                                                    6524            2424 352 5210
    allows                                    1125                       approved                ti                                                                                             3717                                                                     Bedford                  5                      1619
                                                                                                            -
                      41-                                                                                                                                                                                                                                                                                   -


     9323 13618                                                                                                              458    533 5325 5525
                                                                         approximate                            li       -                                                                     attention               4                 -       1612                      1719 373 5417
     13622                                                               April   1l1-        226                                    5915 5918 7125                                              3119 11120 1172                                                           5424

                      1                                                            i                   935                          7217 1522 1524
    almost                            -           2221                   Arabia              -
                                                                                                                                                                                               authenticating                                              Ill
                                                                                                                                                                                                                                                                     -   bedroom                      1              -       578
                                                                                                                                     1542
    Alpha         i             -         7616                           area    147    -
                                                                                             2424                                                                                               12522                                                                    began            3       -        1222
                                                                                                                                   Arson                              7120
    altercation                                   111
                                                          -       373     3215 579 834                                                         111-
                                                                                                                                                                                               authorities                           3 713       -
                                                                                                                                                                                                                                                                          16111 16114
                                                                  9510    926 9216 979                                             arsons                                     2418              6724 1058
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                                                                                                                                                      ill
    alternating                                   I1                                                                                                                                                                                                                     beginning
                                                          -                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                           Ill



                                                              15713       9721 1016                                                article     i                      9624
    American                                                                                                                                                                                                                                     11019                                    i
                                                                                                                                                              -

                                          Ill
                                                      -
                                                                                                                                                                                               authority               Ill
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                                                                          10112 10121                                                                                                                                                            3
                                                                                                                                   Articles
                                          1093                                                                                                                                                                                                                                            7 8013
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    amiss         111
                                  -                                                                                                                   Ill
                                                                                                                                                                                               authorization                                                     -       behind                        -




    amount                 1 9922             -                           1065 1068                                                artificial             1               -   6213
                                                                                                                                                                                                443 6519 6521                                                             996 10219
                                                                          10916 1103                                               Asia                   935
                           3 3718                                                                                                         11                                                   authorized                            2                     678             11419 1163
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    analysis                                      -                                                                                                                                                                                              -




                                                                          1145 11424                                               assessment
     3810 3817                                                                                                                                                                    11-           679                                                                        12211 13120
                                                                          11510 11515                                               5920
    analyze                11                 -       3812                                                                                                                                     automated                             1           -
                                                                                                                                                                                                                                                                         Belknap                  111-                   16624
    Angelica                        1                   1663              1171 11810                                               assign                     -           757                   13625                                                                    belong                             7319
                                                                                                                                                111
                                                  -                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                          ill


                                                                          11915 12213                                              assigned                                           8912
    ANGELICAi                                                                                                                                                     125                          automatic                                              13625
                                                                                                                                                                                  -
                                                              -
                                                                                                                                                                                                                               11            -                           belt ii      -       9523
                                                                          1235 1238 1282                                            8916 8918 8920
     16622                                                                                                                                                                                     automatically                                         Ill         -       bend      1          -       624
                                                  3719                    1316 1317                                                 8922              8925.                           904       11119
    Angelo                Ill             -                                                                                                                                                                                                                              benefit          6 287        -


                                      10222                               13111 13523                                               905 906 9313                                                                                                 251
    angle        li        -                                                                                                                                                                   available               111
                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                          6010 6818 8020
                                                                          1361 13616                                                9314 9317 9319
    answer                9               -       3621                                                                                                                                         average         2                -            9024                         12422 12521
                                                                          1373 1389                                                 9320 944 948
     4314 4317 458                                                                                                                                                                              915                                                                      Bernal           8           -
                                                                                                                                                                                                                                                                                                            8510
                                                                          13810 13813                                               9421 956 9511
     5319 6410 7119                                                                                                                                                                            aware 12                    -         713                                  8512 8523 8525
     1229 15116                                                           14515 14520                                                10215 10410
                                                                                                                                                                                                3513 6416 6620                                                            12010 12417
                                                                          14521 1464                                                10413 1156
f   answered                              13j-                3823                                                                                                                              689 6822 695                                                              13225 13314
                                                                          1467 14615                                                13512 13514
     7117 739                                                                                                                                                                                   6917 7312 1157                                                           BERNAL                                  -       8518
                                                                          15010 1547
                                                                                                                                                                                                                                                                                                      111




                           i                          4310                                                                         assigning                          1           -   9511      11511 11513
    anytime                                   -
                                                                                                                                                                                                                                                                         best    l3       -       8310 8315
                                                                          1548 15420                                               assignment                                 3
                           z                                                                                                                                                                   awhile     z                     622
                                                                                                                                                                                       -

    anyway                                    -
                                                      1571                                                                                                                                                                                                                1139
                                                                         areas    16     -    5215 831                              2217 1356 13518
     1652                                                                                                                                                                                       6322                                                                     better      13           -
                                                                                                                                                                                                                                                                                                          5322
                                                                          953 9511 9712                                            assignments
                                    1                                                                                                                                                 1i
                                                        7021
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    anyway..                                      -
                                                                                                                                                                                                                                                                          604 958
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F
between

 2525 373 811
 9019 9117


 1381715022

beyond             131-
                           lio




                           12316
                                           -




                                           941
                                                   257    bothers

                                                          bottom

                                                          bowl

                                                          box
                                                                 1 11425
                                                                3 7017
                                                           11414 12615
                                                          break
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                                                                                                        9911
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                                                                                                                                                                                                                                                                       4422 452 466
                                                                                                                                                                                                                                                                       469 4613 4616
                                                                                                                                                                                                                                                                                              -       335




 991 994                                                   635 8124 826                                                                5925 7025 715                                        252 264 3412                                                               492 5311 5317

big 21-       236 11414                                    1203                                                                        7422 7620 8222                                       11513 1175                                                                 5322

biggest            1               -       9021           Brian     4 6422       -                                                     8411 8521 9420                                       11820 1325                                                                child    12         -       809 1653
binder        12           -       7621                    6425 6517                                                                   9624 9817 1041                                       1456 16319                                                                chip 1          -       145

 7622                                                     brief   121
                                                                            -           1812                                           11213 12010                                         catch   1        -           122                                           Chris 1                 -       6421
                                                                                                                                       12416 12613                                                                                      793                                                                                   2
binding               1            -       1634            14325                                                                                                                           caution          121-                                                      Christopher                                                 -



                                   1           -   5023   briefly 21-                               925                                1295 13224                                           16320                                                                      6614 6616
biological

birth    8        -
                           1026                            12418                                                                       1344 13923                                          CD 2    -
                                                                                                                                                                                                        1620 1716                                                     circuit         1           -           3022
                                                                                                                                       14220 14314                                                                                  1404
 1061810810                                               bring     3            -
                                                                                             1212 957                                                                                      Center       13              -                                             cities    Ili
                                                                                                                                                                                                                                                                                              -       722

                                                           10514                                                                       14319 14511                                          14022 14117                                                                    131- 6418
 1245 12716                                                                                                                                                                                                                                                           citizen


 14320 1562                                               bringing                      14              -       10418                  15119 15812                                         Central          11              -           843                            1037 1088
 15614                                                     10816 11013                                                                 15921 1609                                          centrally i1                                 -       579                    11113 11316
bit           1221 522                                     1148                                                                        16212 1639                                          Cert   1     -       16622                                                  11320 12121
      191-


 604 6621 749                                             brings            11              -       1142                                                                                   certain      31              -
                                                                                                                                                                                                                                    85                                 12321 12322

 1234 1258                                                BRISSETTE 32                                                           66                                    C                    1324 1099                                                                  14110 15713




181-bodies
                                                                                                                             -



 12514 1338                                                614 1012 1014                                                                                                                   certificate                          4               -
                                                                                                                                                                                                                                                    1027               1615 16218
                                                                                                                                      C-59    2 4822                                4825
                                                                                                                                                                                                                                                                                              4
        1
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blue          -        1041                                1416 1419 1519                                                                                                                    10810 1245                                                               citizens                                -
                                                                                                                                                                                                                                                                                                                          11016
                               865                                                                                                    California                       13           71                                                                                 1113 1114 1117
                                                           165 169 1611                                                                                                                     12716
                                                                                                                                                                                -

blues        11        -




                                                           181 335 4518                                                                714 911 107
board        111
                       -       8419                                                                                                                                                        certification                                    3           -             citizenship

                                                           715 7419 7422                                                               1020 5521 671                                        2319 2323 2420
               121-                    2623                                                                                                                                                                                                                            11315 13213
                                                                                                                                       6724 8213 907
 274                                                       7525 766 7611                                                                                                                   certified            1                   -       2313                       15517 15520
                                                                                                                                       908 909 1144
body     11        -       4619                            7613 7615 7620                                                                                                                  certify      2           -
                                                                                                                                                                                                                                1665                                   15523 15611
                                                                                                                                      camera                                1215
                                                           8017 8022 8025
                                                                                                                                                                        -
book     15        -
                           188 1914
                                                                                                                                                           112
                                                                                                                                                                                            16612                                                                      15623 15711
                                                                                                                                       1218 1219 1222
 1915 6310 7115                                            819 8114 8116                                                                                                                   certifying                       1               -       7522              City    121-            7515 763
                                                                                                                                       1225 132 3910
booth        20                -       10215               8125 825 8222                                                                                                                   CEU     1    -       1553                                                  City    8 97 246
                                                                                                                                                                                                                                                                                  -




                                                           848                                                                         4012 698 6911
 1054 10614                                                                                                                                                                                chairs      11           -           15013                                  496 7515 7523
                                                                                                                                       6913 753
 10715 10719                                              Brissette                          2 68           -
                                                                                                                                                                                           chambers                             1               -       16611          7524 9010 9014
                                                           6512                                                                       canine           4           -    353                                                                                                                           496
 10723                     1085                                                                                                                                                            Champion                             1               -       1319          citys     ill           -




                                                                        1                       11019                                  5614 5616 717
 11112 1134                                               broad                         -
                                                                                                                                                                                           chances 1110                     -                                         civilian            111
                                                                                                                                                                                                                                                                                                          -           1220
                                                                                                                                      cannot1                           15520
                                                                                                                        662
                                                                                                                                                                   -

 1137 11310                                               broadcast                                 2l              -
                                                                                                                                                                                            134 154 958                                                               claiming                    11                  -       11113
                                                                                                                                      capable                               4817
 1173 12025                                                8325                                                                                                                                                                                                                                                               1
                                                                                                                                                           121-
                                                                                                                                                                                            9716 9723                                                                 clarification                                               -   577
                                                                                                                                       11621
 1219 12210                                               broke         11           -          6119                                                                                       changes                  12                  -
                                                                                                                                                                                                                                                886                   class     I1                    7217
                                                                                                                                      Captain              10               296
                                                                                                                    118                                                                                                                                                                       1
                                                                                                                                                                        -

 13111                     1327                           brought                    121-                                                                                                    1075                                                                     classes                                 -       7220
 1368 1398                                                 1515 13613                                                                  3012 316 3114
                                                                                                                                                                                           chapter          11                  -           6310                      clear    3          -
                                                                                                                                                                                                                                                                                                  366 9319
                                                                                                                                       3221 332 358
booths            14                   -   10122           13712 1388                                                                                                                      characterization                                                            11325
                                                                                                                                                                                                                                                             11   -


 10211 10214                                                                                                                           359 3619 3621
                                                           13810 13811                                                                                                                      361                                                                       Cleburne                        13                  -
                                                                                                                                                                                                                                                                                                                                  1314
                                                                                                                                                                            3314
 1042 1047                                                 13812 13816                                                                captains                 11       -


                                                                                                                                                                                           CHARBONNET1-                                                                6921 702
                                                           13817 1397                                                                 capturing                                 4724
 10411                                                                                                                                                                 11   -

                           10414                                                                                                                                                            610                                                                       Clerks          1                   -       756
 11215                     12021                           14525                                                                      car2-10025
                                                                                                                                                                                           Charbonnet                                       7           -   185       clerks          11              -       758
                                                                                                                                       10923
 12316                     12317                          brownish                              1               -       737                                                                 1821 4316 4523                                                            Cleveland                               3               -   5823
 13021367                                                                                                       813
                                                                                                                                      card    14       -
                                                                                                                                                            1026
                                                          building                   131-
                                                                                                                                                                                            5013 8412 8425                                                             5824 595
                                                                                                                                       10811 12323
boots        1                 9523                        4111 10017                                                                                                                                                                                                             1
                                                                                                                                                                                                 4 4416                                                                                               12517
                       -

                                                                                                                                                                                           charge                           -                                         client                  -

                                                                                                                                       12711
border   6721 1o                   -                      bulletproof                                       131
                                                                                                                        -

                                                                                                                                                                                            4417 4420 534                                                             clip    2   -       11914
 968 9914 9918                                             9524 13114
                                                                                                                                      cards   1            -       1029
                                                                                                                                                                                           charged              1                           641                        11919
 9923 10510                                                13116                                                                      care   5              10216
                                                                                                                                                                                           charters                 1- 7516                                           clock       1           -       1257
                                                                                                                                       10217 12123
 13010 1352                                               bunch             1                       1545
                                                                                                                                                                                           chases           1                           9521                          closed       1                              3022
                                                                                         -
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 13581635                                                                                                                              16221 1653
                                                          burden                                        1196
                                                                                                                                                                                                                                                                                                                                  1
                                                                             14                 -
                                                                                                                                                                                           check       17           -
                                                                                                                                                                                                                            6825                                      closed-circuit                                                  -

Border         12                      -   862             1198                  11911
                                                                                                                                      Carlson              z2           -
                                                                                                                                                                                2225
                                                                                                                                                                                            10420 1081                                                                 3022
 868 8611 878                                             Bureau                1                           1471                       239 2714 288
                                                                                                                                                                                                                                                                      closer          1 1152
                                                                                                -

                                                                                                                                                                                            10822 10825                                                                                           -

 8714 8724 8725                                                                                                                        3120 3122 3221
                                                          busiest               1                   -       9021
                                                                                                                                                                                            10920 1131                                                                clothes          9 3910             -


 8911 914 12822                                           business                           6                          10525          3915 3917 5222
                                                                                                                                                                                           checked                  1                           1267                   514 515 518
                                                                                                            -
                                                                                                                                                                                                                                    -

 1349 13412                                                                                                                            5818 595 614
                                                           11017 11718                                                                                                                                                                              1038
                                                                                                                                                                                           checking                     11                                             733 7313 7317
borders                1                   909                                                                                         616 6116 6125
                                                           1225 1296                                                        1297
                                       -



                                                                                                                                                                                           checkpoint                                   1           -       1267       7318 7320
born                       1246 1569                                                     1068                                          623 6216 657
                                                          busy
                                                                                                                                                                                                                                                                                                                          4013
         121-                                                      1                                                                                                                       Chief                        2717
                                                                                -

                                                                                                                                                                                                   171-                                                               clothing                    15              -
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           5017 5019 511                                                     1557 15818                                                         9820                                                1247 12411                                              16623 16623

           9625                                                             computer-based                                           ill   -          141- 211
                                                                                                                                               contains                                             12412 1269                                             court7- 63 1817
          clyde    Ill
                           -    1619                                         1371                                                               978 9711 1666                                       12610 12616                                             4515 8118 823
                                373                                                                    1                                       contents                            1202             12620 1284                                              12112 16611
                                                                            computers
                                                                                                                     -
          Clyde     ill-                                                                                                                                          11-


          Coast                     1121                                     10312                                                             continuations                           11-          12819 12914                                            COURT           1801
                                                                                                                                                                                                                                                                                        -   64 68
                    121-


           6710                                                             concern           121-           9514                               208                                                 1335 13616                                              1013 1418 1525

          code    3        -   1009                                          10518                                                             continue           31-              69               13617 13717                                             162167. 1610

           1001010919                                                       concerned                  171-                  2418               1013 1657                                           13821 13919                                             1821814                         1818
          cold    21-          3211 414                                      471 5120 5218                                                     continuing                 11l
                                                                                                                                                                                   -       3322     1409 14016                                              203 3224 338
                                                                             10521 10523                                                                                                   885      1418 14113                                              438 4311 4316
          collect        2- 481                                                                                                                continuous                  1l          -




                                                                             1117                                                                                                  6213             14211 14317                                             4321 4323 442
           5024                                                                                                                                contrived              11       -




                                                                                                                         1053                                                                       14418 1462                                              457 4511 4516
          collected             81-                 127                     concerns               3l        -                                 control     11         -    11623
                                                                             1056 10513                                                                                                             14625 1486                                              4520 5010 5015
           576 5712 5713                                                                                                                       controlling                 i       -       1634
                                                                                                                             163                                                                    14812 14914                                             5924 602 607
           581 5910 7016                                                    concludes                  Ill
                                                                                                                     -
                                                                                                                                               conversation                        1111
                                                                                                                                                                                               -


                                                                                                                                 483                                                                14923 14924                                             7024 713 7421
           7017                                                             conclusion                  111-                                    7310 7313 7720
          collection                21-                 7218                conduct51-                       637                                14323 14324                                         1572 15823                                              7612 7616 8018
                                                                                                                                                                                                    16015 1611                                              817 8112 8115
           7221                                                              6311 697 10525                                                     14325 1501
                                    -       2112                             1625                                                               1506 15314                                          1612 1619                                               8122 821 824
          College          11

          comfort                           3211                            conducting                                                          15318 15911                                         16117 16118                                             8218 849 851
                               1l   -                                                                    141-

                                                                                                                                                                                                    1666                                                    856 859 8512
          comfortable                           21-                          2713 10425                                                        conversations                               1   -




                                                                             11718 14324                                                        103                                                correctly         2             -
                                                                                                                                                                                                                                             4822           8514 8516 9614
           9520 10817
                                                                                                                                                                                                    16613                                                   9620 9623 9815
          coming           9        -       135                             confer    1   l
                                                                                               -       554                                     coordination                        1       -




                                                                                                                         6512                                                                      correspond                                                10324 11212
           9123 923 9923                                                                                                                        259
                                                                                                                                                                                                                                              -

                                                                            conferred              111-
                                                                                                                                                                                                                                       ill




                                                                                                                                                                                                    9712                                                     1205 1208
           11515 1224                                                       confidential                     Ill
                                                                                                                             -   818           copy   5    -      159 193
                                                                                                                                                                                                   correspondence                                            12414 1292
                                                                                                             1419                               11919 1251                                                                                        il   -
           14522 1582                                                       confirm       51-
                                                                                                                                                                                                    2723                                                     13221 13311
           15821                                                             1429 14424                                                         15923
                                                                                                                                                                                                   Counsel                              8214                 13314 13318
                                                                             16016 1614                                                                                   1615
                                                                                                                                                                                                                               -
          commander                           1l        -                                                                                      corner      5l     -                                               111




           4421                                                             confirmation                             6l          -              1620 175 1716                                      counsel       61-                   7112                  13321 13324

                                                                                                                                                1719                                                7322 7410 761                                            13922 1439
          comments                      31-             1633                 14819 16014

           16313 16314                                                       16020 1613                                                        Corp   il   -      8621                              1632 1668                                                14312 14318

                                                                             16124                                                                                                                 counter       3 4017                                      1458 15916
          commissioned 1l                                                                                                                                                  587
                                                                                                                                                                                                                           -
                                                                -                                                                              Correct      ill
                                                                                                                                                                      -




                                                                                                                                                                                                    11523 1335                                               15918 1606
           8819                                                             confirmed                  131-              1426                  correct     122             -       618
          commitment                                            871                                                                                                                                counties                        -     727                 1631 16413
                                                1l          -                1427 1601                                                          1825 1919 205                                                        Ill




                                                                                                                                                                                                                                         8914                16416 16420
          Communication                                         2   -       connection                   21              -
                                                                                                                                                2314 2822 2911                                     country       1231-


                                                                                                                                                                                                    8915 8917 8919                                           16424 1656
           14023 1476                                                        15721 1584                                                         307 314 315
                                                                                                                                                                                                                                                             16511
          Communications                                        21      -   conscious                  Ill
                                                                                                                     -       1317               317 3111 323                                        9014 9117 9121
                                                                                                                                                                                                    923 9218 932                                           courtroom                          8511
           14118 14121                                                      consent           1sl        -           1412                       327 333 348                                                                                                                             61-


                                                    1319                                                                                                                                            958 9823 9825                                            1123 12523
          company               1l          -                                1424 158 1517                                                      403 4020 4213
                                                                             3120 3122 346                                                      432 467 4712                                        1001 1019 1021                                           13320 13910
          Compaq 2                      -       149
                                                                                                                                                                                                    10520 1065                                               13914
           6920                                                              4013 4121 4123                                                     4713 4716 503
                                                                                                                                                                                                    11912 12125                                            cover1l                  199
                                                                             422 5112 7311                                                      5024 515 5121
                                                                                                                                                                                                                                                                               -
          compare               21-             1327
                                                                                                                                                                                                    1405 14410                                             CPU 4- 143 145
           14623                                                             7416 8014                                                          546 5521 569
                                                                                                                                 793            5612 571 5710                                       15517                                                   7020 7021
          compared                  11          -       12523               considered                   51-

                                                                                                                                                5711 5722 583                                      COUNTY                                    1662          cried                   6120
                                                                             802 11024 1303                                                                                                                          1l                                            11
                                                                                                                                                                                                                                   -                                       -
          comparing                     Ill         -




           14620                                                             16319                                                              5821 6017 618                                      county    4        -
                                                                                                                                                                                                                               99                          crime      20- 1918

                                                                            consistent                                       2012               642 646 658                                         331014051436                                             1923 208 2013
          comparison                          il        -                                              141-


           2514                                                              4921 5111 15619                                                    6510 6513 6520                                     County 1141-                        1511                 2618 297 2910
                                                                            construction                             2                          664 6616 673                                        1512 2112 2117                                          428 429 434
          Complaintil                           -                                                                                -




           12722                                                             8617 8619                                                          6711 6715 687                                       5224 535 536                                            445 4412 4416

                                                                            Contd                      613                                      6914 6918 6922                                      5310 5713 6715                                          4422 451 453
          compliant                 11-                 12721                         1l       -



                                                                                                                                                7018 7413 754                                       7120 725 757                                            4524 5915 6821
          comply           111-         1336                                contact       71       -     625
                                                                                                                                                                                                    1665                                                    7012
                                                                             1321 795 14217                                                     783 8820 896
          comprised                     i           -   7124
                                                                                                                                                9122 9411 9610                                     couple                      8420                        Crime 131-               1404
          computer                  19l             -   143                  14811 15911                                                                                                                     131-



                                                                             16120                                                              9622 9625 979                                       16010 16011                                              14022 14117
           147 151 707
                                                                            contacted                                    294                    9714 9715 9813                                     course    sl        -
                                                                                                                                                                                                                               2116                        criminal            3- 2219
           709 7011 7014                                                                           121-


                                                                             14916                                                              9912 9916 9919                                      2324 2325 1287                                          6620 15223
           7323 10615
ýý
     ..




           10718 11322                                                      contain       3- 817                                                1044 1048 1049                                      12925                                                  Criminal                21-      15222

           11413 11420                                                       8112 967                                                           10720 10914                                        Court    9l   -
                                                                                                                                                                                                                       1217                                criteria     111
                                                                                                                                                                                                                                                                                    -   10910

                                                                            contained                                    1921                   1179 1211 1225                                      6010 736 832                                           cross      el       -    182
           11520               12123                                                               sl            -


                                                                                                                                                12311 1242                                          8412 1663 1664                                          2412 4521 7125
           12512                1371                                         281 462 9724
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 7719 10024                                                  danger         3           -    13022                          4412 466 469                                               13418 13913                                                      difficulty           it           -    1381

 12414                1458                                    13023                                                         5118 521 6917                                             described                    131
                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                         5915           DIRECT           131          -       613
CROSS            31-                   183                   dangerous                       1221-                  664     12925                                                      5925 1263                                                         8520 1343

 12415 14510                                                  793 11413                                                    decision       4- 3419                                     describing                    11l
                                                                                                                                                                                                                                     -       6215       direct   161
                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                  1611
cross-examination                                             11519 11522                                                   3522 4618 5318                                            designations                                   1I          -       3119 5212 685
 31-    182.12414                                             11611 1173                                                   declaring         11l           -       7522                4821                                                               1112015815
 1458                                                         11712 11715                                                  decline    2 5113 -
                                                                                                                                                                                      desktop            Ill
                                                                                                                                                                                                                    -       707                         directing             11          -       5121

CROSS-                                                        11721 11724                                                   5114                                                      details   1            -      505                                        4 2914
                                                                                                                                                                                                                                                        direction                         -




 EXAMINATION                                         3   -    1189 11823                                                   Defendant               15              -   63             detain    4 795    -
                                                                                                                                                                                                                                                         484 796 13613
 1831241514510                                                1264 12620                                                    961817 3620                                                14912 16321                                                      directions                1               -       12218

cross-trained                                2       -        13123 13723                                                   4515 7415 823                                              1641                                                             directives                41          -



 2412 7125                                                    1388 1398 1401                                                11211 11214                                               detained            111-                   1578                     13125 13823
cross-walk                             ill
                                             -                14711 16319                                                   11822 11914                                               detaining                  11         -           12913             1421 1425
                                                                                    13916
 10024                                                       dark    121-                                                   12111 1324                                                Detective                  131-                        443        directly         5        -       1316
crossed              11    J
                                   -       1309              Darrah         141-                    821                     13921 14416                                                5013 6014 672                                                      7824 10221
crosses              1l        -           1059               824 913 922                                                  defendant               11-             8111                677 686 6815                                                       12210 12922

crossing              1                -     9918             1011 1022 113                                                Defendants                      31-                         7025 7412 8222                                                   discharge                 1l           -          8622

CSR     i1   -       16622                                    115 117 1114                                                  15813 15914                                                8412 8425 851                                                    discovery   426           I6           -




cuffs   1        -        13813                               673 677 6815                                                  15919                                                     detective                19                -       615              462 4619 816
                                                             DARRAH                     1 673                              Defense                                 1521                925 1014 1611                                                      827 1251
Cummings                               4 279                                                        -                                                  -
                                                                                                                                        11    ii
                                             -




 438 739 12417                                               Darrahs                    2 686   -                           463 7112 7117                                               185 1821 217                                                    Discovery                     1l          -       211
                                                              7412                                                          7322 7410 761                                              233 249 3713
CUMMINGS                                   491   -                                                                                                                                                                                                      discrepancy                            Ill
                                                                                                                                                                                                                                                                                                              -




 1522 184 1811
                                                             data    141-           818 819                                 7719 816 827                                               4316 4523 6323                                                     12515

 1820 1821 201                                                8110 8312                                                     8214                                                       675 716 7220                                                     discussed                     121-                    5215
 204 2613 332                                                database                   5           -       14621          defensive          4                -
                                                                                                                                                                   885                 7422 7620 8012                                                     14314
 336 339 4310                                                 14623 14624                                                   8815 892 894                                              detectives                        11               -       820    discussing                        1l          -           112

 4320 441 445                                                 1472 1473                                                    definitely 1l                   -       16019              detectives                    2                -       818        discussion                        121
                                                                                                                                                                                                                                                                                                      -




 456 459 4519                                                databases                      41              -              definitive        21-                   7114                231                                                                3323 399
 4522 4523 4819                                               10620 1078                                                    7119                                                      detector                          -       10715                   Discussion                            11          -
                                                                                                                                                                                                         Ill




 5012 5016 5925                                               16021 16025                                                  degrade        11       -       7225                       detectors                    11        -           10717            16510
 605 609 6014                                                Date    1          -       16622                              Department401                                 -
                                                                                                                                                                                 75   determine                    5                -
                                                                                                                                                                                                                                             2813       dispatch7l- 257

 7022 7025 711                                               date    81-                152 2223                            77 718 816 218                                              7013         1082.                                   1376         2515 269 2614
 765 767 7614                                                 8318 8320 841                                                 232 2321 241                                                1378                                                              4210 4820 501
 8019 8024 8216                                               10618 14320                                                   244 2822 2911                                             determined                            11l
                                                                                                                                                                                                                                             -   4525   dispatcher                        2           -
                                                                                                                                                                                                                                                                                                              2516
 8411 8424 9811                                               15614                                                         2917 2920 3225                                                                                                       7312
                                                                                                                                                                                      developed                     1l               -                    262
 9814 1201                                                   dates                          5516                            537 6225 6414
                                                                      Ill
                                                                                    -
                                                                                                                                                                                      diagram            110                -        978                dispatchers                           11              -




  12416                   12611                              daughter                   I1          -       1718            6422 732 7712                                              9717 9819 9910                                                     8316
 12613 12824                                                                                                        5424    8212 8213 879                                              9911 1042
                                                             day-to-day
                                                                                                                                                                                                                                                                         2 611
                                                                                                            -

                                                                                                                                                                                                                                                        display
                                                                                             111                                                                                                                                                                                  -



 13222 13224                                                 days    21-                6024 9325                           1349 14216                                                  13524 1361                                                        15816
 13310 13313                                                 deadly         2           -    1312                           14222 1433                                                  14514 14516                                                     displayed                 11           -      6020
curiosity         1                    -     5724             1313                                                           14417 14423                                              dictates           1          -       637                         distance             21           -
                                                                                                                                                                                                                                                                                                  941
curious          2             -
                                           12516             deal    2      -
                                                                                    9425                                    1455 1475                                                 Diego10l 618 75          -                                          943
 12716                                                                                                                      15024 1513
                                                              12516                                                                                                                    76 718 99 195                                                    distinction 11                                -       622
cursory                                    920               dealing                                11223                   15212 1565                                                 6714 9013 9210                                                                                     756
                               -
                                                                                131-
                                                                                                                                                                                                                                                        District 13
                     1.1
                                                                                                                                                                                                                                                                                  -



custody              3 721         -
                                                              11615 12619                                                   15716 16013                                                 1145                                                              1664 16623
 5520 12624                                                                                                                 16121 16125
                                                             dealt    2 8914    -                                   1286                                                              differ 1   1
                                                                                                                                                                                                     -         4416                                     divisions              11-                    6321
Custom                         -           878               death 21-                      801 808                        department                      1o            -

                                                                                                                                                                                      difference                                             257        DNA
                                                                                                                                                                                                                   1l                                                     7013
                     l3J                                                                                                                                                                                                            -

                                                                                                                                                                                                                                                               1l    -



 8724 1349                                                   debris                         7223                            2210 2410 2414                                            different 291-                                    243
                                                                                        -
                                                                         Ill                                                                                                                                                                            doctor       1l       -       1322
Customs                   81-                862             deceased                       2                   1616        301 333 465                                                2511 2714 2817                                                   document    1017              8
                                                                                                        -
                                                                                                                                                                                                                                                                                                  -


 868 8611 8713                                                426                                                           532      83      11                    1437                4415 5621 571                                                      508 5010 589
 8725 8910                                                                                                                  14921
                                                             December                       13                                                                                         949 9410 9421                                                      637 1116 1601
                                                                                                                -




 12822 13411                                                  2724 506 6413                                                departmental
                                                                                                                                                                                       953 9511 9518
                                                                                                                                                                             -
                                                                                                                                                                   11l

                                                                                                                                                                                                                                                        documentation                                             1111
                                                                                                                                                                                                                                                                                                                         -

customs                                      8813                                                                           205
                      ill
                                       -
                                                              8923 8925 986                                                                                                            9617 9618 9711                                                     1              1092 1035
                                                                                                                           depicted                            982
                                                              10410 11125                                                                                                              9712 1023
                                                                                                                                                       -


                                                                                                                                                                                                                                                          1081 1092
                                                                                                                                          11l




                            D                                 11921 1253                                                   depiction         2             -       986                  10615 10619                                                       11115 1249

D.A.s                       196 2021
                                                              13510 1393                                                    11920

                                                                                                                                                                   5413
                                                                                                                                                                                        1072 10916                                                        12752
         21-                                                  13924                                                        deputized             21-                                    11010 12218                                                       127114 15622
                                   273                                                                                      5416
dagger       1l            -
                                                             decide         2 5217      -
                                                                                                                                                                                        1404 1405
                                                                                                                                                                                                                                                        documenting                                   ill
                                                                                                                                                                                                                                                                                                                  -



Dagnell          131-                      233                532                                                          describe       61       -           725                      14817 16025                                                       5815
 2310 249                                                    decided                8 3424                                  925 1126 12919                                                                         1                         293
                                                                                                                                                                                      differently                                                       documents                                                 757
                                                                                            -                                                                                                                                       -
                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                          191
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11-dog
                                                                                                                                                                                                                                                                                                     6




 815 826 10318                                           9410 9523 1051                                           ENRIQUEZ                    1             -       1341    234 3117 4717                                         explosives                                      I11
                                                                                                                                                                                                                                                                                        -




r
 10416                       10819                      DVD 2         -       211 215                             enter    22    -       444 447                            481 5017 569                                           10515

 11620 1193 1558                                                                                                   8916 8919 9323                                           5916 6913 7218                                        expression

       41-           352 568                                                      E                                9823 9825 1001                                           7221 1667                                              11311

 5612                                                                                                              10025 1017                                              evidentiary                        1l       -   5023   expressionless                                            1l   -



done        1111-                914 917                early    81-          620 825                              1019 1021                                               evolve    11-                  395                      11220

 5715 668 669                                            211 2818 2819                                             10417 10422                                             evolved      111-                      397             extinguished                                          1   -



 6917 827 1039                                           364 3611 3613                                             10524 1083                                              exact 81-              1912                             4713

 12724                       1579 1658                  east    11-           10323                                10820 1116                                               2223 448 4410                                         eyes      1             -       625
                                                                                          8321                     1132 1152                                                913 965 966
door        6            922 3922                       Eastern           11      -
                     -




 405 1005 1007                                          efforts-               3821 395                            11824 12325                                             exactly      7         -           197                                                             F
 10014                                                   6016 6116                                 1527           entered       171-                2013                    3920 491 6113
doors        2           -           10113              efforts       3 917 525
                                                                              -                                    234 3015 3517                                            6611 682 1076                                         fabrication                                     11    -   376

 10115                                                    16217                                                    3915 471 4715                                           exam     1     -       9723                            face     151
                                                                                                                                                                                                                                                      -           93 761
double           1               -       10824          eight    4 7114   -                                        7711 783 7819                                           EXAMINATION                                     121-    10220 11311

down         1241-                   2513                 12811 1299                                               8319 841 843                                             613 183 714                                           facility            4               -
                                                                                                                                                                                                                                                                                  722 725
 359 562 6119                                             13413                                                    846 901 1012                                             8410 8520                                              914 686
 6920 8310 852                                          either    14          -   321                              12014                                                    12415 1294                                            facing             4                -       994 995
 9521 995 999                                            3220 365 373                                             entering       6 3419       -
                                                                                                                                                                            13223 1343                                              10012 10216

 10920 1144                                              542 814 1005                                              8915 10520                                               14510 1608                                            fact   181-                 2622 272
 11921 1306                                               10013 10317                                              1197 11914 1381                                          16211                                                  363 5022 5918
 13012 13315                                              1057 13010                                              enters    3        -    262                              examination                             41      -       9918 1199
 1366 13612                                               13120 1568 1632                                          8511 13320                                               182 5212 12414                                        factor       1 393              -




 13811 1549                                             elbow     11-             189                             entire    1    -       4421                               1458                                                  facts       2 1023          -                             112

 15412 15419                                            electronic                11          -    16020          entirety      1         -       1823                     Examiners                              21-             fair   to           -
                                                                                                                                                                                                                                                                  2415 2925
 1553 16420                                             electronically 11                                     -   Entry4 - 906 9112                                         1613 171                                               3622 3822 4123
Dr   1121
             -       1325 142                             16016                                                    9225 13516                                              example            1l              -    1325            5920 6022 947
 1411 1414 151                                          eliminate              1 392      -
                                                                                                                  entry    25        -
                                                                                                                                          2016                             except    111
                                                                                                                                                                                                  -       164                       1318 13124
 152 154 3724                                           emotion               7 6020  -                            3619 4723 9020                                          exchange                   11           -   1137       fairly      121-                    3611
 381 6921 6924                                           611 6123 6125                                             9025 9113 9214                                          excuse       7             -
                                                                                                                                                                                                              2011                 9720
 7922                                                     629 6212 6220                                            9218 9224 9313                                           413 416 6015                                          falls 11            -           1496
drawing                  11              -       621    employed                  91-              1310            9317 953 1022                                            6515 701 1573                                         familiar                    4               -
                                                                                                                                                                                                                                                                                   486
dress        2           -       864 9620                 2117 861 862                                              10225 1033                                             excused            31-                  13311            548 7323 11021
dressed                  21-                     634      867 1347 13411                                           10322 1045                                               13314 16417                                           far    26       -
                                                                                                                                                                                                                                                              2418 259
 9517                                                     13413 1353                                                10519 10713                                            execute  1 131                 -
                                                                                                                                                                                                                                    2616 4222 449
drew        1        -       6717                       employment                            11      -            1111 11115                                              exerting 1  526                -                        4416 4422 4625
drivers                  17                  -
                                                 1113     1352                                                      12023 14615                                            exhibit 2  9718        -                                473 478 5119
 1118 1119                                              end     11-       555                                      1496 15510                                               10122                                                   5217 551 1036
                                                                                                                                                                    1324
 11114 11313                                            Enforcement                               4       -       equipment                   Ill           -
                                                                                                                                                                           Exhibit      13                -       1523              10318 10616
 11314 11318                                              14023 14121                                             Ernesto        2            -     13319                   161 7424 7618                                           10621 10824
 1166 12119                                               15222 15223                                               1346                                                    8220 975 978                                            10924 1116
 1241 1244                                              enforcement                               231-            ERNESTO                     1         -       1341        9816 11918                                              1154 12025
 12623 12717                                             625 714 7324                                             erratic   1        -    884                               1206 1209                                               1258 12510
 1326 15510                                              791 8715 10313                                           escorted           31-                1169                15814 15919                                             12513
 1564 15615                                               10321 1078                                               1272 13610                                              exhibits       3               -
                                                                                                                                                                                                                  5422            fatality         1 804                  -




driving              21-                 2517             10910 11512                                             especially              121-                  1058        8120 16614                                            father          2 1721          -


 12925                                                    11610 11810                                              1317                                                    exigent      111           -       6825                  1722
                                     1171
drops        Ill-                                         11813 11815                                             essentially                     3         -
                                                                                                                                                                    368    existed      11            -       4725                father-in-law                                         1   -




drugs        11          -           1102                 1232 1296                                                512 6913                                                existence                  1           -    16017        1721
duly    3 611 8519
                 -                                        13423 13515                                             establish              111-           599                exited 11-                 326                         fax    2 195 199
                                                                                                                                                                                                                                              -



 1342                                                     14520 1461                                              estimate           11-            9023                   Exp 1- 16622                                           FBI    3 1471 1473
                                                                                                                                                                                                                                                 -


during           13                  -
                                             3125         15220 15717                                             ethnic    11       -    931                              experience                                               14724
                                                                                                                                                                                                              21-
 3321 3623 3913                                           16317                                                   events    2        -
                                                                                                                                              4410                          2213 11222                                            feature                 1 1118          -


 3917 411 4225                                          enhanced                  4               1113             11921                                                                                                          federal                 3 8715
                                                                                              -

                                                                                                                                                                           expire    11       -       6418                                                                -


 509 6020 1163                                            1118 1119 1241                                                                      2
                                                                                                                  eventually                                                            3                     1217                  1058 13716
                                                                                                                                                        -

                                                                                                                                                                           explain                    -

 1202 1385 15314                                        enlisted1                 -       6723                     10120 11512                                                                                                                                                     1471
                                                                                                                                                                            622 8311                                              Federal                     111-

duties                               891                Enriquez 7                            13319                                                 5 934                                                                                2
                 41                                                                       -
                                                                                                                  everywhere
                                                                                                                                                                                                      3                                                       418 4116
                             -

                                                                                                                                                                           explained                                   1223       feet
                                                                                                                                                                -
                                                                                                                                                                                                                  -                               -

 8910 10414                                               13321 1346                                               9423 10110                                                                                                                         6518
                                                                                                                                                                            1224 623                                              felt   111-

 13520                                                    14512 1604                                               10210
                                                                                                                                                                           explaining 21-                                  112    female              1               -           1219
duty        4 8620                                        16010 16417                                             evidence                                      163
                                                                                                                                     13                                                                                                    1
                 -

                                                                                                                                                                            10125                                                 Tess                            367
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                                                                                                                                                                                                                                                      -
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few       6 2510 3823 -                                        fireman                I1              -       5425                 16624                                                               13220 13312                                                               1179 11711
       4713 505 938                                            firemen                11              -       473                forth        2                 -       431 5123                       13319 1344                                                                11721 12223

       12420                                                   fires 21-                  2417 552                               fought                 I1              -    4712                      13920 13923                                                               12624 1278

field       2 785 7823    -                                    first   29         -           611 822                            four    10                     -       5216                           14220 14314                                                             handle                 2               -
                                                                                                                                                                                                                                                                                                                              11525

                                                                                                                                   5220 5524 6912                                                      14319 1457                                                                16323
fields       2 7724            -                                2118 2821 2824
       8311                                                                                                                        869 8620 875                                                        15917 1607                                                                                                 2                       5118
                                                                294 309 312                                                                                                                                                                                                    handling                                           -




fifth       1             -    507                              3110 3517 4612                                                     12725 1281 1287                                                     1609 1629                                                                 1538

figure 1                        -      1310                     4725 5811 8519                                                   frame 11-                                  941                        16415 16419                                                             hands                  2           -       11523
                                                                                                                                                                    12417                              1651                                                                      1334
figured                       111
                                       -       194              8625 9819                                                        Fred         Ill
                                                                                                                                                            -



file     12       -           191 758                            10421 10617                                                     free 1I                -       4024                                 gill   111-       16413                                                   handwriting                                            2       -




filed                          8413                              1086 1342                                                       Friday                 3               -
                                                                                                                                                                             556 559                 given       19        -
                                                                                                                                                                                                                                   1024                                          1594 1595
            i1            -




files 11                  -    6317                              14014 14019                                                       1659                                                                2020 275 948                                                            handwritten                                            1       -




                                                                 14021 14221                                                                                                717                        9516 1064 1201                                                            4525
fill
        1     -       3116                                                                                                       front        l201-



filled                              8312                         14514 1501                                                        10219 1035                                                          1251 1385                                                               harder                 111-                    9512
              111-


filling           I1           -       319                       1505 15214                                                        1128 11412                                                        glass       13        -       13112                                       harm           3           -           10514
                                                                 16120                                                             11418 1162                                                          13114 13117                                                               10517 11014
finally               1            -   6920

fine                           1814 3510
                                                               fish    1    -         11425                                        1167 12113                                                        Glynco            2           -        8716                               Harris 51-                                 1313
          151-

                                                                                      2221 2224                                                                                                        13421
       3825 8115 8124
                                                               five    181-                                                        12114 12210                                                                                                                                   1316 6614 701
                                                                 5213 5214 5216                                                    12213 12215                                                       Goode             171-             6423                                     706
fingerprint 31-
                                                                 554 782 834                                                       1289 13621                                                          6425 6517 7718                                                          hash                               8313
       13625 14015                                                                                                                                                                                                                                                                           11-

                                                               flagged                61-                     12913                13624 1374                                                          7720 8414                                                               headed                  1                          1231
       14017                                                                                                                                                                                                                                                                                                              -


                                                                                                                                                                                                                                                            644
fingerprinting                                         11-
                                                                 13719 13722                                                       13718 14321                                                       governed                      11               -
                                                                                                                                                                                                                                                                               header                  1              -       815

       10823                                                     1388 1398 14614                                                   15015                                                             government1                                                    -
                                                                                                                                                                                                                                                                               heading                        I1              -       1232

fingerprints                                    181-
                                                               flee    1    -         10511                                      full   121     -           10920                                      1089                                                                    heads                  111
                                                                                                                                                                                                                                                                                                                  -       11514
                                                                                                      9213                         11623                                                                                                            6311
                                                               flying i                                                                                                                              governs                   11                                              hear         2                 1154
                                                                                                                                                                                                                                            -

       13522 13815
                                                                                          -                                                                                                                                                                                                           -
                                                                                  I




                                                               focus                                  11518                      fun                -           1146                                 graduate                                           2114                     15116
       14020 14620                                                         11                                                           11                                                                                         11
                                                                                          -                                                                                                                                                     -




       14624 1557                                              folks     1            -       7210                               function                               12       -       5718        graduated                          3 2118          -
                                                                                                                                                                                                                                                                               heard              2           -       491 1364
       15523 16116                                             follow         17              -       2620                         1262                                                                2119 8721                                                               hearing                        8           -
                                                                                                                                                                                                                                                                                                                                      1520
finishes 11                                -    9416            423 604 647                                                                                                                          graduation                             11-                         8723     1524 3110 764
fire     57               -    1225 1919                         11720 14817                                                                                                G                        grandfather                                    111
                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                 768 7610 9814
                                                                 1635                                                                                                                                  1724
       2210 2213 2410                                                                                                                                                                                                                                                            1204

       2417 2618 2818                                          followed 11-                                       2812           gate     4                 -       810 1004                         greatl                -       1067                                        help         81-               4718 484
                                                                                                                                   10013
       295 333 3416                                            following                              1       -           2012                                                                       greater 111-                           1099                                 6723 6810 8012
                                                                                                                                                                            14522
       356 402 425                                             follows                13              -       612                gates              I1              -

                                                                                                                                                                                                     green         4           -    1129                                         1155 13118
                                                                 8519 1342                                                                                                   528
       429 4211 4218                                                                                                             gather                                                                13612 13916                                                                                                                        3
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                                                                                                                                                            Ill
                                                                                                                                                                                                                                                                               Hemisphere                                                         -




       444 4422 452                                            Force        1             -           7121                       gathered                               14           -       5213    ground             11          -           1307                             11021 12319
       464 465 467                                             force       151        -           3413                             5910 5916 7924                                                    group         1           -       11421                                     12722
       4613 4615 4616                                            5416 7124 7213                                                  general                            3 636    -

                                                                                                                                                                                                     groups            11           -       931                                Herb          I1           -       915
       475 479 4710                                              13017                                                             647 1321                                                          guess         2           -       8119                                    hereby 11-                                     1665
       4719 4722 484                                           Ford     s1-                   1321                               generally                                  2 648        -
                                                                                                                                                                                                       9812                                                                    hidden                  11-                    10924
       489 4812 4813                                             1325 142 1411                                                     6419
                                                                                                                                                                                                     guidelines                         1                   -       649        high         Ill
                                                                                                                                                                                                                                                                                                      -       11622
       4821 497 5217                                             1414 152 154                                                    generated                                   1 1517          -

                                                                                                                                                                                                     guilt21-                  3821 396                                        Hill               -    4910
                                                                                                                                                                                                                                                                                      Ill



       532 5310 5311                                            6921 6924                                                        gentleman                                   7 6117                          5          6621 1484                                                                         5
                                                                                                                                                                                                 -
                                                                                                                                                                                                     guy           -                                                           himself                                    -
                                                                                                                                                                                                                                                                                                                                  3915
       5315 5316 5317                                          Fords          1                   -       151                      652 9317 12014                                                      1529 15210                                                                11124 11616
       5318 5322 5324                                          foregoing                              1           -       1666     12211 12523                                                         16221                                                                     1323 1331
       543 5612 5825                                           foreign            11I                 -   9121                     12923
                                                                                                                                                                                                     guys      1       -           691                                         history                 1              -       6620
       6912 721 7210                                           foremosti - 10421                                                 gentlemen                                       2 6714          -
                                                                                                                                                                                                                                                                               hit1          -        15625
       7223 804                                                                               1                                    16424
                                                               forensic                                   -   7210                                                                                                                  H                                          hold         181       -       10921
Fire 81-                       2321 241                        Foresman                                   1               2722   George                         31-                  823
                                                                                                                                                                                                                                                                                 13416 14421
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       244 3225 5224                                           Forest1                                    4910                     1011 672                                                          half    3          4016 4018                                                14816 1503
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       535 5713 5824                                           forget                                 585                        Georgia                            2        -
                                                                                                                                                                                         8716          4224
                                                                            11-                                                                                                                                                                                                  15124 15215
firearm                       41-              5422            forgot1                        -       1612                         13421                                                             hallway               I1           -       10119                            15324
       886 13024                                       13422                                                                     GILL 34                                    8510                     HAND 1
                                                                                                      1               2113                                                                                                             16616                                                      1
                                                                                                                                                                    -

                                                               forgotten                                      -                                                                                                                -
                                                                                                                                                                                                                                                                               holds                          -       4814
firearms                           1        -   13422          form     10                -           1412                         8521 9418 9420                                                    hand      3        -
                                                                                                                                                                                                                                   8514                                        home               1           -       5517
                                                   2213          1424 158 2016                                                     9624 989 9813                                                       1014 15812                                                              Homeland                                       2               8710
firefighter                                151-
                                                                                                                                                                                                                                                                                                                                          -



       2316 275 5223                                            3120 4013 4121                                                     9817 1041                                                         handbook                                                   636              1348
                                                                                                                                                                                                                                                        -
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       5417                                                     4123 1057 1089                                                     11210 11213                                                                                     4                    1169
                                                                                                                                                                                                     handcuff                                   -
                                                                                                                                                                                                                                                                               homicide                               7 723           -



firefighters                                   5               forms        3                         205 209                      11924 1207                                                          11714 12614                                                               817 925 792
                                                   -
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       2412 276 2719                                            8014                                                               12010 12413                                                         13811
                                                                                                                                                                                                                                                                                 802 806 16318
       2810 7125                                               Fort3                      2411 725                                 1293 1295                                                         handcuffed                                 6                              honest1                                        2512
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honestly            l    -    5319        16112                                                  inconsistencies                            i   -    8117 10311                                                 instructions                   2          -




Honor         311-       1012            Hummels                  51-                     712     3813                                                10617 10922                                                345 346
 1417 1519 1524                           5017 594 6017                                          inconsistent             111
                                                                                                                                    -       804       11011 1147                                                instructors             11-                   243

 165 1811 1820                            14020                                                  incorporate          l1-                             11411 11519                                               integratedlll                   -        13625

 202 4519 4522                           hundred           11         -           11625           7818                                                1164 11618                                                inter   1   -   9113

 606 609 711                             hurt    41-    11616                                    incorporated              3            -             11619 1186                                                interest        121-       792
 7525 767 825                             13121                                                   7515 7523 7524                                      12215 14011                                                16318

 8217 8425 989                           husband            Ill
                                                                          -       6012           Incorporated              l1-                        14024 14416                                               interested             2 2414   -




 11210              1201                                                                          7622                                                1453 1454 1478                                             14913
                                                                                                                                                      14716 14718
 1207 12612                                                       ý                              Incorporation                ill
                                                                                                                                            -
                                                                                                                                                                                                                interject 11           -       602
                                                                                                                                                      1487 14811




11-honorable
 1293 12923                                                                                       763                                                                                                           international 51                              -



 13222 13313                             1-94131-       942 10023                                indicate    121-     2520                            14824 14910                                                9113 9115 929
 13316 1459                               1013                                                    5018                                                15424 1567                                                 9914 9918
 1607 16415                                                10019                                                                                      15612 15614
                                         I-94s   21-                                             indicated       12       -
                                                                                                                                261                                                                             International

                                          10024                                                                                                       15618 15715




141-hospita1131
                        111
                              -   8622                                                            371 412 588                                                                                                    9212

Hospital            21-       1314       IAFIS       21-     16116                                5917 6019 663                                       1586 15822                                                interoffice                     -        2723
                                                                                                                                                                                                                                       111



 701                                     ID 14   -   1025 1027                                    1479 14911                                          1591 16024
                                                                                                                                                                                                                interrogation
                              1322        1089                                                                                                        16214 16215
                         -
                                                                                                  15213 15825                                                                                                    3717 3720 389
                                                                                                                                                      16325
 6921 1101                               idea    121-   407 1288                                 indicates       2    -       5411                                                                               3814
                                                                                                                                                    Information
hotel    121-        622 1120            identification 18                                 -      16119                                                                                      141-
                                                                                                                                                                                                                interrupt        iii
                                                                                                                                                                                                                                           -    1439
                    4016 4018             1015 1420 7423                                                                        263                   1404 14022
hour    121-                                                                                     indicating       131-                                                                                          interview         1271-                  617
                                          7519 11025                                                                                                  14117 1476
hours         191-      620 825                                                                   6216 1406                                                                                                      618 297 302
 3722 5512 843                             12524 1328                                                                               2515            informed               2                         1434
                                                                                                                                                                                                                 3014 3018 342
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 8417 8420 1068                           15813                                                  Indictment         111-            8110            Ingram         111          -

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 10610                                                        6                       1625                                    1316                                 i                919
                                                                                                                                                                                                                 3524 3623 3717
                                                                                                                                                    initial               -
                                         identified                           -                                                                               l
                                                                                                 indirectly 21-

house         151-      4216               171 11211                                              1317                                                4723 589 5911                                              3720 388 3814
 4217 5622 571                            12017 12111                                                                                                 889 8812 1478




 31-3225
                                                                                                 individual       1451-             1321                                                                         3819 3820 391
 579                                      13921                                                                                                       15023 1578
                                                                                                  1621 1716 309                                                                                                  3913 3918 3919
                                                                                                                                                      16110
housekeeping                      11-    identifies          121-                     5411        354 355 3519                                                                                                   4912 506 509
 162                                      6612                                                                                                                                                   14811
                                                                                                  396 7819 7915                                     initiating                                                   5116 6111
                                                                                                                                                                                         -
                                                                                                                                                                          ill




                     9925                                                     1614                                                                                                               1637
huge     ll     -                        identify       161-                                      8311 1045                                         initiative            ill
                                                                                                                                                                                        -
                                                                                                                                                                                                                interviewed                    11         -


Hull    1131-        296 3012             4718 968 12517                                          10713 1091
                                                                                                                                                    Initiative            31-                    11022           6021
 316 3115 3221                             12518 12519                                            1106 11111                                          12320 12722
                                                                                                                                                                                                                interviewing

                331 332                                               2                   5017    11124 1123                                                                             803




 11-1717
                                                                                                                                                                                                                 3620 6714 1326
                                                                                      -                                                             injuries                        -
                                         identifying                                                                                                                ill




 358 359 3619                              14716                                                  11213 11816                                       Inn   21-      1121 6710                                    interviews             11-                7815
 3621                                    identity                             13815               12017 1213                                        inquire 21-                         11017                   introduced                                    319
                                                                  -

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Hummel                        618        illegal     21-          10418                           1214 12224                                          1497
                    1661-                                                                                                                                                                                       introduction                    il            -




 917 1212 139                              11014                                                  12320 1266                                        inquiries             111-                   14719           1203
 1310 1624 1625                          image 11- 3111                                           12614 1307                                        inquiry 81-                         1478                    investigate                                   1408
                                                                                                                                                                                                                                           ii        -




 177 1711 1712                           imaged         1         -       8013                    13017 1323                                          14810 1492                                                investigated
                1718 1720                images 131-132                                           1327 13225                                          15211 1557                                                 2418
 1721 2824 294                            4724 1371                                               1365 1367 1372                                      1578 15818
                                                                                                                                                                                                                investigating                       2             -

 297 2910 2919                           immediate                                                1374 1381 1394                                      15821
                                                                                                                                                                                                                 5314           6312.
                                                                                      -
                                                                      Ill



 2925 3010 318                             12922                                                  13910 14015                                       inside        131-              83 920                      investigation                       121               -




 31-6012
 3115 3123 322                                                                                    1435 14320                                          2619
                                         immigration                              141-
                                                                                                                                                                                                                 139 1320 2424
 3421 3425 357                            8813 10824                                              1447 1554 1563                                    inspect41                            8915
                                                                                                                                                                                                                 2621 2713 3923
                                                                                                                                                                                -




 3524 372 374                             13420 13423                                            individuals                                          8918 10415
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                                                                                                                                                                                                                 431 5218 7312
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 3820 3821 396                                                                            5919    1081                                                13523
                                         implicated                   11-                                                                                                                                        7817 14112 1446
 3910 3917 4013                          impound                              -       722        individuals         31-                            inspecting                          2            -   8916
                                                                                                                                                                                                                Investigation
                                                            Ill                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                    Ill


 4020 416 4122                           in-service               Ill
                                                                                  -       3713    1614 1369 13712                                     901                                                        1472
 5520 5920 601                           incendiary                   iI                  5215   indoor   3   -   1017                              inspection                          16           -   1094   investigations
                                                                                      -




                6020 611                 incident                             4922                10114 12015                                         1183 11825
                                                           141        -
                                                                                                                                                                                                                 2220 7918 1625
 6111 6422 663                            501 12422 1252                                         inform            1432                               13523 1375
                                                                                                          131-
                                                                                                                                                                                                                investigative                   3             -




 1o1-1518
 6714 732 7811                                                                                    14319 14419                                         13719
                                         incidents           2                -       12916                                                                                                                      237 513 645
 12622               12711                                                                       information                                                                                         13514
                                          12919                                                                                                     inspector
                                                                                                                                                                                                                                                                  74
                                                                                                                                                                                             -
                                                                                                                      1541-
                                                                                                                                                                                                                investigator
                                                                                                                                                                                ill
                                                                                                                                                                                                                                               181-
 1395 13924                                                                                       2621 2812 2813                                                                                 954
                                         include        51-               727                                                                       inspects              121-
                                                                                                                                                                                                                 821 2314 2320
 14017 14124                                                                                      401 5110 528                                        955
                                          729 798 7911                                                                                                                                                           246 2421 533
 14324 14513                                                                                      613 6117 6124
                                          1474                                                                                                      instance              31-                    2514            6311
 14825 1509                                                                                       6212 7814 7816                                      10419 14212
                                         included           12            -
                                                                                  5624                                                                                                                          Investigator
                1559 1615                                                                         7820 7921 818                                                                                          2916
                                           1669                                                                                                     instructed                      11
                                                                                                                                                                                                                 824 913 1022
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F  1025 113 117
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  617 924 231
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                                                                                             178 1711



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                                                                                                         -       8518            15519

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                                                                                                                                                                                                                                                             logs   2     -
                                                                                                                                                                                                                                                                                      1918 1923




                                                                                                                                                                                                                                                                                      257 4820
                                                                                                                                                                                                                                                                                                   83




invite         i       i
                             -           1632                             Judge          1281-                   67 118         knowledge                                   6 78        -          left   121        -       159 189                         look   19            -           1016 134
involve                    11            -       5318                      1110 1117 332                                         720 1711 5413                                                       2013 2910 326                                            154 1812 1822
involved                         121-                    2225              4310 441 456                                          951 9512                                                            416 417 5322                                             192 2514 277
   2322 244 252                                                            487 5916 6015                                        known13 - 1096                                                       6120 7017 8315                                           603 718 742
  3412 393 3914                                                            6016 7023 7419                                        10913 14119                                                         1006 11214                                               7520 765 9716
  402 5310 5316                                                            7611 8017 8020                                                                                                            12025 12214                                              13524 15521
  9520 12922                                                               8025 8522 925                                                                            L                                13524 13613                                              1581 15922 1636
involvement                                              2     -           9818 9824 1136                                                                                                            13614 13918                                             looked           2               -       625
   5715 15721                                                              12920 13418                                          labeled                1            -       828                      14516 1618                                               6622

involving                                12          -   8814              1605 16210                                           lack    141-                1088                                   legal        21       -
                                                                                                                                                                                                                                 10525                       looking              141-                        271
   8816                                                                    16412                                                 10819 1193 1265                                                     14816                                                    2711 4725 482
Iranians                         1               -   9310                 Judges                 2           -   1112           lacking                 31-                 10318                  legally is                     -
                                                                                                                                                                                                                                          6720                4819 8224 1002
                                                                           1115                                                  10819 10922                                                         7412 10422                                               1003 1015
Iraq     1         -         934

issue          151
                             -           1117 946                         Judicial               2           -   1664           ladder          2 4815          -
                                                                                                                                                                                                     10524 1197                                               11321 12011
                                                                   1158    16623                                                 4816                                                              length                                 3015                12012 12013
   100191034.                                                                                                                                                                                                        i1          -




issued                 11                -       10022                    jumpsuit                   1l          -   1129       lane    ill
                                                                                                                                                   -           13010                               less  1 11410     -                                        12022

issues                 ill           -           1653                     jurisdictional                             1    -     lanes         191
                                                                                                                                                            -       9315                           letter 1  9924            -                               lookout                  s           -       13925

itll    ii     -       10619                                               3413                                                  9316 1011                                                         letting 1  1822               -                            1402 1403
items                                    127 5910                         Justice            11          -       8213            10224 12013                                                       license               19               -       742         14125 1435
               131-


   775                                                                                                                           1224 12924                                                          799 1113 1119                                           looks      ill
                                                                                                                                                                                                                                                                                      -       2722

itself         141-                  472 9424                                                            K                       13011                                                               11114 11313                                             loose      2 207         -                            2020

   10014 1497                                                                                                                   Langford                            141-            5419             11314 11318                                             loose-leaf                           ill
                                                                                                                                                                                                                                                                                                              -   2020
                                                                          Kandal             7           -       1456            5619 5622 7113                                                      1166 12119                                              loud    11       -       624

                                             J                             1538 15316                                           Langfords                                   13          -   5424     1241 1245                                               lunch      2             -       439 4525
                                                                           15323 1544                                            716 7110                                                            12623 12717

Jacob              111
                                     -       2722                          15412 15419                                          language                            5           -       3514         1326 15510                                                                               M
Jail     111       -       6715                                           keep     4         -       2611                        7723 787 814                                                        15.65                   15615

January                          5               -       153               2614 11522 1198                                       967                                                               Lieutenant                                 5   -
                                                                                                                                                                                                                                                      5823   M-592                -       4821 4825
       11120                         11121                                Kennedale 44                                -
                                                                                                                          217   large     121
                                                                                                                                                           -    82                      1384         5824 595 716                                            M.K.E      1             -           835

       1359 16617                                                          228 2216 232                                         Larry         1            -        14512                            7113                                                    machines     1 12313                             -




JASON 1                                      -       610                   2321 241 244                                         last    10          -          616 2012                            life   111   -        194                                 major      6 9010        -



jazz i1            -         1592                                          246 2413 2822                                         2016 382 6024                                                     Lindbergh                              11      -   9211    9014 929 931
job     110        -         5424 8910                                     2911 2917 2920                                        8921 10617                                                        line    171-          4813 992                             10513 10518

   8922 13416                                                              339 6224 638                                          11913 11920                                                         993 9925 10524                                           1078 1159
   1358 13520                                                              6318 6414 6421                                       lately        1             -       1075                             11214                                                   male    11           -       809

       13521                         13619                                 732 7318 7515                                        latest1                     -       12921                          lines        2        -
                                                                                                                                                                                                                                 782 834                     man 2 - 522 1178
                                                                           7523 763 7712                                                                                                                                                                     mans 1 6615
   13622 13623                                                                                                                  laundry                    1            -       596                list
                                                                                                                                                                                                          2     -        164 10710                                                        -




                                 1283                                      788 796 813                                                                      625 713                                                              625 713
jobs         121
                       -                                                                                                        law    151         -                                               local        41-                                          management                                           1   -




       13521                                                               14216 14222                                           1124 1721 7324                                                      5413 1057                                                11424
                                                                           1433 1436
Jodi         2         -         1624 1716                                                                                       791 8715 886                                                      locate           9            -        78 711             manager                          1           -       1357
                                             1724                          14320 14417                                           8813 8814 1078
Jodis              Ill           -                                                                                                                                                                   773 775 8011                                            Mansfield                            191
                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                  219
John 22                                                                    14422 1455
                                 -           2824                                                                                10813 13423                                                         8117 8120 8211                                           2117 2120 221
                                                                           14712 14921
   294 297 2910                                                                                                                  16317                                                               8325                                                     223 225 2211
                                                                           15024 1512
   2919 3421 3425                                                                                                               laws     2             -
                                                                                                                                                                107 11910                          located               161-                 2622            2214 496
                                                                           15715 16013
   374 3820 3821                                                                                                                lawyers                     11          -       14513                274 579 5816                                            manual 31- 6224
                                                                           16120 16125
   396 399 3917                                                                                                                 lead    141
                                                                                                                                                   -
                                                                                                                                                            483 5119                                 6713 795 9216                                            636 6320
   4013 416 5520                                                          key    2       -   1007 1008                           1136                                                                1151                                                    map 1            -       6717
   5920 5925 6019                                                         keyboard                   i           -   7018
                                                                                                                                     1                                                                                           1
                                                                                                                                leaf           -        2020                                       locating                               -       594        Marine           3               -       8621
   6422 12622                                                      1394   kicked      1              -       15716              learn 1                         272
                                                                                                                                                        -                                          location                      110          -
                                                                                                                                                                                                                                                  1122        873 898
Johnson                                                  1512             killed     1               13122
                                                                                                                                                                             5721                    2713 2715 343                                                                    6
                                                                                                 -

                                     111-                                                                                       learned                    14           -                                                                                    Marines                                  -
                                                                                                                                                                                                                                                                                                              8623
                             562 871                                      kind     10                2723 951                    7816 7921 8812                                                      4213 6725 796                                            871 8823 891
                                                                                             -
join 21-


                   1                         302                           992 1033 1038
joined                               -
                                                                                                                                    5 955 1268
                                                                                                                                least                  -                                             10918 1181 1182                                          895 897
                                                                           14718 14719
Jorge              4             -
                                         8510                                                                                    1275 1299 15618                                                   locations                         12       -   1125       mark    4            -       8023
   8512 8523 8525                                                          1496 15016                                                                                                                9421
                                                                                                                                leave     71-                       157 2913                                                                                  8313 15810

                                                                                                                                                                                                                                                                                                                          End
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marked        81-                  1015                923 928 9215                                               1487 14810                                               605 609 6014                           14117

 1420 7423 7518                                        9218 932 9823                                              1495 1496                                                7022 7025 711                         nature           4                   -       1217
 974 9724 11917                                        9825 991 996                                               14910 1517                                               715 7419 7422                          3813 5024 627
 15813                                                 1002 1003                                                  1556 15514                                               7525 765 766                          Navy       2             -           1355 1356

marriage            11-                    1715        10022 10023                                                15613 15625                                              767 7611 7613                         NCIC 14                          -
                                                                                                                                                                                                                                                          662 783
Marshal        I1          -           535             10815 10816                                                1576                                                     7614 7615 7620                         7812 8121 8210
marshal        3 5310       -                          11017 11323                                               Mississippi                          1       -   3718     8017 8019 8022                         8225 842 14624




171-match
 5316 5318                                             11324 1142                                                mistake      11-                     6623                 8024 8025 819                          1527 15211
marshals                                       2122    1149 12022                                                misunderstood                                    t   -    8114 8116 8125                         15613 15815
                           31-

                                                       12124 1445                                                 5214                                                     825 8216 8222                          1633 1639
 2125 5311
Marshals                                       5224   mid    Ill
                                                                     -       3310                                model   1            -       7911                         848 8411 8424                         near    21           -           9010 9014
                           121-


 5714                                                 mid-size                       1        -       3310       moment I61- 168                                           854 8510 8521                         necessarily
                                                                                              9717                7022 718 8415                                            9418 9420 9624                         4410 582 5825
          5                1168                       middle                          -
                   -                                                     l1


 11619.11625                                          might         12               -        4414                12611 14310                                              989.     9811 9813                     615.126241277.
                                                       953 955 956                                               Monday       4 621 91                                     9814 9817 1041                         1282
 12216 12223
                                                                                                                                              -




                                                                                                                  94                                                       11210 11213                                                                                     4413
matched        1                -          1167        10311 10420                                                                                                                                               necessary                                        121-


                                                                                                                                                                           11924 1201
material       2 462        -                          10510 10511                                               monitor      3 617           -                                                                   10424

                                                       10824 10925                                                7017 10718                                               1207 12010                            need                                     2625
 738                                                                                                                                                                                                                        118                   -




                                                                                                                                                                           12413 12416
matter    31        -      363                         1369                                                      months       4               -       869                                                         3224 453 456
                                                      Mike                           835                          12725 1281 1287                                          12611 12613                            532 5318 722
 16171654                                                          i1-

                                                                                                                 mOORE 1                                                   12824 1293
McMurry             3 2717         -                  mile 1             -       4224                                                             -       14511                                                   746 1013 1038
                                                      miles 3 9324                                               MOORE                                        67           1295 13220                             109251104
 2724 492
                                                                                 -
                                                                                                                                  116                 -




                                                       9325                                                                                                                13222 13224
mean 15             -      265                                                                                    8541459.15119                                                                                   1155 11514
                                                                                                                                                                           13310 13312
 3511 4720 526                                        military                171-                7812            15811 15812                                                                                     11622 11725
                                                                                                                                                                           13313 13319
 5317 648 667                                          794 9618 9621                                              15914 15921                                                                                     15524 1654
                                                                                                                                                                           1344 13920
 69167714                                              14715 14724                                                1605 16210                                                                                     needed                   3                   -    366
                                                       16320                                                                                                               13923 14220
 11221 11222                                                                                                      1621216225                                                                                      528 5217
                                                                                                                                                                           14314 14319
 1402 15513                                           mind 21- 3518                                               1639 16411                                                                                     neighbor                                 I1       -       927
                                                       11325                                                      16418 1654                                               1457 1459                                                                      2513
 1573 16322                                                                                                                                                                                                      never        131-

                                                                                                                                                                           14511 15119
meaning             1              -       114        mine         111
                                                                             -       11523                       Moore     11-                14513                                                               491 693
                                                                                                                                                                           15811 15812
means        I11       -       173                    minors                 Ill
                                                                                          -   10315              morning 112                              -
                                                                                                                                                              616                                                new     2            -       4616
                                                                                                                                                                           15914 15917
measures                   1               -   85     minute                 2           -    10611               620 621 825                                                                                    next    lit                  -
                                                                                                                                                                                                                                                          585 859
                                                       14514                                                                                                               15921 1605
mechanic                   I1          -       1357                                                               3121 11122                                                                                      9416 9921
                                                                                                      2510        1414 1416                                                16071609                       1629
Medic    11-               4825                       minutes                        1121-                                                                                                                        10220 10221
                                                                                                                                                                           16210 16212
Medical        121-                    1613            2924 301 3823                                              142241511                                                                                       13318 1529
                                                                                                                                                                           16225 1639
 171                                                   3916 4713                                                  15416 1614                                                                                      15210 15217
                                                                                                                                                                           16411 16415
medical        1            -          1322            14223 15022                                               most    4 954 9520
                                                                                                                              -                                                                                   15218
                                                                                                                                                                           16418 16419
meet    61-        817 93                              15025 15120                                                9925                                                                                           NIC    1 15815   -

                                                                                                                                                                           1651 1654
 9241110                                   6924        15214 1623                                                mostly       1                   9519                                                           night   a-616 5511
                                                                                                                                                                          multi    1-3413
 1099                                                 minutes                        1        -       256        motel   4        -       97 679                                                                  11913 11920

meeting        111
                            -          5517           Miranda                        21-              3115        6823 6825                                               multi-jurisdictional
                                                                                                                                                                                                                 ninth      11        1
                                                                                                                                                                                                                                              -           13414
                                                                                                                                                                                   3413
                                                       4019                                                      motor                        78              773          Ill-

memory                         -       271                                                                               12       -                                                                              NLETS                11                      -
                                                                                                                                                                                                                                                                       7621
                                                                                                                                                                                         3
                   111



                                                                              785 831                                                                                     multiple               -
                                                                                                                                                                                                     1125
mentally           2 792        -                     MIS    121-                                                move    4 2219
                                                                                                                              -
                                                                                                                                                                                                                  7624 775 779
                                                                                                                                                                           4817 724
 16318                                                miscellaneous                                     5    -    2817 972 11524                                                                                  7711 812 817
                                                                                                                                                                          MY      11-   16616
mentioned                                              7724 785 7822                                             moved     4              -
                                                                                                                                                  227                                                             829 8211 842
 t1-12118                                              1633 16314                                                 3820 3824 3825                                                                                  15815
                                                                                                      502        moving 11- 1213
                                                                                                                                                                                              N                  NO
             1                 12622                  missing                      46                                                                                                                                                     16622
                                                                                                  -                                                                                                                           -
merely                 -                                                                                                                                                                                               1I


Meridian            11-                    3718        6223 6317 641                                             MR   1321-           66 67                                                                      nobody                       1               -    921
                                                                                                                                                                          name                 820 822
                                                       6415 6422 6519
                                                                                                                                                                                    1171-

met           815 5511                                                                                            614 1012 1014                                                                                  noises 11-                                       624
      171-
                                                                                                                                                                           1321 382 6615
 652 6515 6518                                         6613 774 776                                               141614191519                                                                                   non              -           12721
                                                                                                                                                                           699 8522 10617
                                                                                                                                                                                                                        111




 652312418                                             778 7714 7724                                              1522165169                                                                                     non-WHTI                                     11       -   12721
                                                                                                                                                                           10618
metal                   10715                          798 7917 814                                               1611 181 184                                             1061                                  none 21- 6218
         I21-                                                                                                                                                               14118            1112413227

                                                       8121 829 8225                                              1811 1820 1821
 10717
                                                                                                                                                                           1345 1346                       94
                                                                                                                                                                                                          13
                                                                                                                                                                                                                  16119
                                                       8413 10315                                                 201 204 2613                                                                                                            2
Methodist                  2               -   1314
                                                                                                                                                                           14320 14512
                                                                                                                                                                                                                 normal                                   -
                                                                                                                                                                                                                                                                  13216
 706                                                   10316 13719                                                332 335 336                                                                                     1446
                                                                                                                                                                          named                  14217
                                                       13925 1402                                                                                                                       2I
Mexican                                9211                                                                       339 4310 4320                                                                                  normally                                              14718
                   11
                                                                                                                                                                                   20
                                -                                                                                                                                                                                                                     1l           -

                                                                                                                                                                           149
                                                       1403 1406 1412                                             441 445 456
Mexicans                   1                   9220                                                                                                                                                              north   6721
                                                                                                                                                                                              3                      112
                                       -                                                                                                                                                                                                              -

                                                                                                                                                                          narcotics                      10319
                                                       141251429                                                  459.4518 4519
                                                                                                                                                                                                     -


Mexico                      -          909                                                                                                                                                                        928 998 9910
                                                                                                                                                                           10419 10923
              133
                                                       1435 1436 1479                                             4522 4523 4819
 9015 9018 9020                                                                                                                                                                                                   10011 10012
                                                       14711 1485
                                                                                                                                                                          National           4   -
                                                                                                                                                                                                         1319
 9118 9119 9121                                                                                                   5012 5016 5925                                                                                  10016 10017
                                                                                                                                                                           1404 14021
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                                                                                                                                                                                                                                                                                                        11




 1013 10112                                                   obtaining              121-         3910       15218 15323                                 12921 1337                                                     paid    11             -        1315

 12016                                                         687                                           1553 1559                                   13521 1369                                                     panned                         ill           -       15515

northwest                    1                -    928        obvious        1           -    3113           16010 16012                                 14014 14513                                                    pants          1j              -     738

Nos 21-76188220                                               obviously              2 312    -              16420                                       15724 16021                                                    paper              2 207        -                                        406

nose     1   -       626                                       11617                                        Officer 18j               -   1114           16210                                                          paragraph                                        21-                 508
notebook                 7                -       1813        occasion           161-             624        1221 2821 5619                            ones       lt           -     746                                 6011

 1822 2022 212                                                 825 1214 138                                  914 12010                                 one-page                      12           -   12421             parallel 11                                  -       7918

 282 461 8013                                                  11913 13218                                   12825 1454                                  15724                                                          Paris      21-                       6421
notes    121-            4312                                 occasions                  1j       -   432    1456 14512                                open      6 63      -
                                                                                                                                                                                                      1817               6616

 1591                                                         occupied           21-              861        1537 15316                                  4515 823 1009                                                  PARIS                  111
                                                                                                                                                                                                                                                             -       6618
                                                               1347                                          15322 1544                                  16611
nothing          41-                  627                                                                                                                                                                               park    1j              -       10023
                                                                                                             15412 15419                                                                         810
 10717 12623                                                  occur    1     -       666                                                               opened              ill
                                                                                                                                                                                         -
                                                                                                                                                                                                                        parked                  121
                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                         6720
 13312                                                        occurred           31-              3611       1601 16417                                operate             131
                                                                                                                                                                                         -       951                     7411
notice     21-               11213                             1253 16610                                   officers      1221-            642           9513 13125                                                     parking                        2             -
                                                                                                                                                                                                                                                                             684
 11219                                                        Oceanside                      161-     74     644 6824 9321                             operations                                1j   -       6224       7411

noticed      3 4925          -                                 816 97 925 675                                1009 1043 1062                            opinion             5             -       2523                   part271-                             616 1923
                                                                                                             11422 1162                                  3525 361 362
 11216 11220                                                   8212                                                                                                                                                      224 4423 513
                                      14913                                  i                8921           1168 1228                                  611
notified     ij              -                                October                    -
                                                                                                                                                                                                                         5718 7213 798
                                                              OF 21- 1661 1662                               12217 12814                                                                                          615
notify   1       -       1422                                                                                                                          opportunity                                2j      -
                                                                                                                                                                                                                         816 893 895
                                                                                                             12817 12818                                 1202
number           125                 -        1514            offense        5       -
                                                                                             4917                                                                                                                        908 928 9925
                                                                                                             12912 13020                                                             2322
 198 4915 4920                                                 4920 503 5013                                                                           order      181
                                                                                                                                                                               -
                                                                                                                                                                                                                         1017 10114
                                                                                                             1315 1337 1461                              3514 7522 897
 4921 503 7323                                                 5915                                                                                                                                                      10323 11717
                                                                                                              1469 14610
 744 747 7510                                                 offer 81   -   1520 763                                                                    12614 15524                                                     11719 12015
                                                                                                            offices                       945
 799 8113 9023                                                 8214 9810 1114                                            11                              16024 16025                                                     12125 13211
                                                                                                                                  -




 913 916 918                                                   1119 11924                                   Official      21-             1663         orders          121           -       636 647                     13213 13822
                                                                                                             16623                                     ORI 21- 14814
 949 9711 9915                                                 15914                                                                                                                                                     1446 1634
                                                                                                            OFFICIAL                           16616
 10415 1066                                                                              143 196                                  11                     16120                                                                                                                   253
                                                                                                                                           -

                                                              office   18        -
                                                                                                                                                                                                                        partially 11                                     -



                                                                                                            often                 883 887
 1067 1384 16024                                               2021 2122 2125                                       13                                                                           5013                                                                    3 3420
                                                                                                                          -
                                                                                                                                                                                         -
                                                                                                                                                       original 1j                                                      participate                                                      -

                                                                                                             12723
numbered                         3 2011       -
                                                               5225 5312 6925                                                                          originally                    111
                                                                                                                                                                                                  -   8013               3424 721
                                                                                                               151- 945 10018
 1008 16610                                                    707 7012 7212                                old
                                                                                                                                                       originating                               31   -
                                                                                                                                                                                                                        participating                                                ill
                                                                                                                                                                                                                                                                                                 -


numbers                  13
                                      -
                                              757              7321 758 7922                                 1014 11510                                  14012 14210                                                     3918
 8118 1008                                                     1152 13615                                   once                  4419                   1497
                                                                                                                    114
                                                                                                                                                                                                                                                                                                 2521
                                                                                                                              -

                                                                                                                                                                                                                        particular 12l-

                                                               1509 1563                                     5124 5125 6916                            outfit     1        -         1129                                3723 413 6025
                         0                                    Office   4     -       1614                    7224 9419                                 outside             7             -       921                     693 757 1175
                                                               172 5714 756                                  10014 1011                                  3014 3019 3217                                                  1178 11819
oclock                               14223                                                   921             10115 10118
             41-                                              officer 631            -
                                                                                                                                                         343 617 6112                                                    1252 13512
 1511 15417                                            1658                                                   10919               13812
                                                               4425 5413 638                                                                           outstanding                                3           -          16023
objection 1522           s               -
                                                               6312 7221 8713                                15625
                                                                                                                                                         1602 1618 16216                                                particularly                                         1               -   414
 768 769 8217                                                  8724 8725 8913                               One 1- 11011
                                                                                                                                                       oversee                 ill           -   3316                   parties                 31-                      811
 15916 15917                                                   901 9124 9315                                one               817 1125
                                                                                                                  1691-
                                                                                                                                                       own      131
                                                                                                                                                                       -       1310                                      1668 16615
objections                                         9811        954 9519 9817                                 233 234 262
                                                                                                                                                         10521 1637                                                                                              181 711
                                 21-
                                                                                                                                                                                                                        pass       i       i       l
                                                                                                                                                                                                                                                        -


 1203                                                          10121 10123                                   266 2622 274
                                                                                                                                                                                                                         848 9024 1102
observations                                                                                                 275 2713 2811
                                                  31           10216 10219                                                                                                               P                               12413 1291
                                                       -




 733 735 7818                                                  10220 10221                                   3315 3625 375
                                                                                                                                                                                                                         13220 1457
observe                                  3017                  1047 10413                                    3723 4014 4312                                                4514 5512
                 21                                                                                                                                    p.m                                                               1605 1629
                                 -
                                                                                                                                                             161-

 3114                                                          1055 11418                                    4324 4417 4424                             822 16513                                                       passenger                                        11              -       1282
observed                                           86          11419 11911                                   491 533 542                                               5                     14311                                                           7                       1027
                         i                    -                                                                                                        Pacific                       -
                                                                                                                                                                                                                        passport
                                 iI
                                                                                                                                                                                                                                                                             -


 253 306 3524                                                  1229 12212                                    543 5415 5421                               14312 14315                                                     1088 1112
 3819 3913 4110                                                12213 12417                                   579 642 6819                                1511 1512                                                       12321 12322
                                                                                                             6821 6824 7022




                                                                                                                                                                                                                         1
 6216 731 12522                                                1301 1305                                                                                                                     14313
                                                                                                                                                       pacific         1l                                                12323 12720
                                                                                                                                                                                     -



 12618                                                         13021 13022                                   7322 773 774                              pad                 1007 1008
                                                                                                                                                             21-                                                        passports                                    1               -       1024
                                                                                                             778 7710 782
                                                                                                                                                                                                                                                                             j




observing                    21-                  617          13120 13225                                                                             page      141-                    192 198                        passthrough                                                  ij          -



 6110                                                          13314 1348                                    801 802 806
                                                                                                                                                         1910 1914 2017                                                  5911
obtain     9 2718                                              13420 1353                                    828 8315 9012
                                                                                                                                                        461 4914 507
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 446 747 942                                                   1359 13515                                    9017 949 9522
                                                                                                                                                        6011 6013                                                        10
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 951 9512 10024                                                1366 1368                                     10217 1047
                                                                                                                                                         12421 15724                                                     10118 1031
 1086 11010                                                    13811 14217                                   10411 10413
                                                                                                                                                         1589 15922                                                     pat   1l       -        10920
obtained             5 3122          -                         1432 14319                                    10415 10512
                                                                                                                                                       pages                             195
                                                                                                                                                                      171-
                                                                                                                                                                                                                        pat-down                                                 -       10920
                                                                                                             10712 12421
                                                                                                                                                                                                                                                                 11j


 4118 4122 7311                                                14417 14419                                                                              1915 1921 2020                                                  patch1                         -     965
 12511                                                         14421 15217                                   12611 12816
                                                                                                                                                        212 461 8015                                                    patches                        1l            -           967
21-pay
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                                                                                                                                                                                                                                                                      12




patrol 31-                    2218                            12814 1326                                                picked    11-198                       16120 16125                                    preliminary 11-                                  7925

 656 1635                                                     1387 13815                                                picture    5 9924 -                   police     23          -
                                                                                                                                                                                             2111             preparation

     1       -   6720                                         13917 13925                                                1006 10213 1328                       2413 2414 253                                   1824 6810

pays    li       -    1172                                    1402 1403 1406                                            Picture    51-10018                    258 2522 2525                                  prepare    161
                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                               1214
PD   61-         1613 7318                                    1412 14125                                                 1015 10115                            301 3013 3216                                   186 213 214
 788 796 7919                                                 1426 1427 1429                                             10123 10212                           335 337 357                                     563 6815
 813                                                          1435 1436                                                 pictures      3       -       1222     3515 378 4222                                  prepared         10                  -       1020
             1                7221                            14421 14617                                                10012 10117                           6021 632 638                                    4914 4917 5013
peace                 -




Pedestrian                        1       -       1072        1487 1495                                                 pieces    21-         207 406          8311 1436 14921                                 5212 5914 5921
                                                  9316        15122 15325                                               place    111-         112             policies           151-          11719           6014 6015 12421
pedestrian                        191-

                                                              15519 16318                                                1912 3018 347                         12816 13125                                                                                 1218
 9321 10223                                                                                                                                                                                                   preparing 21-

 1085 1156                                                   persons               1             -    13019              4220 484 506                          1421 1424                                       5523

 12013 1224                                                  personal              161-                1222              6316 12615                                4 6319
                                                                                                                                                              policy             -
                                                                                                                                                                                                              Presario 121-                        149
 12212                                                        147 709 7011                                                12617 12816                          6414 12618 1426                                 6920
                                                              818 819                                                   placed    2 921   -             787   pop    4   -   12814                            presence         6               -       1112
pedestrians
                                                  -
                                        131




 9024 915 9923                                               personally                      121       -    266         places    111-
                                                                                                                                              365              1307 14720 1556                                 1115 1414 3510
Peerwanis                         ill
                                              -       7922    9522                                                      plate 21-     742 799                 popped         11          -     1479            3512 7311
                                      401                    personnel                       21-           536          played                307             port   511     -    3210                        present    26                -
                                                                                                                                                                                                                                                   63
people           361-                                                                                                             11-

                                                              646                                                                                     16425    3322 9020 9024                                  152 1817 2821
 6821 8915 8916                                                                                                         pleasure      11          -




 8919 901 9123                                               persons           128               -     502              point    66   -       620 77           9113 9115 926                                   2916 311 3114
 9213 9219 9222                                               6223 6415 6519                                              129 1215 3519                        929 9217 9220                                   3122 4515 5619
 933 934 9322                                                 6613 774 777                                                3521 4419 4513                       932 9312 945                                    5717 592 6015
 9425 9521 1001                                               778 7715 7724                                              466 5118 5120                         9422 953 9514                                   6016 616 653
 10021 10023                                                  7917 814 8121                                              534 5516 656                          979 9713 9721                                   666 681 823
 10319 10517                                                  829 1189 13720                                             7811 7817 7924                        986 10018 1014                                  1046 1085 1098
 10524 1066                                                   13722 1479                                                 806 8111 992                          10313 10321                                     1099 11124
 1067 11223                                                   1485 14810                                                 994 996 9919                          10323 10519                                     1299 1325
 1223 12517                                                   1496 14910                                                  10014 10111                          1068 10910                                     presented            171
                                                                                                                                                                                                                                                   -




 1315 13121                                                   1517 1556                                                   10116 1031                           11510 11512                                     11115 11313
 13718 1384                                                   15514 15613                                                 10421 10625                          1169 11810                                      12119 13225
 14522 1464                                                   15625 1576                                                  1078 1105                            11812 11815                                     13924 13925
                                                                                                           522                                                 11915 1232
 1467 1544 15717                                             persuade                    111-                             11117 1126                                                                           1559

peoples               111         -      14725               persuasive                          111-           525       11314 11412                          1283 12821                                     presenting                   11              -



                 918                                         pertaining                                    4922                                                1296 1302 1303                                  11025
             -                                                                               11                           11517 11521
                                                                                                       -
peril   I




percent              111-
                                      11625                  phone 15                    -
                                                                                              683                         11525 1161                           1304 13018                                     presents         15          -
                                                                                                                                                                                                                                                       1107
perhaps               1           -     7014                  15020 15024                                                 1168 11618                           13025 1314                                      11112 11114
period           171-             1812                        15214 15224                                                 11624 1186                           1316 13515                                      1323 1366
 2521 6417 8712                                               15225 1531                                                  12116 12117                          1361 14520 1461                                preserve      111-                   4721

 943 13415 16123                                              1532 15314                                                  12122 1221
                                                                                                                                                              Port 41-           906 9112                     preserving               11-                     4717

periodic              2 881       -                           15317 15415                                                 12214 12218                          9225 13516                                     pressed       11-                1305
                                                              15822 1591                                                  12222 1231                                                     7216
 13424                                                                                                                                                        porter     11-                                  pressing      1              -       363

permanent                         1       -                   15913 16013                                                1308 13016                           portion        1           -    10224           Pretrial 112             -       161
 13517                                                       photo                       5820                             13021 1313                                                               6110
                                                                          11                                                                                  portions 21-                                     7618 9816
                                                                               -




permission                            1       -       446    photograph                              111
                                                                                                           -
                                                                                                                          1374 1422 1491                       1667                                            11918 11925
permit1 942               -                                   1328                                                        1533 15421                          portray 11-                     11016            1202 1204 1206
permits 3 946                 -                              Photograph                              2      -
                                                                                                                          15425 15623                         position           21-               2118        1209 15814
 10019 1158                                                   9915 9916                                                   1575 1579                            10714                                           15914 15919

persist1                  -       16425                      photographed                                   i1      -    16217 16222                          positions              1         -       4814   pretty   12      -   2024
person           1521-                6317                    5716                                                      points    3   -       571 577         possession                       111     -
                                                                                                                                                                                                               2818 3525 365
 6325 641 682                                                photographs                               91       -
                                                                                                                             30
                                                                                                                        Police  74 75     -                    1219                                            3820 4111
 7315 792 798                                                 4716 589 6912                                              76 718 816 218                       possible           141-              254         11511 11517
 8225 8310 8413                                               9712 9724 983                                              232 2822 2911                         259 4717 5810                                   1171 13517
 9320 9823 9824                                               985 9820 13111                                             2917 2920 3225                       possibly           181-              397         13725

 10217 10616                                                 photography                               11       -
                                                                                                                         6225 6414 6422                        483 5023 629                                   previously               1               -       611
                                                              5719                                                       732 7712 8212                         791 1401 14711
 10723 1084                                                                                                                                                                                                   primarily     141-                   407
 1086 1093                                                   photos           13         -   1224                        14216 14222                           16317                                           5120 1011 10223
 10924 11025                                                  191 5821                                                   1433 14417                           potentially                    l2I              primary    361           -           8912
 11512 11621                                                                                         5017                14423 1455                            11616 11724
                                                             physical                                                                                                                                          901 9124 9314
                                                                                             -
                                                                                   Ill




                                                                                                           15410         15024 1512                                                                    107
 11623 11711                                                 physically                      11-                                                              precluded                  111
                                                                                                                                                                                                   -
                                                                                                                                                                                                               9315 9316 9519
                                                                               6522                                      15716 16013                          pregnant- 178
 1197..11910.                                                pick                                                                                                                                              10121 1043
                                                                          -
                                                                    Ill
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 1047 10411                                      project    111
                                                                      -   8020           12023 13023                                          10119 1384                                                  1514 1815 1818
                                                                                6323     1321                                                                                                  626        5718 795 11211
 10414 1054                                      promoted                                                                                    quivering                                     -
                                                                      11-                                                                                                   ti


 10614           10714                                                    10416         Public                     1565                                                                                   11212 13920
                                                 proper    31-                                    111-



 10723 1084                                       1092 11115                            publicdata.com                             ill
                                                                                                                                         -
                                                                                                                                                                               R                          13922 1568

 11111 11215                                                                             743                                                                                                              15815 16321
                                                 prosecution                 111-

                                                                                                                                                                                                   383    16510
                                                  1428 1456                                            1                1207                 r-h-o-d-e-s 1l                                    -
 1133 12013                                                                             publish                    -



 12021 12316                                      14820 1492                            published                  11-     1209              radio     1           -       1154                          Record 21- 1669
                                                                                                                                                                           8514                           16613
 12317           12924                            15221 1534                            pull   121-    6724 8524                             raise     11-

 13111 1327                                       1544 1553                             pulled    1        -       15817                     rammed                    i1          -           13018     recording          2        -    253
 13523 1367                                       15717 16221                                                           5313                 ramming                                   -       1314       4111
                                                                                        purpose            71-                                                             111




 1368 1372                                        16224                                  764 10815                                           ran   131-        208 14020                                 records      121-       2520
 13816 13818                                                                      863                                                         1414                                                        14724
                                                 Protection               1121-          13116 1444
 1398 14615                               1559    868 8611 879                           1445 1449                                           ranges            111-                884                   recovered          i1-               2618

print   3   -   811 8123                          8714 8724 8725                        purposes                   161-        1015          rank    121-              876 8723                          recross      11-        849

 826                                              8911 914 12822                         1420 1520 1523                                            1           12313                                     RECROSS                                  8410



RECROSS-printing
                                                                                                                                                       -                                                                        31-
                                                                                                                                             ray

printed     121-         2016                     13410 13412                            3110 4716 7423                                      reach     11-                  876                           13223 16211
 8212                                            protection               51-     968    7519 768 769                                        read    131       -       3115 603
                11   -    8023                    1352 1359                              8210 9812 1204                                       7824                                                        EXAMINATION                              31   -




printout        51-       662                     13825 1391                             1467 15813 1611                                     reading               111
                                                                                                                                                                               -       832                8410 13223
 812 828 8210                                    protector            11-     1922      purse     21-          594 5911                      ready     71-                  65 66                         16211
 8225                                            protocol          31-       11717      put    7- 243 5611                                    4517 4518 8517                                             rectangles             11        -       1041

printouts        11-              7621            1488 14810                             5814 6218 8420                                       11215 13325                                                red   51-   11414
prints   121-        1372                        prove     4   -      11319              12720 1578                                          reaffirm                  1         -         14117          12615 13614
 1414                                             1199 11911                                                           478                                                                                14516
                                                                                        putting       21-                                    real 61       -
                                                                                                                                                                   277 3824
priority    111-         11622                    12120                                  8419                                                 602 6210 6217                                              reddish      111-       737
priors 21-           10318                       provide       131-        214                                                                789                                                        reddish-brownish                               11

 10622                                            216 1242                                                         Q                         really    1               -    5410                          -   737

privy   1   -    3912                            provided             191-   2024                                                            reason            91-                 533                   redirect     31-        713
problem         131-      8021                    4012 463 4916                         0-59121-           4821 4823                          9412 9420                                                   1292 1606
 8022 1332                                        569 1165 1329                         qualify       1        -       13416                  11225 11323                                                REDIRECT               13            -   714
                     10                           15612 1586                                                             4224
procedure                             -
                                                                                        quarters               11-                            1145 11617                                                  1294 1608
 6316 10722                                      PT-15 11-            1612              queried        121-             14021                 13711 13923                                                reenter      111-      7317
 10725 12221                                     PT-16     1      -   164                14425                                               reasons                   3           -       321           reentered 11-                        2018
 12613 13211                                     PT-18     21-        3110              query     16       -       14019                      5918 6825                                                  refer 131-         284 435
 13214 1488                                       3117                                   1419 14114                                          rebroadcast                                       11-        4913 5812 9618
 15722 16112                                     PT-20     11-        3119               14123 14124                                          8213                                                        1039 10312
procedures                151-            636    PT-24     11-        606                16024                                               receive               10              -
                                                                                                                                                                                               1324       10821 1093
 6320 11719                                      PT-30131-            1016              querying               121-       10624               142 443 7212                                                1427 14819
 12617           13822                            1019                                   1077
                                                                                                                                              8622 8822 8825                                              15519 1563
proceed         191-      65                     PT-32141-                134 754       questionable                      111-                9222 11425                                                 referred      151-          493
 1610 1819 4517                                   7511 762                               3624                                                 12710                                                       1194 13522
 5217 608 824                                    PT-32A161-               7424          questioned                      111-       5122      received                      1o              -
                                                                                                                                                                                                   143    1534 16220
 8517 13325                                       7511 761 768                                                           3                    146 2423 4212
                                                                                        questioning                                                                                                                      6                1910
                                                                                                                               -
                                                                                                                                                                                                                                 -
                                                                                                                                                                                                         referring

proceedings                       31-             7616 7618                              5118 5119 5121                                       7216 893 894                                                5011 9914 9915
 16513 1667                                                5          1420                                                     3625           11712 1454
                                                 PT-34            -                     questions                      1o1-                                                                               1544 16312
 16613                                             1421 1423 1520                        9419 1108 1109                                       14911                                                      reflect     51-        502
process         191-      319                      1523                                  11010 12117                                         receiving                      11-                2721       11211 11212
 3521 464 4913                                   PT-38151-            7519               12124 12420                                         recently                  11          -           13024      13920 13922
 513 7012 13122                                   7521 762 7616                          13221 16414                                         Recess 41-                                62                reflects     11-        16613
 14817 14823                                      7619                                                                 1065
                                                                                        queue         11-                                     1816 4514 822                                              refresh      1     -   2625
processed                14       -
                                          125    PT-38A                   769                   277 3224                                                       4                   4313
                                                             1l                         quick
                                                                                            41                                               recess                                                                             1452
                                                                                                           -

                                                                                                                                                                                                         regard
                                                                      -                                                                                                    -
                                                                                                                                                                                                                     141-

 5620 7113                                                            8121               602 8123                                             4512 821 1656
                                                 PT-39191-                                                                                                                                                1484 15613
processing               111-
                                                  828 8215 8218                         quickly        151-             3525                         61- 1017
                                                                                                                                             recognize                                                    15614
 13610                                            8220 8223 832                          3820 3825 391                                        1421 7425 7510                                             regarding          5         -
                                                                                                                                                                                                                                              346
produced             1    -           102         845 8419                               7225                                                 982 13525                                                   3910 1517 1557
Program          21-          11022              PT-404-821O                            quint                  488 489
                                                                                                 31                                          recognized                                                   1591
                                                                                                       -

                                                                                                                                                                                       31-
 12320                                            8215 8221 8322                         4813                                                 5022 5124 12520                                            regardless             131
                                                                                                                                                                                                                                          -



program          131-         895                PT-41     1   -      9812              Quint     111-         4823                          recollection                                  21-            11822 1195 1274
 1072 11024                                                                                                    4713 505                       2811 555
                                                 public    161-           10213         quite    91-                                                                                                     regular     1      -   475
programs             1        -       10616       10224 10415                            522 6621 938                                        record            1141-                   64                rehandcuffed                         1    -
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 15425                                                14712 1517                                             response                         111-             1222           11322 11411                                                11412 11413
Rehfeld           2           -   5221                1556 15514                                             responsibilities                                       1    -    12122 1221                                                 1167 1186 1252
 5223                                                 15613 1577                                              3317                                                            14620                                                      12512 1265

Reid    t     -       384                             15720 15723                                            rest   1     -       5517                                       Russians                           i            -   937    screening          i           -   10716

reinterview                       1   -       1554    15724 15923                                            restrained                        111-                11725                                                                screens    31-             11420

related       5           -       1023                15925 16110                                            restroom                         1        -       3325                                                 S                    11423 11520

 1711 1714 1717                                       16111 16119                                                    102
                                                                                                             result 14                -                                                                                                 search    1351-            920
 1720                                                reported        31-                 1406                 3712 6713 15821                                                safety         2           -
                                                                                                                                                                                                                    11523                923 102 105
                                                      1412 16611                                                                                                              13811                                                      1019 1117 1120
relation          1           -   458                                                                        resulted             1 12916          -




relationship                       2 531  -          reportee        t       -           6613                resume               2 4513      -
                                                                                                                                                                             Safety         12              -       8614                 1214 1218 1412
 539                                                 Reporter        2           -           1663             16511                                                           1565                                                       1424 158 1517
relative          111
                              -   3312                16623                                                  retire     111       -       621                                sally      2       -       3210 3322                        3120 3123 346

release           1           -   8625               reporter    1           -       6613                    retires          3           -    858                           samples                    4            -       576         4013 4121 4123

rely   111-       264                                REPORTER                        6           -
                                                                                                              13317 16423                                                     5712 7113 7114                                             4125 5112 5422

remain        3           -       2125                2612 4811 9415                                         retraining                       2            -
                                                                                                                                                                   881
                                                                                                                                                                             Samurai                    2           -        2617        678 679 687
                                                      11416 14218                                                                                                             273                                                        6813 6816 746
 3014 854                                                                                                     13424
                                                      15115                                                                                                                  San   618 75                                                7412 753 7510
                                                                                                                          1                   1639                                              -
remember 141- 820                                                                                            return                   -                                             181


 4821 578 597                                        Reporters               121-                 1669       returned                                      15913              76 718 99 195                                              8014 13819
                                                                                                                                          11-

                                                      16612                                                                                                                   3719 6714 906                                             searches                           7416
 1139 1482 1483                                                                                              reveal       2                   14024                                                                                                    11          -
                                                                                                                                      -




 1484 1519                                           reporting       1               -       1633             14123                                                           907 9013 9112                                             seated    2    -
                                                                                                                                                                                                                                                               8516
 15110 15310                                         reports    41-          2718                            revealed                     1        -       14124              9210 9215 9225                                             13324

 15319 15413                                          4922 641 7925                                          Review               11-                  3812                   1145 13516                                                second 1o              -
                                                                                                                                                                                                                                                                       1016




 211-14917
                                                                                                                                                                              15222
 15422                                               represent        3                  -       1042        review 21-                        607                                                                                       144 6013 7420
                                                      11918                                                                                                                  sat             2513 6024                                   7520 13525
remove            2               322                                                                                                                                              12   -
                              -
                                                                                                              12423
 324                                                 representation                                  1   -

                                                                                                             reviewing                        3 4312       -
                                                                                                                                                                             satisfactory                                    11.-        15225 15414

                                                      9721                                                                                                                    12713                                                      15912
Renee       i7                -   14217                                                                       12515 12519
 14219 1455                                          representatives                                 i1-     Rhodes                            -       3724                  satisfy         2                  -
                                                                                                                                                                                                                    1091                secondary
                                                                                                                                  12

                                                      729                                                                                                                     1368                                                       9320 9321 1031
                      14920                                                                                   381
 14921 1501                                          representing                            11      -

                                                                                                             right-hand                           1            -   1014      Saturday                           3        -       556     1039 10320
 15021 15122                                          14513                                                                                                                   7721 7813                                                  10821 1096
                                                                                                             Rio    7     -       352 568
 15123 15213                                         request2                    2717                                                                                        Saudi                              935                      1097 10913
                                                                                                              5620 5622 5625                                                                11          -
                                                                         -




 1531 15324                                           10925                                                   582                                                            saw    7       -       309 4112                             10917 11422

 15823 1601                                                                                      289                                                                          6211 737 11522                                             11812 1194
                                                     requested           21-
                                                                                                             Rizy     2       -       1025 115
 16125 16215                                          1668                                                                                                                    12217 13110                                                12212 1237
                                                                                                             Road31- 1919

repeat      2 9424    -
                                                     requests        111
                                                                                 -           1635             2825 4211
                                                                                                                                                                             scale      i           -           9720                     1268 1271
 13620                                                                           1421                                                                                        scenarios                                           1248    13514 13515
                                                     require    21-                                          room       311-                  97 917                                                                21-

                                                                                                                                                                              12410                                                      13813
rephrase                31-        468                1425
                                                                                                              920 111 1120
 6214 6814                                           required        5 8817  -
                                                                                                              1616 176 302
                                                                                                                                                                             scene 46                           -   1220                section    2       -       237
                                                                                                                                                                              1918 1923 208                                              6310
replied 21-                       11316               1021 1059                                               3010 3014 3018
 14413                                                10813          1 1 1                   1   8            313 3124 322                                                    2013 2516 2521                                            secure 1      i1-          722
reply   1         -     14412                        research        i           -           11816            326 3217 343                                                    263 2618 2619                                              725 914 917
                                  187                                                            966                                                                          2719 2818 2824                                             3215 6725 686
report      1681-                                    resembles               11              -
                                                                                                              347 3420 3518
 262 271 277                                                  1                          871                                                                                  295 298 2910                                               10918 1181
                                                     reserves                    -
                                                                                                              3619 3915 3918
 279 2721 286                                        Reserves 1                              874                                                                              3417 356 3923                                              1182 1321
                                                                                     -
                                                                                                              4112 596 615
 4917 4920 501                                       residence 2                                 6013                                                                         403 425 429                                               secured     21-                14520
                                                                                         -
                                                                                                              679 6823 6825
 502 503 5014                                         1115                                                   rooms i1- 1615                                                   4219 434 444                                               14521

 5018 5411 588                                       resident       51-                  1028                rotate                           9423                            446 4412 4421                                             Security      6        -
                                                                                                                                                                                                                                                                       1319
                                                                                                                          11          -




 5812 6223 6318                                       1029 1037 10811                                                                         1361                            4422 451 453                                               8113 8615 8710
                                                                                                             rough        11-

 649 6415 6419                                                        1337                                                                                                    4524 4724 5323                                             12711 1348
                                                     resist   l11-
                                                                                                             roughly              2            -       845
 6422 6423 655                                       resolve    i        -       11624                        15022
                                                                                                                                                                              5620 5810 5825                                            security    181-                   85
 6510 6513 6520                                                                                                                                                               5915 6821 6912                                             810 6825 9412
                                                     resources           31-                     7212        rule   1     -       633
 6523 661 717                                                                                                                                                                 7013 7224 982                                              9420 9514 1053
                                                      7216 11816                                             run    111       -       10311
 7111 777 7711                                                                                                                                                               scenes                                  124 127             1056 10513
                                                                3                1020                                                                                                           21-
                                                     respect             -
                                                                                                              1059 10616
 7714 7717 7724                                       7223 731
                                                                                                                                                                             School             4               -
                                                                                                                                                                                                                     1919                10518 10521
                                                                                                              10619 10821
 7917 814 817                                        respective
                                                                                                                                                                              2825 4211 4223                                             10523 10716
                                                                             11              -
                                                                                                              11118 12815
 829 8413 8418                                        16614
                                                                                                                                                                             school          15                 -
                                                                                                                                                                                                                    3717                 1316 1317
                                                                                                              1304 13020 1315
 948 12421                                                                                                                                                                    3718 3721 388                                              13211 1467
                                                     respond        z        -
                                                                                         723                 runner           21-                 1303
 12423 12425                                                                                                                                                                  3815                                                       15220
                                                      11421                                                   1304
 1254 1259                                                                                                                                                                   screen                                      261            security-conscious
                                                     responded               2 465           -

                                                                                                             running              8 626        -
                                                                                                                                                                                             101-

 12510                1479
                                                      12817                                                                                                                   3111 8223                                                  1   -1317
                                                                                                              10612 10823
        Case 4:16-cv-00133-O Document 22-7 Filed 07/06/17                                                                                                                                Page 61 of 64 PageID 3044                                                                                         15




_A...   see   241-               1016                    seven               71-                  571 577          similar i                    I
                                                                                                                                                        -    5111                 sounds              11-                   4511                    2718 3812
         2514 279 3110                                    5710 5712 7113                                           sitting 51-                              1509                  source          2 2813        -                                 states41- 7823


         4623 4914 566                                    7117 7118                                                 15010 15012                                                    7114                                                             1114 1242 16111

         5814 7317 937                                   several                    151-              243           15016 15017                                                   sources                 21-                 252                 States         461-                          8621
         9819 9924 1018                                   364 3916 7125                                            situation 41-                                      11817        2511                                                             878 905 9020
         10117                   10124                    724                                                       14616 1508                                                    south         81-                 998                             9117 9125 9216
         10212 10224                                     shape                ill         -           1057          15519                                                          9910 1003 1039                                                   9219 9318 9322
         10612 1123                                      shared                   1l          -       213          six   131-           5625 577                                   10320 10821                                                      9324 995 10025
         1153 1223                                       sheet                                    199 1921          13421                                                          12022                                                            1023 1028
                                                                             31-

         13725 1384                                       762                                                      size i1-                 3310                                  Southern                      Ill
                                                                                                                                                                                                                              -       909           10225 1033

         13910                                           Sheriffs                         1           -   537      skip   ill       -           11812                             southwest                             1I            -   9216      10322 1046

        seeing       131-                 12521          shirt 21-                        4115                     slash        i       I
                                                                                                                                            -           8313                      speaking                      11-                   16012         10417 10423

         1482 1483                                        13916                                                    sleep 2 622 94           -
                                                                                                                                                                                  specific                Ill
                                                                                                                                                                                                                        -     649                   10725 10811
        seize    i1-             6918                    shivering                                i1-      4110    sleeping  579                    111-                          specifically                               111-          9312     10819 10820

        seized                            1225           shoeless                                         4116     sleeve                                   4115                                                            626                     11012 11013
                     21                                                                                                                                                           speech
                                 -                                                                                                                                                                                  -
                                                                                              l1-                                   11-                                                               111


         684                                             shoes                            -           417          small                                339                       spell 21- 309 382
                                                                                                                                                                                                                                                    11016 1111
                                                                              ill                                               121-


        seizures                 1I       -   B816       shooting                             11-         13025      12515                                                        spent         11-                 522                             1116 11113
        semi    1                13916                                                        4115                 smoke                                     327                                                                                    1132 1153
                                                         short                                                                                                                                                          1306
                         -
                                                                             31-                                                        21-                                       spikes          121-

        semi-dark                                13916                                                                                                                                                                                              11824 1197
                                      i1-                 11914 11919                                               3210                                                           13013
        send    171-             2412                    short-sleeve                                     iI   -
                                                                                                                   smoking                          121-              322         sponsored                                 Ill
                                                                                                                                                                                                                                      -   306        11910 12024

         3713 10910                                                                                                 3321                                                                                                                             12325 1246
                                                          4115                                                                                                                    spot    2l      -
                                                                                                                                                                                                          439 7411
         1528 15215                                                                                   11216                                                           10319                                                                         12411 1349
                                                         shortly                    Ill
                                                                                                  -                smuggle                          Iii          -
                                                                                                                                                                                  square          111-                      11414
         15517 15522                                                                      13118                                                                                                                                                     1355 1382
                                                         shot          Ill        -                                so-and-so                                131-          2516    stab    iI      -       803
                                      521                                                                                                                                                                                                           14110 1615
        sense       21           -
                                                         show                151-                     1015          263 4425                                                      stabbed                 111           -     801
         10419                                                                                                                                                                                                                                    stating            l             -       4210
                                                          1419 536 633                                             Social                                   8113                                          709
                                                                                                                                                                                                                                                                             I



                                                                                                                                    121-                                          staff   Ill
                                                                                                                                                                                                  -


        sensitive                             791         7423 831 974                                              12711
                                                                                                                                                                                                                                                  station                                      3013
                                                                                                                                                                                                                4822
                                                                                                                                                                                                                                                                     181-
                                     121-
                                                                                                                                                                                  stand         121       -



         16317                                                                                                                                                                                                                                      357 3515 4222
                                                          9824 11421                                               sock 11-4115                                                    9615
                             14613                        11423 1196
                                                                                                                                                                                                                                                    6021 12625
        sent41-                                                                                                    soft 111-                        1096                          Standard                      121-                  8321
                                                                                                                                                                                                                                                    16023 16115




        2-September
         1491 15210                                       11917 12120                                                1097 10916                                                    844
         15513                                                                                                                                                                                                                                    stationed                                         1043
                                                          16310                                                     11422 11812                                                                                                                                                    11-
                                                                                                                                                                                  standard                      41-               6414
                                                                                                                                                                                                                                                                                                   9410
        separate
             rate                2 7416   -
                                                         showed                       l1-                 6421      1194 12212                                                     11717 12221
                                                                                                                                                                                                                                                  stations               11                -




         8119                                                                                             1510       1237 1268 12625                                                                                                              status                               10825
                                                         showing                          51-                                                                                      15722
                                                 8720                                                                                                                                                                                               15710
                                          111-            7518 964 965                                             software                         11      1
                                                                                                                                                                 -    4018        standing                    41-                 3920
        sequence                              4410        1246                                                                                                       933                                                                          stay     31    -
                                                                                                                                                                                                                                                                         9325 943
                                      21-                                                                          Somalia                      Ill
                                                                                                                                                             -
                                                                                                                                                                                   452 12114 12211
         8015                                                                                                                                                                                                                                       1545
                                                         shown                 i1-                    8214         someone                              81-               811     standpoint                                111-          162
                                              6425       shows                                        2012          214 356 6317                                                                                                                  stayed 31-                               1547
        sergeant                 151-
                                                                               71-                                                                                                start   6       -       76 4510
         656 657 6824                                     535 813 992                                                                                                                                                                               1548
                                                                                                                    9917 10612                                                     7710 11321
         877                                              10022 10122                                               1188 1267                                                                                                                     staying            2                 -
                                                                                                                                                                                                                                                                                               1143
                                                                                                                                                                                   12122 1228
        Sergeant                                 2225     11111                                                                                                                                                                                     1145
                                                                                                                   sometime                                                                       6                         434
                                     251-                                                                                                                   21        -
                                                                                                                                                                                  started                       -


         2714 287 3120                                                         1641                                 15414 15418
                                                                                                                                                                                                                                                  Steele                                       3220
                                                         sic
                                                                                                                                                                                   4319 446 4722
                                                                         -                                                                                                                                                                                       1121-
                                                               l   I




         3122 3221 3915                                  sic 21- 12722                                             somewhere                                                811                                                                     3410 353 3518
                                                                                                                                                                     121-          1302 1657
         5222 5818 595                                    14414                                                     1622                                                                                                                            365 3914 408
                                                                                                                                                                                  starts        121-            313 835
         613 616 6111                                                                         1023                                                                                                                                                  4011 5117 5221
                                                         side      131-                                            Sony     41-                         1215                      state   81-                 71 911
         6116 6124 623                                    3023 815 8312                                             1218 698 6911
                                                                                                                                                                                                                                                    5412 7316
                                                                                                                                                                                   1210 7324 8814
         6216 657 6517                                    9210 9211 1006                                           soon                             4411
                                                                                                                                                                                                                                                  Steeles                11                -       5125
                                                                                                                            131-
                                                                                                                                                                                   1057 13716 1405
         6622 681 7319                                    1014 10221                                                5810 1085                                                     STATE                         -       1661                      step     3 852 -
                                                                                                                                                                                                                                                                                                    13315
                                                                                                                                                                                                  ill


         7718 7720 8414                                   1128 1156 1157                                                                                                                                                                            16420
                                                                                                                   sorry        1191
                                                                                                                                                    -       21.13                 State    8          -       714 7525
        serial                       1514                 12310                                                                                                                                                                                   Steve      21-                   3724 381
                 111-
                                                                                                                    2612 336 3725                                                  815 826 859
        series                        1915                                                                                                                                                                                                                               3919
                    31-                                  sidearm                          51-             8817      4318 4321 4811                                                 13312 1587 1665
                                                                                                                                                                                                                                                  still   1151   -




         1107 1109                                        8819 9612                                                 5010 7614 776                                                                                                                   3923 402 4219
                                                                                                                                                                                  States          1181-                     66
        serious          61-              9514            10425 12822                                               8921 9415 9418                                                                                                                  457 4521 4710
                                                                                                                                                                                   1523 161 4518
         10311                   10320                   sides                                65 4516               11416 12012                                                                                                                     6025 1024 1025
                                                                             41-                                                                                                   7424 7618 8120
         11612                   11811                    773 1023                                                                                                                                                                                  10821 14112
                                                                                                                    12723 1359                                                     8121 8220 974
         1296                                                                                                                                                                                                                                       15710 1617
                                                         sign      141-                   1114 1414                 14218 15115                                                    978 9810 9812
        serve                        873                                                                                                                                                                                                          stock                           4115
                 1                                        155 4122                                                                          199 2610                                                                                                         i1
                             -

                                                                                                                   sort                                                            9816 11918
                                                                                                                                                                                                                                                                         -

                                                                                                                          91
                     I
                                                                                                                                    -




        served                            7812                                                                                                                                                                                                                                                     418
                                                               41- 9914                                             2613 273 406
                     11-                                                                                                                                                                                                                          stocking                                     -

                                                         signage                                                                                                                   11924 1206 1209
                                                                                                                                                                                                                                                                                 IiI




        service  219                                      9917 10110 1029                                           501 5110 6417                                                                                                                 stop     21            13013
                                                                                                                                                                                                                                          289
                         141-                                                                                                                                                                                                                                    -

                                                                                                                                                                                  statement                         ICI           -



         3713 7210 14720                                                                              7416          737                                                                                                                             16425
                                                         signed                1l                                                                                                  3718 3810 3817
                                                                                              -




        Service                           8714                                                                                                                                                                                                                                     11518
                                                                                                                            i                       252                                                                                           stops                  -
                                                                                              10110                sorts                                                                                                                                     21
                                      -

                                                         signs               13                                                                                                    512 947 13124
                         Ill                                                          -                                                     -




        set   21-    7918 12317                           10116 10125                                              sound            11-                     916                   statements                                                      story     31-                  398 521
                                                                                                                                                                                                                            121-
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        10818                                                 sworn        51-                 611               Technique              11-       384       10324 10325                                   today     14           -       186

       straight 11-                  11812                     8515 8519                                         TECS      111-         14119               11212 11416                                    7115 8118 864
       straightaway                          i1-               13323 1342                                        telephone              161-      565       11417 1205                                     865 891 8910
        255                                                   system               1121-            8421           14212 14221                              1208 12414                                     1124 1127 1263
       Street     11-        16624                             10624 12721                                         14917 1505                               1292 13221                                     13911 13915

       strictly       11-        9220                          13624 1371                                        television 11-                   3023      13311 13314                                    1582 1652
       strike 131-           2318                              14019 14021                                       temperature                 111-   412     13316 13318                                   together           31-                 111

        292 304 311                                            1414 14116                                        ten   111-
                                                                                                                               1556                         13321 13322                                    5216 5917
                                                                                                                                                            13324 13922                                   tomorrow 11- 16512
        4411 4624 537                                          14721 14816                                       tend    121-       10023
        5725 6412 655                                          16116                                               10214                                    14218 14219                                   took    1171-          721 112
        6515 689 12820                                        System               41-              14023        tender       121-      1520                1439 14311                                      1510 4220 484
                                                  645          14118 14121                                         761                                      14312 14313                                    506 5018 588
       stringently 11-

                                                               1476                                                                                         14318 1458                                     6423 655 6510
       strip 11-        1306                                                                                     term    121-       325 6819
       stripes 11-               993                          systems 71- 7324                                   terminal           11-      813            15115 15117                                    6513 6914 7717
                                                               1073 10823                                                                                   15916 15918                                    825 12617 16115
       structure            141-          465                                                                    terminology                 11-    486
                                                               10824 1222                                                                                   1606 1631                                                  8110 9910
        467 4615 472                                                                                             terrible      111-          12616                                                        top   131-


                                                                                   14425                                                                    16413 16416                                     1234
       stuff 61-        3010 582                               1229.                                             terrorist11             -   10710
                                                                                                                                                            16420 16422                                   towards                                12022
        635 7018 8118                                                                                                                        611
                                                                                                                                                                                                                                         -
                                                                                                                 testified 71-                                                                                               111




        10812                                                                                  T                   218 329 5212
                                                                                                                                                            16424 1656                                    towed        3         -       721
                                                                                                                                                            16511 1661
       stumbled             11-              2812                                                                  685 8519 1342                                                                           7411 7415
                                                                                   2714                                                                                           2611
       styled     111
                        -    16610
                                                              tact 11      -
                                                                                                                 testify      111
                                                                                                                                    -   1582
                                                                                                                                                          theirs       121-                               tower     1        -       146
                                                                                                   9523                                                     2614
       sub   1l   -     9724                                  tactical             Ill         -
                                                                                                                 testimony              51    -
                                                                                                                                                  186                                                     traffic 9019
                                                                                                                                                                                                                    13       -




       sub-marked
                                                              tactics          51-                 3625                                                   themselves                      81   -
                                                                                                                                                                                                           9922 9923
                                         1        -
                                                                                                                   1825 411 1264
                                                                                                                                                            1047 1085 1107
                                              1




        9724
                                                               886 8815 892                                        1364                                                                                   Traffic      11l
                                                                                                                                                                                                                                 -       8614
                                                               894                                                                                          11016 1111                                                  6



       t281-subjects
       subject141-               791                                                                             TEXAS         21-       1661                                                             trained                    -
                                                                                                                                                                                                                                         2412
                                                                               6115                                                                         11112 12910
        794 855 856                                           tag   111-
                                                                                                                   16622                                                                                   386 527 5612
                                                                                                                                                            1366
       subjects             11       -       16317            tag-teaming                            11
                                                                                                                 Texas        251-       617                                                               7125 13422
                                                               6115                                                                                       therefore                            6217
                        121-             888                                                                       924 1023 1210
                                                                                                                                                                                  111-
                                                                                                                                                                                                          training                               2423
                                                              tanker 21-                       4816                                                       thereof                         1088
         12913                                                                                                     3719 7324 7516                                           11-                             378 3710 3713
       submit                    10617                        tape    81-              306 307                     1118 11110                             theyve 31 542           -

                                                                                                                                                                                                            3714 721 8712
                      11-

                                                               312 3525 364                                                                                 1328 16313                                      8716 8719 884
       submitted             111         -        125 10                                                           11114 11313
                                                               4016 4019 6119                                                                                                              5515
       subsequently                              tl       -                                                        11314 11318
                                                                                                                                                          thinking           1l       -
                                                                                                                                                                                                            885 8812 8817
        5721
                                                              Tarrant              1121-             1511          1166 12119
                                                                                                                                                          third 31-           13917                         8822 8825 892
                                                               2112 2116 5224                                                                               15225 1532                                      894 895 11222
       successful                111-                 959                                                          12623 12717
                                                               535 536 5310                                        1325 14825                             thoroughly                               1131     13415 13418




        11-5012
                                                                                                                                                                                          11   -


       suffering            1l       -    803
                                                               5713 7120 725                                       15510 1564                             thousands                                912      13420 13421
                                                  661                                                                                                                                 131-
       suggested




       11-supplement
                                 11-
                                                               757 1664                                            1565 1568 1665                           913 12516                                       13422 13423
       supervisor                5l          -    5818
                                                              TARRANT




        121-2423
                                                                                               1I    -    1662     16624                                  threat 11-              1099                    trains             -       2415
        11424 12922                                                                                                                                                                                                 11l



                                                              task             -       3413 5416                 THE                    64 68             three    621 111
        1422 15520                                                    41                                                                                           221                                    transcription
                                                                                                                                                                              -

                                                                                                                        11051-

                                                               7124 7213                                           1013 1418 1525                           114 1615 195                                    1666
                                         51       -


                                                              Task                         7120                                                             238 239 256
                                                                                                                   167 1610 182
                                                                                   -
                                                                      1l                                                                                                                                  transferred
        4914 4916 507
                                                              task-force                                  5416                                              4224 4820 869
                        587                                                                        11-             1814 1818 203                                                                            15320
                                                              taught       31              -       242             2612 3224 334                            12217 12218                                   transmission
       supplemental                              11       -



                                                               3723 889                                                                                     12725 1281                                     774 7813
                                                                                                                   338 438 4311
                                                                                                                                                            1287 12817




       11-surprise
                                                                                                   1663
       supposed              131-                 1468
                                                              Taylor       111-
                                                                                                                   4314 4316 4318                                                                         transmittals 11-                          771
                                                              TAYLOR                       11-       16622         4321 4322 4323                           1415 1468
         1471                                                                                                                                                                                             Transportation                           21   -


                                                              TCC     111-             379                         442 457 4511                             14610 15025                                     8614 8615
        31-475
       suppression
                                                              TCJC                         379                     4516 4520 4811                         threw 11-               7118
          4810 4813                                                     11             -
                                                                                                                                                                                                          transporting

                                         122                  teach     1l             -   384                     4812 5010 5015                         throughout                      171-     364      10923
                        11       -



                                                              team     111                     5718                5924 602 607                             4921 5116 7816                                Travel       3                 11022
       surrounding                       11           -


                                                               8913 10313                                          7024 713 7421                            911 9618                                        12319 12722
         1162
                                                               10321 10911                                         7612 7616 8018                         Thursday                             557
       survive        11         13118
                                                                                                                                                                                  111-
                                                                                                                                                                                                          travel    51-              797
                                                               11512 11610                                         817 8112 8115                                       11- 645
       suspect          41-          2025
                                                                                                                                                          tightly
                                                                                                                                                                                                           9322 1025 1115
                                                               11810 11813                                         8122 821 824                           Tijuana           8l    -
                                                                                                                                                                                          9018              12022
        3519 3622 10420
                                                               11815 1232                                          8218 849 851                             927 928 9211                                                                     10120
       suspected             111-                 5324                                                                                                                                                    traveler        11

                                                              teaming                               6115           853 856 857                              9213 9215 9224
       suspicious                1l           -       5324                               11-                                                                                                              travelers              51          -
                                                                                                                                                                                                                                                 10020
                                                                                                                   859 8512 8513                            14413
....




                                                              tears    1l                  625                                                                                                              1024 1056
       SW-20317                                  131
                                                                                   -

                             11-
                                                              techie       11-                 144                 8514 8516 9415                         tires              1307
       swear                 7115                                                                                                                                 111-
                                                                                                                                                                                                            12317 13522
                  111-

                                                              technically                          111-   9622     9614 9617 9620                         title   1l   -    6820                          traveling              81-             10011
       sword      41-        2617
                                                              technique                                   3723     9621 9623 9815                         TLETS            111-       743                   10017 10112
        2622 273                                                                               11-
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                                                                                                                                                                                                                                         15012
  10213                           10415                                                U                               12410 1349                                  verification                                 121
                                                                                                                                                                                                                            -




  13011 13023                                                                                                          1354 1381                                     13214 14616                                                        walk8 4112    -




Treasury                          5           -
                                                      14023   U.S   17    -
                                                                               862 8724                                14110 1615                                  verify      23               -       3812                             9818 9822

  14118                           14121                        9010 9210 1037                                         units        3 4821
                                                                                                                                       -
                                                                                                                                                                     13815 14011                                                         10016 10024

  1475 15212                                                   1088 1112 1116                                          12312 14820                                   1434 14714                                                          1013 12318

treasury                      1           -           1476     11316 11320.                                           unless           2       -   10016             1527 15512                                                         walked31- 4111

tries 11          -           2614                             12121 12320                                             10810                                         15513 15517                                                         4725 6113

triggered                         1l              -   428      12321 12322                                            unstable             2 792   -                 15520 15522                                                        walking           5       -
                                                                                                                                                                                                                                                                              997
triggers 11-                                      5317         1634                                                    16318                                         15524 15525                                                         1016 10111
trio   111
              -       617                                     ultimately               4            -    4424         up 50        -   924 1022                      1562 1566 1569                                                      12016

                                                               534 679 1133                                            135 2620 2812                                 15611 15710                                                        walks    1                10723
                      1                   422                                                                                                                                                                                                                 -
trouble                               -




truck        4 4814       -                                   umbrella          1              -    879                3519 367 423                                  15712 16024                                                        wall   1  -       3023

                                                                                           107                         4510 535 536                                  16217 1642 1643                                                    Walls   1                 703
  4815 4816                                                   under      121       -                                                                                                                                                                      -




true    111
                  -       1666                                 2622 274 4024                                           625 634 6421                                verifying                    3               -
                                                                                                                                                                                                                    1164                wants    21           -   1045

truly 1l              -       16613                            7516 879 11024                                          6924 742 7621                                 12214 14415                                                         10510

truth 31-                         368 369                      11910 12319                                             7817 8419 9324                              versa       111
                                                                                                                                                                                            -       13121                               warehouse                         3       -
                                                                                                                                                                                                                                                                                      82
  523                                                          13125 1349                                              9325 997 1009                               vest1            -       9524                                         83     686

                                                               14112                                                   10311 10316                                 VHS 1            -       306                                                 1 3115
                      2611 527                                                                                                                                                                                                          warning                       -
try    14     -



  5216 7013 952                                               undergo          5           -        8712               10621 10714                                 vice 11-                 13121                                       warnings 1 4019                       -




                                                               881 13415                                               10723 11111                                 vice-versa                                                   13121   warns 1 9917
  10511                           10512                                                                                                                                                                     11          -                                     -




  13017 14615                                                  13424 13819                                             11411 11412                                 victims              11              -       7922                    warrant           60              -       102
                                                              undergoing                                               11515 11714                                 video       22                           257                          105 1019 1117
  14619 15522                                                                                                -                                                                                  -
                                                                                                   111



                                                               1375                                                    11823 1265                                    2525 3125 3217
  16217 1642                                                                                                                                                                                                                             1119 1125 1215
try ing       23                  -       236                 undergone                    1             -             12616 12814                                   6025 617 6211                                                       1218 131 136
                                                                                                                       12923 1306                                    6221 6822 6823
  2813 397 522                                                 13419                                                                                                                                                                     5210 5422 5520
                                                                                       361                             13013 1479                                    694 7210 7317                                                       5524 568 573
  5515 599 6819                                               unfair     111
                                                                               -




                                                                                                                       14720 1489
  776 9418 9425                                               unhandcuffed                                   11   -                                                  11914 11919                                                         5914 5920 6015
                                                               13818                                                   14815 14824                                   1257 1259                                                           6017 6612 678
  957 1001 1032
  10319 10514                                                 uniform          J61-                6312                1495 1556                                     12520 12522                                                         687 6813 6816
                                                                                                                       15817 15822
  10820 11015                                                  6322 864 9525                                                                                         12524 12618                                                         692 7412 753
  1304 13014                                                   962 9620                                               uses         1       1072                      1331                                                                7510 7513
  13020 1313                                                  uniformed                    J41-              642                                                   videos           1               -       6025                         14422 14424
  1315 13119                                                   644 6425 6823                                                                       V               videotape                            1           -       6818         14816 14818
TSA     1         -       8612                                uniforms             1           -        9518                                                       videotaped                                   111-            343      14819 14822
                                                                                                                      valid     1 1115                                      8                                                            14825 1493
                                                                                                                                       -

tunnel            91              -       1016                Unit3       -
                                                                               253 15222                                                                           view                 -       11217
                                                                                                                      van      7 4119 6710
  1017 1018                                                    15223                                                                                                 1202 12021                                                          1502 1503
                                                                                                                                   -




                                                                                                                       6713 6718 6724                                1211 1216 1234                                                      15125 1522
  10114 10120                                                 unit131-         2220 258
                                                                                                                       684
  10713 12014                                                  2517 2522 3316                                                                                        1235 12720                                                          1523 1524 1527
                                                                                                                      variance  2510
  12015 1235                                                   13515 1428                                                                                                  5            4118 7323
                                                                                                                                           41-                     VIN          -                                                        15213 15215
                                                                                                                       2525 2610 2614
turn    1         -           1549                             1456 14822                                                                                            744 747 8117                                                        1542 15424
                                                               1492 15221
                                                                                                                      varies           2 2522                911
                                                                                                                                                                                                1                   12917                1575 15716
                                                                                                                                           -

turned            131-                    13818                                                                                                                    violence                                     -

                                                                                                                      various          31-             321                                                                               1602 16014
  1455 16224                                                   1534 16224                                                                                          visa    1        -       9323
                                                                                                                       4814
turnstile                         121-                1005    United      48           -       8620                                                                visas       21-                  10020                                16017 16020
  10013                                                        878 905 9019
                                                                                                                      vehicle          311-            78            10812                                                               16216 16222

two 17                            124 2419                     9117 9125 9216                                          711 712 715                                                                                                       1648
                      -                                                                                                                                            visit   5        -
                                                                                                                                                                                            925 10815
  256 541 545                                                  9219 9318 9322                                          719 83 1121                                   11324 1445                                                         warrants                  5           -
                                                                                                                                                                                                                                                                                  923
  578 6024 6823                                                9324 995 10025                                          4125 746 749                                  14514                                                               10314 10510
  7416 771 775                                                 1023 1028                                               7410 7415 7417                                                                                                    13713
                                                                                                                                                                   visitor          2           -           1037
  8119 826 8612                                                10225 1033                                              774 799 7912                                                                                                     watch
                                                                                                                                                                     10812                                                                        31-             616
                                                               10322 1046
                                                                                                                       8           7   8 2         1       9315
  9419 11012                                                                                                                                                                                                                             10710 11914
                                                                                                                           1   1                       1

                                                                                                                                                                   visitors                 21              -       9323
  12312                                                        10417 10422                                             9319 9320 1011                                                                                                   watched
                                                                                                                                                                     10020                                                                     41- 261
                                                                                                                       12012 12924
type     6 923 3716
                  -                                            10724 10811                                                                                         volume                   1           -       1669                     6120 11919 1252
                                                                                                                       12925 13014
  8825 9624                                                    10819 10820                                                                                                                                                              watching  3919            4           -




  10715                           13725                        11012 11013                                             13017 13019
                                                                                                                       1311 13110
                                                                                                                                                                                                    W                                    5117 6024 1214
types         1l              -       11010                    11016 1111                                                                                                                                                               water    31       -       478 4815
typical           111-                    15423                1116 11113
                                                                                                                      vehicles             7       -
                                                                                                                                                       4818        wait    2        -       9415 1552                                    4816
                                                               1132 1152                                               918 1152 1283
typically                         2 1552  -                                                                                                                        waited           1           -           922                         weaknesses                                1   -   952
                                                               11824 1197                                              1309 13013 1314
  1561                                                                                                                                                             waiting 71-                                  6417                    weapon 31- 9523
                                                               11910 12023                                            verbal           3   -       16014
                                                                                                                                                                                                                                         1312 1313
                                                                                                                                                                     10224 10524
                                                                                                                       16124 16215
                                                               12325 1246                                                                                            1065 1153 1221                                                     weapons                   4           -   892
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      894 10419 10921                                               663

     wear    7 9518                                                words     3010
ti


                       -                                                151-



      9519 9522 9525                                                3919 5125 5810
      962 10425 12822                                              works        2       -           12820

     wearing               6 865        -                           12821

      1127 1128                                                    world        41-             9022
      13914 13915                                                   9214 9223 936
       13916                                                       Worth 2 2411         -




     weeds         11-                  14414                       16624

     week131-                   911 9425                           Worthy           141-                    1221
     weeks         3 8716      -                                    2517 264 2821
      8718             13421                                       writing          121-                    1587
     welcome                    l               -       16422       1668
     West    1         -       16624                               written          4           -           2722
     Western                   13       -           11021           2723 286 13125
      1231912721                                                   wrote        21-             567
     wet   2   -
                       627 629                                      16111

     whatsoever                                 121
                                                            -




      6020 1332                                                                                     X
     whichever                          ill             -   429

     whining               l            -       624                x-ray    1       -       12313

     white     5           -       188 1813                        Xerox     i          -           1911

      2022 7620 993
     Whitney               31-                  6910                                            Y
      6911
     whole        141-              147                            yall   161
                                                                                -
                                                                                     208 423
                                                                    14613 14615
      3318 4421 1185
                                                                    1579 16323
     WHTI      1       -        12721
                                                                   yard                 722 723
                       2                                                   21-
     William                                1321
      1394                                                         year   3818 8921
                                                                          151
                                                                                -




                                                                    912 13414
     Windstar                  3                -
                                                        4119
                                                                   years        12                  2221
      6710 6718
                                                                                            -




     wish                      10021
                                                                    2224 869 8612
             Ii    -




     withdrawn
                                                                    8620 875 12724
                                        111-

                                                                    12725 1281
      15516
                                                                    1287 13413 1354
     Witness               1            -       8511
                                                                   yellow       11                  993
                                                    1416
                                                                                            -

     witness           123                  -



                                                                   yesterday                                      1613
      181 201 372                                                                                   151-


                                                                    254 261 307
      374 712 848
                                                                    6120
      858 859 8515
                                                                   yesterdays                                     -

      12413                    1291                                                                         111




                                                                    6025
      13220                    13311
      13317 13318                                                  you-all      23                  -
                                                                                                            2812

      13320 13323                                                   321 329 3222

      1457 1605 1629                                                3322 3325 401
      164231652                                                     4125 517 521
     WITNESS
                                                                    5213 5215 5511
                                   20                   -   334
      4314 4318 4322                                                569 5916 6021
                                                                    6512 6515 6518
      4812 853 857
                                                                    6523 678 679
      8513 9617 9621
                                                                    12613
      10325 11417
      13316                    13322                                      4 115
                                                                   yourself                             -




      14219 14311                                                   2225 239 638

      14313 15117
                                                                   Ysidro       7       -
                                                                                                    906 907
      16422 16616                                                   9112 9215 9225
     witnessed                                              3120    13516 15222
                                    l               -




     wondering                          i               -




      11311                                                                                     Z
     wooden            1            -           1306
                                                                   zone    t            14310
     word    3 367 6522
                   -
